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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


FEDERAL TRADE COMMISSION                               §           Case No. 17-cv-194
Plaintiff,                                             §
                                                       §
v.                                                     §
                                                       §               Judge Kennelly
                                                       §
CREDIT BUREAU CENTER, LLC, et al.,                     §
                                                       §
Defendants.                                            §       Magistrate Judge Valdez


 DECLARATION OF MIKE BROWN IN SUPPORT OF DEFENDANTS MOTION FOR
                      SUMMARY JUDGMENT
        MICHAEL BROWN, under penalty to perjury and in accordance with 28 U.S.C. §1746,

states and declares that the following is true and correct:

     1. As a non-lawyer, I view this case as having two issues that are separate: (1) Did I know

        about Pierce and Lloyd’s scheme and if not, did I recklessly disregard the facts and

        therefore cause injury to consumers as a result; and (2) Were there any compliance

        problems with CBC’s website?

     2. I am currently age 33. My educational background includes getting a GED. I took a few

        courses in community college related to computer science, however I am mostly self-taught

        as a programmer.

     3. Because of my knowledge in computer programming, I developed a program that made the

        customer service department at Experian more efficient. Because of this, I was moved to

        the software development department. After approximately six years of working at

        Experian, I started my own business. CBC was created in August, 2011.


                                                                                  EXHIBIT
                                                  1                                 A
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  4. While working at Experian, Experian (FreeCreditReport.com) was involved in a lawsuit

     with the FTC, which was settled in 2005. Because of this, I became aware of the procedures

     necessary to ensure compliance with FTC regulations regarding negative options, ROSCA,

     and the free credit report rule.

  5. My websites, eFreeScore.com and CreditUpdates.com were designed around the template

     used by Freescore360.com (owned by OneTechnologies) because OneTechnologies was

     recently forced to modify its website in order to comply with a FTC consent order. Exhibit

     1 https://www.ftc.gov/system/files/documents/cases/141121onetechstip.pdf.. I relied on

     this consent order to ensure that I would comply with all FTC rules and regulations.

  6. In addition to the consent order, I made compliance measures based off various FTC

     publications. For example, one consent order mandated that the payment information be

     no      smaller   than    12-point   font.   Exhibit    2    at    5027    (Page    10   -

     https://www.ftc.gov/sites/default/files/documents/cases/2005/08/050816stipfnl0223263.p

     df ).

  7. I have attached true and correct copies of the Landing page and webpages for both

     eFreeScore.com and CreditUpdates.com that were activated on or about December 1, 2015

     and which were operational until the Court entered a Temporary Restraining Order on

     January 10th 2016. Exhibit 3. I will refer to these two sites as the “Subject Websites.”

     The FTC’s lawsuit does not allege that either of these sites violate FTC laws. We provided

     variations of these sites to our White Label partners under different names and url’s.

  8. We developed two different lines of business. One line was the White Label/Co-Branding

     and Direct Solicitations. The White Label/Co-Branding line of business basically allowed

     a business to offer the credit monitoring services we provided under their name or “white



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      label.” The websites also generated credit monitoring services directly from consumers

      attracted to our websites. The other line of business was with affiliates who were

      compensated by CBC for referral of consumers to CBC’s websites to obtain credit scores

      and credit monitoring.

  9. I designed CBC’s Landing pages and websites using the Freescore360.com and

      OneTechnologies sites as a guide. The goal was to make the Landing Page simple, direct

      and clear without cluttering the page with ads or unnecessary information that might

      confuse consumers. We were successful in growing the business increasing sales and

      revenues each year.

  10. We had contracts with our white label “partners.” The contracts all provided that the white

      label partner were independent contractors and had an independent responsibility to

      comply with “ all applicable Laws, including, by way of illustration but not limitation, the

      Fair Credit Reporting Act (FCRA), the Gramm-Leach-Bliley Act (GLBA) and the rules

      and regulations promulgated by the Federal Trade Commission (FTC).”

  11. Contracts for affiliates specifically provided that the affiliate “comply fully with all Federal

      Trade Commission regulations related to advertising” and defined that they are an

      independent contractor.

  12. Revable, a company owned by Danny Pierce, (sometimes referred to as “Pierce”) became

      an affiliate in 2013. A true and accurate copy of Pierce’s electronic affiliate agreement is

      attached hereto as Exhibit 4. The Agreement provides, in pertinent part, that:

              It is the intent of MyScore to treat our customers fairly and to comply fully
              with all Federal Trade Commission regulations related to advertising. As
              such, we require our affiliates to comply with these regulations. This
              includes, but is not limited to, Federal Trade Commission 16 CFR Part 255:
              Guides Concerning the Use of Endorsements and Testimonials in


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             Advertising, which requires, among other criteria, that material connections
             between advertisers and endorsers be disclosed. (emphasis supplied).

  13. Before agreeing to the affiliate agreement Pierce initially worked through Roger Furgeson,

     who was an established white label partner and Revable’s Affiliate Manager per his

     LinkedIn profile. Exhibit 5, Furgeson Profile. The following facts are relevant to this case.

             a. Although we now know that Pierce had a relationship with Andrew Lloyd
                (“Lloyd”), I did not know Lloyd and never met or talked to Lloyd.

             b. Like most start-up businesses, I was intimately involved with all facets of the
                business, including customer service. I trained and worked with the customer
                service agents and drafted many of the scripts used as a guide in addressing
                customer service issues. As the business grew, I delegated customer service
                responsibility to supervisors and a manager.

             c. Pierce and I started talking about Revable’s business in 2013. Pierce told me
                about his real estate and Rent to Own approach for marketing rental homes, and
                wanted to refer his customers to CBC for credit scores and credit monitoring
                services. Pierce in 2103 represented to me that his company did over ten
                thousand in profit per day and in 2016 he generated about $32,000 profit a day
                and showed me a screenshot that showed his cash flow. Pierce was already
                working with Roger Furgeson, Revable’s Affiliate Manager, on a white label
                website and reached out to me to work directly with CBC.

             d. Pierce told me that he wanted to have CBC operate a web site that would
                accommodate his customers. Pierce had his web design team at Revable create
                some design concepts and landing page that was sent to CBC and ultimately
                activated a landing page eFreeScore and Creditupdates.com that was separate
                and distinct from CBC’s pre-existing websites. The websites were activated on
                or about December 1, 2015.

             e. I did not know that Pierce or Lloyd were providing false information to
                consumers about the availability of the rental homes advertised on their website.
                If I had known, I would have immediately terminated my relationship with
                them.

             f. The MLS and Rent to Own model used by Pierce offered a legitimate service
                and could have been easily replicated by simply paying for the MLS data (about
                $699 per month) and investing the time and resources to connect landlords with
                potential renters which is frequently done in an automated fashion. Pierce had
                an impressive MLS website powered by RentFind that offered thousands of
                listings daily including contact information for the properties. A copy of the
                site is attached as Exhibit 6.

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             g. As previously stated, Pierce made it clear he had the financial resources at his
                disposal although it is now clear that was a lie.

             h. I understand that the FTC sued me because they thought that I was part of a
                conspiracy with Pierce and Lloyd. However, they did not investigate or attempt
                to determine any facts about my knowledge of their activities. The FTC
                assumed that all my business was illegitimate. However, over 52% of the
                business is from White Label/Co-Brand/Direct Solicitations. The growth of
                the affiliate side of the business was substantial after Revable became an
                affiliate. That side of the business accounted for about 48% of the business.

             i. The funds generated by this line of business is totally unrelated to the Subject
                Websites.

             j. If the FTC had called me and asked me to modify my website, I would have
                modified it the next day. Similarly, if the FTC had asked me about Pierce or
                about customer complaints, I would readily shared any requested information
                with them to resolve any problems. The seizure of my business destroyed years
                of business development, loss of intellectual property as well as revenues that
                were steadily increasing year over year before Pierce became an affiliate.


  14. The websites that are the subject of this lawsuit (the “Subject Websites”) are attached

     hereto as Exhibit 7. Exhibit 7 is Pierce’s creditupdates.com website, which is identical

     (except for name) to Pierce’s eFreeScore.com site. The version of the Subject Websites

     attached to the Complaint in this case were manipulated, reduced in size, and did not

     accurately depict the size of the lettering and layout of the Subject Websites. Although

     the FTC claims that various parts of the website are in “fine print”, the FTC itself endorsed

     12-point font as being sufficient in a consent decree in ConsumerInfo (Experian) my

     previous employer. Exhibit 1. It was not my goal to confuse or distract customers by

     loading up the sites with other ads, testimonials or loading up with facts about credit issues

     (all of which are addressed in FAQ’s or other hyperlinks).

  15. The primary goal for renters was to get a credit score to give to landlords, so we focused

     on offering a free credit score. I understood from talking to Pierce that his customers the

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         credit score to demonstrate good credit to potential landlords and to help them screen out

         renters with a poor credit score (by their standards).

   16. The FTC claims that the Subject Websites are misleading and deceptive under Section 5

         and violate the Free Credit Report rule because of the “banner” on the Landing page. The

         banner, however, does not state “Free Credit Report.” Exhibit 7. As the Court can see, the

         term “Free Credit Score” has a distinctively different color than the word “Report” on a

         separate line. Id. The distinctive coloring alerts the customer that they can get a free credit

         score and is designed to get them to read the entire offer.




17. To the extent that the “banner” may confuse a consumer, the Landing Page also locates a button

   that allows the consumer to go to the next page makes it clear that: “YOUR SCORE – NOW.”

   Id.     This statement is in the same distinctive color as FREE CREDIT SCORE. Id.

18. On the “confirm” page, the headline reads “YOUR CREDIT SCORE IS READY ONCE WE

   CONFIRM YOUR IDENTITY!” (emphasis supplied). This headline is in bold blue lettering

   prominently located directly above the form where the consumer enters their payment

   information. Id.

19. Below that statement, on the Verification and Payment Information, CBC asks the consumer:

   “Tell us which card you would like to use for your $1.00 refundable processing fees and

   membership.” Lastly, the declarations provided by the customers prove that they were aware

   the Reports might not be totally free, as they were aware that they cost a $1.00 refundable

   processing fee unless they cancelled within the trial period, our policy was any customer who

   requested a refund received a refund of their processing fee. Id.


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20. The negative option disclosure, including the statement of a 7-day trial period, price and

   cancellation procedure on the Landing page, the Payment Page as well as the Welcome email,

   make it abundantly clear to consumers that they pay a refundable processing fee and a

   membership fee.      The Welcome email is attached as Exhibit 8 and is separately sent to the

   member’s email almost instantaneously after the member finishes the payment screen. At the

   same time, the member automatically sees a list of all his or her benefits. Exhibit 9.

21. The overall design of the website makes it difficult for a customer to overlook or ignore the

   plain language of the offer on the first page of 7-day trial, $29.95 Membership & Cancel Phone

   Number and the button to push “YOUR SCORE NOW”, followed by a box asking: “Why do

   I need to check my Credit Score?” The Payment Page starts with a headline, in bold: “Your

   credit score is ready when we confirm your identity!” which is then followed by the

   negative option feature. (emphasis supplied). Id. Furthermore, it is impossible for a consumer

   to purchase the membership without hitting “submit.”

22. The FTC also claims that Defendants violated the Free Credit Report Rule. We deny that

   claim.

            a. I don’t pretend that I am an expert on legal issues, but I did try to stay abreast of
               developments by monitoring FTC consent decrees.

            b. The FCRA created a website where consumers can get a free annual credit report,
               without a credit score, at AnnualCreditReport.com. Many companies, including
               landlords and employers, need to have a credit score that analyzes the credit report
               rather than review pages of past history of credit reporting, which can be tedious
               and challenging.


            c. This “free credit report” is defined as at 12 CFR 1022.138 (a)(2) as a “ file
               disclosure prepared by or obtained from, directly or indirectly, a nationwide
               consumer reporting agency (as defined in section 603(p) of the FCRA)”.




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                  1. A “file disclosure” is defined at 12 CFR § 1022.130 as “a disclosure by a
                     consumer reporting agency pursuant to section 609 of the FCRA, 15
                     U.S.C. 1681g.”

                  2. The Free Credit Score and a report offered by CBC is not a “file
                     disclosure” or “free credit report” offered by the bureaus under U.S.C.
                     1681g.


         d. I had previously read in industry literature and posts that you can’t simply offer a
            free credit report without telling consumers that they can obtain a free annual credit
            report from the Government at AnnualFreeCreditReport.gov. I also read that the
            FTC considered whether a free credit score should be included in their rule, but that
            the Commission decided that it would be confusing for customers to be referred to
            the government site when they could not get a free credit score at the Government
            site. I concluded that I could legitimately tell consumers that they could get a “Free
            Credit Score and Report.” My lawyers located the Notice of Proposed Rule Making
            dated March 3, 2010, which confirmed my understanding. The Commission
            modified a proposed rule about offering free credit reports before it was final so it
            would not apply to sites offering a Free Credit Score. The rule is “limited in scope
            to reports of the type disseminated through the centralized source[.]; ” i.e. a report
            without a score. (emphasis supplied).


         e. If CBC had issued a disclosure for AnnualCreditReport.com on a website
            advertising Free Credit Score, I believe it would have been unfair and misleading
            to consumers because they cannot get a free credit score at the Government’s site.
            That is not my opinion. It is the statement by the FTC itself.


         f. This is why all the competitors in my industry do not have the
            AnnualCreditReport.com disclosure on websites that offer a Free Credit Score and
            a report.

  23. The FTC has also brought a ROSCA claim and asks the Court to enter an order permanently

     barring me for engaging in any business offering a negative option feature. This effectively

     deprives me of the opportunity to work in the credit monitoring industry, which is where

     I’ve devoted my professional career.    Regardless, the negative option feature used in the

     Subject Websites do not violate ROSCA. In fact, the Subject Websites exceeded the

     minimum protections mandated in ROSCA.




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        a. CBC did not violate ROSCA because CBC put the ROSCA disclosures in the
           required location (before submitting payment information) in twelve point font.
           The negative option statement is not required anywhere else but must be provided
           before “obtaining the consumer’s billing information.

        b. The negative option feature in the Subject Websites are identical to the negative
           option feature used in the Pre-Existing Websites. The FTC has not alleged, nor
           have they brought an action alleging a violation of the negative option features nor
           has the FTC produced any evidence that any customers in the White Label Line of
           business ever complained that they did not see the negative option feature
           prominently displayed on the payment page of the Pre-Existing Websites.

        c. The full negative option is set out below, illustrating that there is nothing that
           prevents a reasonably prudent consumer from reading and understanding the clear
           and conspicuous negative option before they press Submit. By pressing Submit,
           the consumer gave their informed consent.




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      24. On three (3) occasions, CBC stressed to consumers that they would be paying a

         membership fee for services which could be cancelled after a trial period:

            (a) The first negative option feature appears right below the banner on the
                Landing Page and states, in 12 point font, that: “7-day ends Dec. 28, 2016”
                --“Monthly membership of $29.94 automatically charged after trial
                period”—For questions or to cancel, just call (800)934-1938 with phone
                numbers for questions or to cancel;

            (b) The second negative option feature advises: “Payment information. When
                you place your order here you will begin your membership in
                eFreeScore.com. You will be billed $1.00 today and start your trial
                membership. After your 7-day trial period you will be charged $29.94 every
                month. If you wish to cancel just call us at (800)934-1936 to stop your
                membership.” After filling out their credit card information, the customer
                then submits and verifies their social security information.

            (c) The third negative option statement is sent electronically literally within
                minutes telling customers about the services they will receive and further
                states: “If you need anything at all please don’t hesitate to contact us and
                we hope you enjoy your trial membership After your trial you will be billed
                $29.94 every month you continue your membership If you wish to cancel
                simply call us to stop your membership.”

23.      Negative Option Features are not a new method of merchant-consumer payment

arrangements, but have been since I was a teenager (about 15-19 years). It is difficult to find

someone who has not agreed to a negative option feature on the internet or in person. Some large

national companies such as Zillow.com and Trulia.com do post the address and required the

interested party reach out to Zillow/Trulia in order to contact the owner and general rental leads.

Zillow/Trulia also markets credit report offers with negative options to these prospective renters.

My point is that everyone knows that they have to cancel the service within the trial period to

cancel the service and to avoid incurring either a limited charge or a full charge for the services

received. Everyone also knows that if the merchant provides the service, you cannot expect to call

and get a full refund or any refund depending on the merchant or the service or product provided.




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24.    Having worked in the industry for approximately 14 years, I am well aware that customers

engage in what is commonly known in the credit industry as “friendly fraud” by consumers. The

term is widely used and is documented in the merchant charge card processing industry. I have

attached an internet article about “friendly fraud” that describe what the term means. See Exhibit

10, “When Customers Lie-How to Fight Friendly Fraud.” There are many other internet articles

available. The author reports a number of reasons for friendly fraud. Most importantly, however,

the author reports:


       Friendly fraud is becoming an increasingly larger portion of chargebacks. A
       whopping 86% of chargebacks are deemed fraudulent. Worse, 40% of
       customers who file one fraudulent chargeback will file another within 90 days.

       The losses due to friendly fraud are significant. According to Visa, the financial
       impact of friendly fraud reached $11.8 billion in 2012 and is growing 41%
       annually.

25.    Friendly fraud in this industry refers to customers who:

       (a) claim that they did not read the negative option in the hope of getting a full or
       partial refund;

       (b) claim that the overall ad was misleading and deceptive and threaten to complain
       to the FTC;

       (d) complain that they did not sign up for the service;

       (d) claim that the service was never received; and

       (e) claim that they called and cancelled but that we kept charging them.

       (f) Friendly fraud occurs in both fully compliant and non-compliant websites.

26.    CBC had a liberal refund policy through its 7-day trial period and was also liberal in

granting refunds after the trial period ended. Many customers simply wanted a free credit score

and we expected at least half would cancel the service after they got the score and the immediate

need to get their score ended with renting a property. We paid for the credit scores and reports at

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a loss for consumers to evaluate our membership. We asked for a processing fee to cover our

expenses for the overhead associated with giving out free credit scores, to also have a mechanism

for the negative option if the customer decided to keep the service, and to have no confusion we

are not the free no credit card required AnnualCreditReport.com site. Customers were told three

times that they could cancel the service and they would get back their refundable processing fee.

We had, at times, twenty one (21) customer service representatives or more and the phone lines

were open 7 days a week, 16 hours per day that went straight to a live customer service agent with

no phone prompts. The general policy was:

       (a)   All refunds requested within the 7-day trial period were to be honored and paid. To
       my knowledge, this policy was strictly followed.

       (b)    If customers called and asked for a refund after the trial period, we would give them
       a refund for one month. If the customer was not satisfied with this refund, I authorized
       Customer Service to grant up to two months refund. The goal was to amicably extend a
       courtesy and compromise with an unsatisfied customer.

       (c)    Of the 50,394 members requesting a refund between 2014-2017, CBC refunds were
       granted 96% of the entire time. Exhibit 12. CBC/BRO 367, 379 and 397

       (g)     As in any system populated by human beings, customer service representatives
       periodically made mistakes or misapplied the policy, resulting in a complaint, but the rate
       of refunds was very high.

       (h)     The FTC has submitted a number of recordings and transcripts relating to difficulty
       in obtaining refunds. These were the exception and not the norm. The lawyers have
       listened to a number of customer calls and will submit a number of customer service calls
       and emails under seal that show customers had an easy time obtaining refunds.

27.    Every customer reasonably knew or reasonably should have known that CBC’s services

would be free if they cancelled the membership within 7-day trial period. In fact, every consumer

was aware they could get their $1.00 processing refunded if they cancelled within the 7-day trial

period. Under these circumstances, it is neither unfair nor inequitable to expect that a consumer

would read and be aware of these statements. The Welcome email clearly and definitively tells


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consumers they need to cancel within the trial period or incur a charge. Otherwise, charges for the

services provided were fully refundable.

32.    Although I personally do not have access to CBC’s raw data base, this data was collected

in CBC’s computer system at or near the time that consumers signed up for trial periods,

membership, cancelled their memberships, sought refunds or obtained services from CBC and

such entries were made by someone with knowledge, e.g. customer service representative or the

EVOof its business. I have provided my lawyers, specifically Jonathan Slotter, an associate with

the Cochell Law Firm, with formulae to run in the data base to generate facts about CBC’s business

operations. These formulae, and the results were provided to the FTC so they could replicate the

results. Exhibits 11 - 16 shows the following:

               a. The White Label and direct business represents 52% of the business
                  whereas the affiliate line of business came to about 48%, primarily from
                  Pierce. Exhibit 12 at CBC/BRO 367-368

               b. Members who cancelled during the trial period were about 43% of all
                  memberships. Id. at CBC/BRO 406-407.

               c. Ninety six (96)% of the Members who continued after the trial period
                  and later asked to cancel were paid refunds. Id. at CBC/BRO 367, 379
                  and 397. Exhibit 11.

               d. Thirty seven (37%) of Pierce customers who initially wanted to cancel
                  only wanting the free score were retained after calling customer service.
                  Most of the time this was because customers wanted a more affordable
                  serviceId. at CBC/BRO 2205-2206 and Exhibit 13 at line 21.

               e. The Pierce customers who were retained generated $835,785.35, and
                  $591,835.68 in 2016 alone. Exhibit 14.

               f. The amount spent by the 4% of people who were not refunded as to our
                  policy was $45,183.45. Exhibit 15.

               g. Each chargeback resulted in a charge of atleast $25 to CBC. Exhibit 16.
                  CBC lost $412,200 in chargeback fees to Pierce referrals.


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33.      There is also a question about whether I recklessly disregarded evidence that Danny Pierce

or his company Revable was running a scam. First of all, I regret that I did not recognize that the

scam existed and terminated Revable as an affiliate.     I am not a trained fraud investigator and

most of my information about the industry comes from industry blogs and review of some consent

decrees identified in blogs. There were some well known Craigslist scams that I had seen

personally while at Experian and operating my business. At the time, however, I was not aware

of any articles or blogs that identified use of phony Craigslist ads warning that phony ads would

be used to obtain referral fees from credit monitoring services. The FTC raised an issue about an

anonymous complaint about a fake ad for a room to rent that they seem to claim should have

alerted me to Pierce’s scheme. Pierce did not rent rooms and this complaint was not something

that would have alerted me to fraud on the scale undertaken by Pierce.

34.      I got over a hundred (and sometimes a lot more) emails, phone calls, and messages per day

raising different issues about the business. Starting in or about 2012, we contracted with Virtual

Post Mail to open and scan all mail and direct it to the appropriate parties. The initial review and

handling of customer complaints. The Customer Service Department would address all customer

service issues and complaints and determine if any matters would be referred to higher

management. All financial matters, such as bank statements, merchant processing and matters

involving fraud would be escalated to me.

      a. In mid-September 2017, one of the customer service representatives sent me an email from
         “Mike Super” making extremely profane remarks directed to CBC. The representative
         asked how to deal with this type of complaint.

      b. Dating back to my days at Experian, customer service representatives within the industry
         rarely respond to abusive emails from someone who is not a customer and who may be
         unbalanced.

      c. The name “Mike Super” is similar to names used by “trolls” (“SuperMan”) who try to
         create problems on the internet.

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      a. I included Tom Fragala, a business development contractor who was assisting me in
         structuring projects for CBC that addressed customer issues and concerns. Tom was
         always concerned about protecting consumers, so I valued his opinion and ideas on
         problem solving.

      e. We talked about this message (Josh, Tom and others) and could not investigate the claims
         because “Mr. Super” he provided no details or information about the property that was
         supposedly an issue, and did not tell us how he concluded that the ads were false.

35. I asked Josh Margulies, an independent copyrighter to write a template to address these sorts
        of communications.

      a. I had discussions with both Josh and Tom about their impressions about the complaint. We
         discussed Craig’s List scams and how to address the problem by immediately escalating
         the problem to me on known Craig’s List problems so I could take immediate action. As
         to Craig’s List issues that were not known scams, these would continue to be handled by
         Customer Service subject to the general rule that they escalate all fraud issues to their
         management.

      b. Customer Service Representatives were supposed to determine if there was evidence of
         fraud and escalate the issues to their supervisor and/or manager (or both). This system has
         worked in identifying fraud for me in the past on multiple occasions where I quickly
         terminated the fraud and refunded customers.

      c.    After completing this process, neither Tom nor Josh thought the complaint was serious or
           suggested that there was a problem with Pierce’s ads. Again, Pierce’s RentFind website, a
           very sophisticated robust website, had shown evidence of substantial revenues per month
           and Pierce represented himself to be a reasonable business man who followed the law.
           Also, I never dreamed that he would run a scam based on phony MLS ads when he could
           have made a lot of money by doing it legally.

36.        Starting in or about 2012, we contracted with ex Post Mail to open and scan all mail and

direct it to the appropriate parties. The initial review and handling of customer complaints.



              a. The Customer Service Department would address all customer service
                 issues and complaints and determine if any matters would be referred to
                 higher management.

              b. All financial matters, such as bank statements, merchant processing and
                 matters involving fraud would be escalated to me.

              c. When I contacted BBB and the Business Consumer Alliance regarding their
                 ratings of CBC, I asked Customer Service to let me know of any

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              communications with these ratings organizations. This was to keep me up
              to date what the ratings issues were, and what steps needed to be taken and
              by who so that we could move the process forward.

           d. With respect to Craig’s List, there were some well known fraud schemes
              that were to be automatically escalated to me. Other matters relating to real
              estate would be reviewed, evaluated and referred to me if the Customer
              Supervisor or Manager thought there was a fraud on a customer.

           e. From my days of working as a Customer Service Representative for
              Experian, we became very familiar with customers who called to try and
              cancel their agreements with Experian.

37.On or about May 16, 2016, I reached out to the Business Consumer Alliance to improve our

   rating with them and they forwarded five (5) complaints they received that needed to be

   responded to in order to improve our rating. Consistent with our procedures, I had the customer

   service department process them with instructions to respond to the claims and make this a

   positive experience for the consumer. It was important to me that consumers have a positive

   experience with CBC.

37. On or about May 19th, I reached out to the BBB to take our A+ rating with them to the next

   level by seeking BBB accreditation.

38. On or after June 2, 2016 received a letter from BBB generally suggesting that consumers were

   misled into signing up for a credit reporting service instead of applying for housing. However,

   there were no specifics provided in the BBB letter and the BBB provided no specifics.

39. In early July, 2016, I had previously applied for accreditation from the BBB because CBC had

   an A+ rating from the BBB. Exhibit 17. Customer Service was instructed to send me all

   correspondence from BBB. On or about July 6, 2016, the BBB sent me three complaints.


           a. CBC had an A+ rating with BBB at the time. However, during July, 2016, I took
              steps to investigate the issues raised by Ms. Savage, and had googled real estate
              ads, and tried to determine if the ads were real. I took screen shots of the MLS
              website that appeared on RentFind on July 23, 2016 and also located googled and

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               found the property on the MLS. Exhibit 5. I also talked to Pierce and asked about
               whether the ads were genuine because we had received complaints that the ads were
               false. He assured me that the ads were genuine and the complaints were wrong.
               This persuaded me that the ads were real and that RentFind’s ads were legitimate.
               It was impossible to track down landlords to talk about a property.

           b. The biggest problem with investigating the RentFind ads is that they the ad has
              been removed by the time we got the complaint.

           c. The FTC claims I got a letter dated July 15, 2016 regarding denial of
              accreditation but I did not receive it. The BBB is composed of 106
              independently operated branches. The FTC cites a letter from the branch
              that includes Los Angeles and Silicon Valley. Moreover, the letter itself
              mistakenly characterizes that consumers thought they were applying for
              housing. In fact, the consumers were looking for houses from Pierce’s
              RentFind advertised on Craigslist.


40. Chargebacks are not an indicator of fraud. The FTC goes to great lengths to suggest that

   chargebacks somehow support their fraud allegations. As set out earlier, however, the issue of

   chargebacks is directly related to the very high incidence of “friendly fraud” by consumers.

   The FTC’s discussion of excessive chargebacks as being a cause for cancellation is only

   partially true.

       a. Each company that offers merchant services has its own level of acceptable risk
          tolerance. In this industry, merchant processors routinely grant a chargeback regardless
          of the validity of the customer’s complaint, and do so without investigation or any
          information about the customer, their contract with CBC and the benefit and services
          received by the customer.

       b. Each merchant account is offered by a different company that has different policies
          based on their financial strength. We had multiple merchant service accounts whose
          rates were different depending on the company and our willingness to pay a higher rate.
          With the increase in volume, we had to find new merchant account processors that were
          comfortable with our volume and business model. Merchant processors were routinely
          changing their credit policies and accepted business models.

       c. CBC maintained chargeback rates around 0.8% at the time the TRO was filed and was
          in compliance. Exhibit 18.




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41. PowerPay was acquired by EVO a bank with a completely different risk profile for merchant

   processing. EVO then conducted a “Negative Option Review” to remove negative option

   accounts from its portfolio which they now considered as prohibited per their credit policy.

   EVO provided CBC notice of this with 30 days to find a new provider.

42. Similarly, the FTC produced an email (PSMF 67) that talks about CBC’s termination by

   Humboldt and looking to Visa EU. This reference is uninformed and takes the communication

   out of context. CBC was reaching out to a sales agent to obtain a merchant account. In this

   situation, this agent only had two domestic relationship options one had already been applied

   for and recommended Visa EU where it is knows they are more comfortable with the risk.

43. DSMF 68 refers to opinions expressed by an agent who had a relationship with only one bank.

   Deluca’s opinion as a sales agent was puffery or based on a very limited network of contacts.

   CBC did obtain another merchant processor shortly after this discussion.

44. DSMF 69 refer to an MID mischaracterizing normal business activity in cultivating an MID.

   CBC has never had a merchant account closed by Visa or Mastercard for non-compliance or

   chargebacks. It was closed because this particular bank has their own distinct policy about

   management of its portfolio. If an account is not in compliance, it is Visa and MasterCard’s

   policy to send us a formal notice and offer a 6 month program where they work with a merchant

   to reduce chargebacks. If the merchant is not able to come within acceptable limits, then they

   terminate the relationship. Brown has never had a single merchant processing relationship

   terminated by Visa or MasterCard for chargebacks or any reason.

45. DFSM 79 refers to a text that the FTC claims shows that I controlled Revable’s website. That

   is not true. I received a comment from Customer Service that a customer was concerned about

   the security (“phishing”) of their credit report information. This was an example of customer



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         service escalating customer concerns and bringing any issues to my attention. As a responsible

         business owner concerned about customers security, he asked Pierce to “please change” the

         template to recommend consumers not email their credit report but instead print it out. Email

         is not a secure method for transmitting a credit report to a landlord. This was not a directive

         but a request and recommendation made to Revable to protect security of customer

         information.

46.      I was concerned with fraud generally. I periodically assigned Diego Munoz to go through all

         the chargebacks for a particular time period and review each chargeback to determine the true

         reason for the chargebacks. See Exhibit 19 (March 2016); Exhibit 20(March 2016);Exhibit

         21 (June 21, 2016). Many individuals did not call CBC about their account. In some cases,

         the customer talked to Customer Service, agreed to discounted pricing without expressing

         dissatisfaction but still later decided to charge back. Although the rate of chargebacks

         fluctuated, CBC was maintaining chargeback rates at 0.8% at the time the lawsuit was filed.

            a. The dashboard simply gave CBC the ability to review the volume and number of sign-

                ups per hour and per day and was simply a tool to review daily business activity.

47.      I worked closely and intensively with Tom Fragala about CBC’s compliance issues as we grew

         the business. Tom had superior writing and analytical skills that we were using to assure that

         affiliates complied with the FTC Act and other statutes or rules. Fragala Depo. Ex. 2, 3, 6, 7,

         8, 9, 15, and 16.

48.      The FTC contends that I knew about the fraud or recklessly disregarded information that would

         have alerted me to the harm to consumers. I am very frustrated that the Customer Service

         Department did not escalate the complaints to me. Clearly, Diego Munoz, Customer Service

         Supervisor, and David Rojas, Customer Service Manager, failed to follow the policies that I



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         had adopted and followed since establishing CBC. Fraud, particularly fraud that appears to

         be part of a pattern has to be addressed to protect consumers.

49.      I took steps to ensure that affiliates complied with the FTC and other regulations. I terminated

         and rejected affiliates who were unwilling to comply with the FTC act or other laws. CBC’s

         affiliates were required to “comply fully with all Federal Trade Commission regulations related

         to advertising” and white label agreements required compliance with “all applicable Laws,

         including, by way of illustration but not limitation, the Fair Credit Reporting Act (FCRA), the

         Gramm-Leach-Bliley Act (GLBA) and the rules and regulations promulgated by the Federal

         Trade Commission (FTC).”

50.      I testified at deposition (at pages 41-44, 51-53) about specific instances where I terminated

         affiliates or refused to enter into an affiliate agreement because the company refused to comply

         with the law.

            a. Before even launching my business in 2011 I paid for a lawyer to review my
               website and received an FTC compliance letter from a lawyer. From observing
               the compliance issue that Experian had, compliance with the FTCA was very
               important to me. I forwarded this compliance letter to my merchant processor
               Fragala Depo., Ex. 10.

            b. I created, processed and procedures for onboarding new customers including
               checklists for compliance for FTC, FACTA, and FCRA Compliance that was
               initially handled by myself and then delegated to project managers and
               contractors. Fragala Depo., Ex 3.

            c. I frequently educated CBC’s project managers on compliance to ensure they are
               following my processes and procedure and prevented potential issued with
               FCRA compliance when customers websites mentioned “free credit report”
               Exhibit 22.

            d. Early in my business in 2012 preventing affiliate fraud was extremely important
               to me. I reached out to my Affiliate Tracking Company (Offerit) and asked the
               best way to prevent fraud. I implemented third party services to prevent fraud
               and developed our own internal fraud prevention features. Exhibit 23




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      e. The processes and procedures I implemented in customer service worked on
         numerous occasions to prevent fraud and protect customers. Diego, the
         customer service supervisor, escalated brought to our attention a lady that had
         over 76 fraud accounts. I immediately instructed Diego to cancel and refund all
         76 accounts and additionally instructed Tom Fragala to reach out to the partner
         about this fraud. Exhibit 24.

      f. Before we start working with a new customer I probe them to ensure they
         comply with all laws and decline to work with them if they are not compliant.
         In 2014 in this example I rejected working with an affiliate that was violating
         the TCPA and didn’t have the proper disclosures. Fragala Depo. Ex. 10.

      g. I have a history of terminating and affiliates that engage in fraud. When fraud
         alerts or chargebacks are received they are investigated. The first approximately
         2 years I did these investigations, but later delegated to others. This 2013 fraud
         alerts was suspected of fraud and I reached out to the affiliate network to
         immediately stop all their sales and conducted a phone call to identify and
         prevent the fraud Exhibit 25.

      h. CBC constantly battled “friendly fraud” where most our customers would
         incorrectly claim transactions are “unauthorized” in order to obtain refund. In
         2016 we announced integrations with a few major banks that allowed us to share
         our mutual customers order information and product usage information to help
         refresh customers memories of the transaction. Exhibit 26.

      i. In some cases, my sales agent would incorrectly receiver a customer service
         phone call. This sales agent, Tom Fragala, would prompt users as to why they
         didn’t recall signing up and specifically prompted users on if they signed up
         from a CraigsList scam which was not the case. We were always on the lookout
         for scams. Fragala Depo. Ex. 21

      j. Security was important to me and I maintained a policy that all customer service
         agents should leave accurate notes on a customer account as to what they
         wanted if an account was accessed. This policy was enforced by myself and
         delegated to customer service managers and supervisors. Fragala Depo. Ex. 22
         and 23.

      k. With respect to tracking complaints in the CRM, the CRM did not provide the
         company or partner name to customer service. The customer service agents
         saw a number but did not necessarily appreciate that this was a number for a
         source of traffic nor did they know the identity of the company from the
         number.




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51.      The FTC has raised an issue about a project called SimpleRefund to reduce chargebacks.

         DFSM 89. The project was never activated. The project was designed to help customers get

         answers to questions. There was already a high rate of refunds and we wanted to encourage

         customers to call us because we would rather have customers resolve any issue with us, as

         opposed to getting charged $25 for each chargeback from each of the merchant processors.

52.      DFSM 90 tries to make a distinction between publicly accessible websites. All of the Subject

         Websites and PreExisting Websites were publicly accessible. As to the failure to remove the

         Transunion logo, this was an oversight as CBC had dozens of websites that it managed

53.      The damages alleged against me are subject to defenses set out by my lawyer. However, it is

         important to note that 52% of CBC’s revenues had absolutely nothing to do with Pierce and

         the Subject Websites. Pierce started as an affiliate sometime in 2013 but the volumes did not

         noticeably change until 2014. The Subject Websites were not activated until December 1,

         2015.   Although I do not think that I should be held legally responsible for Pierce’s

         unauthorized acts, I have been asked to help calculated alleged damages to assure that the court

         has accurate information.

54.      I am informed that the remedy of restitution requires that a specific fund that can be traced

         from payment by the customer to CBC and kept as proceeds identifiable to each transaction.

         All funds paid by customers were paid into CBCs general operating account from which

         vendors, employees and independent contractors were paid. In other words, all funds were

         commingled and nothing can be traced. This includes all funds from White Label/Co-Branding

         and Direct Solicitations. As of the date of entry of the TRO on January 11, 2017, 52% of the

         proceeds were legitimate funds amounting to $338,000. This amount should be returned to

         CBC or to me.



                                                     23
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55.         I am also informed that the Court could order disgorgement, which requires a calculation of

            net profits. As set out above, any calculation should start as of December 1, 2015, when the

            Subject Websites were activated. In addition, about 37% of Pierce’s referrals to CBC called

            in to CBC’s Customer Service Department and asked to cancel their service, but then again

            affirmatively decided to continue with the services after obtaining a discounted membership

            price or reminding them of all the benifits. Defendants should get credit, and not be required

            to pay consumers who were satisfied with CBC’s services and yet again affirmatively

            continued with the membership. Similarly, CSID provided the actual credit scores, reports,

            monitoring, insurance, and some other benefits and should counted as an expense. The

            following calculations are submitted for three scenarios.

                        (a) If liability starts on December 1, 2015 Until Imposition of the Receivership:

                           Total Revenue from Pierce         $4,083,309.15
                           Revable Commissions               $1,363,785 1
                           Pierce Refund Amount              $308,351.08
                           Pierce Chargebacks                $230,577.02
                           Chargeback fees                   $228,150 2
                           Merchant Fees                     $22441.10
                           Revenue from Pierce Retainees     $591,835.68
                           Pierce/Lloyd Settlement           ~381,000.00 3
                           CSID Payment                       $707,241.71 4
                           Web Technology & Hosting          $198,067.00 5


      1
          Payment to Pierce from XERO Software affiliate expenses spreadsheet.
      2
          Exhibit 16.
      3
        This number has been halved in order to represent that the Pierce and Lloyd settlement was for
      the entirety of their work from 2014 onward, and thus halving seems appropriate since these
      specific damages would have started in December 2015.
      4
        Number is calculated off of percentage of Pierce’s revenue from Dec. 2015 into CBC’s total
      revenue then multiplied into CSID expense amount.
      5
          Exhibit 27 - Income Statements


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                     Customer Service Staff & Op. - $28,799.00 6_____
                     Total Liability:               $0



                 (b) If Liability Starts On June 30, 2016 As A Date Where Notice Or Knowledge
                     Is Imputed To Brown.

          The Receiver found that I received about $659,159 from 2014 until the receivership was

          imposed. Docket 36 at 8. The revenue generated by Pierce from June 30, 2016 through

          imposition of the receivership was $220,278.87. The amount paid to Brown should be

          reduced to $105,733.85 or 48% attributable to the Pierce websites.



                 (c) If Liability is Imposed From 2014 Until Imposition of the Receivership.

                     Total Revenue from Pierce     $6,832,435.81
                     Revable Commissions           $2,370,000.00
                     Pierce Refund Amount          $472,751.56
                     Pierce chargebacks            $394,903.68
                     Pierce Chargeback fees        $228,150.00
                     Merchant Fees                 $69,230.01
                     Revenue from Pierce retainees $835,785.35
                     Pierce/Lloyd Settlement       ~762,000.00
                     CSID Payment                  $1,175,621.76 8
                     Web Technology & Hosting      $432,003.00 7
                     Customer Service Staff & Op. - $270,361.00         _
                     Total Liability:              $0

56. We have also claimed set off for the damages inflicted as a result of the FTC imposing a

      receivership over CBC’s entire business.        As previously stated, the White Label/Co-

      Branding/Direct Solicitation business had grown each year of CBC’s business and was

      unrelated to Pierce’s websites. Therefore, we request a set off of 52% of $1,950,000 net


6
    Id.
8
    I took the total amount paid to CSID and calculated 48% of the payments attributable to Pierce.
7
    Dkt. 36, Receiver Report, pp. 7
                                                 25
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   revenues or $1,042,000 based on a full year in 2016 as a measure of damages. Exhibit 27,

   Income Statement.

57. I understand that if the Court imposes liability, there are a broad ranges of sanctions that can

   be imposed. The following information is presented for the Court’s consideration. I am

   currently 33 years old.

           d. While I had success prior to having the misfortune of allowing Mr. Pierce to
              become an affiliate, I do recognize, in hindsight, that CBC grew very quickly and
              that I could have done a better job of protecting myself from rogue affiliates such
              as Pierce.

           e. I had just hired Darcy Bardwell in Orange County, California to become an
              Affiliate Manager and to work with Pierce and other affiliates on compliance issues.
              We did not have the opportunity to allow Ms. Bardwell to work closely with Pierce
              or other affiliates on compliance.

           f. I would also hire an outside counsel to routinely review customer service
              complaints and make recommendations about how to investigate all complaints
              involving fraud.

           g. In addition, the deposition of Tom Fragala demonstrates that we were spending
              ever-increasing amounts of money to build out procedures and checklists for
              assuring that affiliates complied with the FTC Act. Fragala did not hesitate to ask
              about compliance issues. Fragala Depo. Ex. 2, 3, 6, 7, 8, 9, 15, and 16.

           h. The experience with my prior attorneys left me wondering about the system
              because their advice did get me into trouble. The lawyers who were supposed to
              be giving me advice on the TRO immediately told me to transfer funds to pay them.
              This violated the TRO. The issues are more fully discussed in Docket No 136.

           i. I realize that the contempt issue left a bad impression with the Court. Our legal
              challenges regarding Section 13(b) of the Act are, in no way, any indication of
              disrespect for this Court or to the FTC.

           j. If I am allowed to continue in the credit monitoring services industry, I would want
              to re-start my business because my options in other businesses are limited. I have
              reasonably good technical skills (a bit dated at this point) and (I hate to admit it)
              weak writing skills.

           k. I respectfully submit that lifetime prohibition against working in the credit
              monitoring industry is disproportionately severe to the alleged violations. It is akin
              to a thirty year-plus fine that cannot be paid. Pierce and Lloyd set this scheme in

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               motion. While the Court may ultimately disagree with the positions taken in this
               lawsuit, the alleged violations of Section 5, ROSCA and the Free Credit Report rule
               do not reveal evil intent on my part. In fact, the fact that the Pre-Existing websites
               complied with the FTC shows that I can and will comply with a court order.
               Ultimately, I realize that I cannot simply rely on lawyers and must understand each
               sentence of an injunction.

           l. With respect to certain provisions of the FTC’s proposed Final Injunction, the
              period of supervision should be no greater than that imposed on Pierce and Lloyd,
              who created and operated RentFind.

                     1. With respect to Section III (B) of the Proposed Final Injunction,
                        this section requires me to provide a copy of the Final Injunction
                        to any potential affiliate or white label partner and requires them
                        to sign a receipt certifying that they received the order. This
                        provision will only guarantee that I will not be able to do business
                        in the credit monitoring business (or any online business for that
                        matter). The provision is also unlimited as to time period or
                        industry and is therefore overly broad as well.

                     2. With respect to Section V (A) of the Proposed Final Injunction,
                        the FTC asks the court to require that I make the ROSCA
                        disclosure in any representation such as a banner, google ad or
                        email. All of my Landing Pages, including the Prior Websites,
                        have the same wording and same 12-point font. This disclosure
                        complies with other consent orders. I have attached a google ad,
                        which illustrates that the proposed provision is impractical as well
                        as overly broad and disproportionately severe to limit legitimate
                        legal forms of online advertising.

                     3. With respect to Section VII of the Proposed Final Injunction, the
                        FTC’s “easy mechanism” for cancellation is overly broad and will
                        deprive my business of any opportunity to retain customers who
                        may be wanting to cancel the service based on an impulse or
                        without fully considering the services being delivered. CBC had
                        an easy mechanism to cancel, through email or by phone.
                        Thousands of customers successfully cancelled by email and by
                        phone.

58. This is a summary of my testimony. I reserve the right to supplement or clarify my testimony

   if called as a witness at hearing or trial.

---------------------------------------- SIGNATURE ON NEXT PAGE ------------------------------------



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Executed on March 23, 2018.

                                                  ________________________
                                                  Michael Brown




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                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12                                SAN FRANCISCO DIVISION

13
     FEDERAL TRADE COMMISSION,                               CASE NO. 3:14-CV-05066-JSC
14   STATE OF ILLINOIS, and
     STATE OF OHIO,                                          [PROPOSED]
15                                                           STIPULATED ORDER FOR
                     Plaintiffs,
16                                                           PERMANENT INJUNCTION &
              v.                                             MONETARY JUDGMENT
17   ONE TECHNOLOGIES, LP, a limited partnership,
     also d/b/a SCORESENSE, ONE TECHNOLOGIES,
18   INC., and MYCREDITHEALTH,
     ONE TECHNOLOGIES MANAGEMENT, LLC, a
19   limited liability company, individually and as
     general partner of ONE TECHNOLOGIES, LP, and
20   ONE TECHNOLOGIES CAPITAL, LLP, a limited
     liability partnership, individually and as a limited
21   partner of ONE TECHNOLOGIES, LP,
                     Defendants.
22

23          Plaintiffs, the Federal Trade Commission (“Commission” or “FTC”), the State of Illinois,
24   and the State of Ohio, filed their Complaint for Permanent Injunction and Other Equitable Relief
25   in this matter, pursuant to Sections 13(b) and 19 of the Federal Trade Commission Act (“FTC
26   Act”), 15 U.S.C. §§ 53(b), 57b, Sections 5 and 6 of the Restore Online Shoppers’ Confidence
27   Act (“ROSCA”), 15 U.S.C. §§ 8404–05, the Ohio Consumer Sales Practices Act, O.R.C.
28   §§ 1345.01 et seq., and Section 7(a) of the Illinois Consumer Fraud and Deceptive Business
     STIPULATED FINAL ORDER                                                              Page 1 of 15
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1    Practices Act (“Illinois Consumer Fraud Act”), 815 ILCS § 505/7(a). Plaintiffs and Defendants

2    stipulate to the entry of this Stipulated Order for Permanent Injunction and Monetary Judgment

3    to resolve all matters in dispute in this action between them.

4             THEREFORE, IT IS ORDERED as follows:

5                                                 FINDINGS

6    1.       This Court has jurisdiction over this matter.

7    2.       The Complaint charges that Defendants participated in deceptive acts or practices in

8    violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), Section 4 of ROSCA, 15 U.S.C.

9    § 8403, the Ohio Consumer Sales Practices Act, O.R.C. §§ 1345.01 et seq., and Section 2 of the

10   Illinois Consumer Fraud Act, 815 ILCS § 505/2, in the marketing of their credit monitoring

11   programs.

12   3.       Defendants neither admit nor deny any of the allegations in the Complaint, except as

13   specifically stated in this Order. Only for purposes of this action, Defendants admit the facts

14   necessary to establish jurisdiction.

15   4.       Defendants waive any claim that they may have under the Equal Access to Justice Act,

16   28 U.S.C. § 2412, concerning the prosecution of this action through the date of this Order, and

17   agree to bear their own costs and attorney fees.

18   5.       Defendants waive all rights to appeal or otherwise challenge or contest the validity of this

19   Order.

20                                             DEFINITIONS

21            For the purpose of this Order, the following definitions apply:

22   A.       “Advertisement” means a commercial message in any medium that directly or indirectly

23   promotes a consumer transaction.

24   B.       “Charge” or “charging” means causing billing information to be submitted for payment,

25   including against a consumer’s credit card, debit card, bank account, phone bill, or other account,

26   or otherwise attempting to collect money or other consideration.

27   ///

28   ///
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1    C.     “Clear and conspicuous” or “clearly and conspicuously” means as follows:

2                   1.     In print communications, the disclosure shall be presented in a manner that

3           stands out from the accompanying text so that it is sufficiently prominent, because of its

4           type size, contrast, location, or other characteristics, for an ordinary consumer to notice,

5           read, and comprehend it;

6                   2.     In communications made through an electronic medium (such as

7           television, video, radio, and interactive media such as the Internet, online services, and

8           software), the disclosure shall be presented simultaneously in both the audio and visual

9           portions of the communication. In any communication presented solely through visual or

10          audio means, the disclosure shall be made through the same means through which the

11          communication is presented. In any communication disseminated by means of an

12          interactive electronic medium such as software, the Internet, or online services, the

13          disclosure must be unavoidable. Any audio disclosure shall be delivered in a volume and

14          cadence sufficient for an ordinary consumer to hear and comprehend it. Any visual

15          disclosure shall be presented in a manner that stands out in the context in which it is

16          presented so that it is sufficiently prominent, due to its size and shade, contrast to the

17          background against which it appears, the length of time it appears on the screen, and its

18          location, for an ordinary consumer to notice, read, and comprehend it; and

19                  3.     Regardless of the medium used to disseminate it, the disclosure shall be in

20          understandable language and syntax. Nothing contrary to, inconsistent with, or in

21          mitigation of the disclosure shall be used in any communication.

22   D.     “Defendants” means One Technologies, LP, One Technologies Management, LLC, One

23   Technologies Capital, LLP, and their successors and assigns, individually, collectively, or in any

24   combination.

25   E.     “Material” means likely to affect a person’s choice of, or conduct regarding, goods

26   or services.

27   F.     “Negative Option Feature” means, in an offer or agreement to sell or provide any good

28   or service, a provision under which the consumer’s silence or failure to take affirmative action to
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1    reject a good or service or to cancel the agreement is interpreted by the seller or provider as

2    acceptance or continuing acceptance of the offer.

3                        I. PROHIBITION AGAINST MISREPRESENTATIONS

4           IT IS ORDERED that Defendants, Defendants’ officers, agents, servants, employees, and

5    attorneys, and all other persons in active concert or participation with any of them who receive

6    actual notice of this Order, whether acting directly or indirectly, in connection with the

7    advertising, marketing, promoting, or sale of any good or service with a Negative Option

8    Feature, are permanently restrained and enjoined from misrepresenting, expressly or by

9    implication, any material fact, including but not limited to:

10          A.      The cost or price of a good or service;

11          B.      That a good or service is free, a bonus, a gift, without cost, or without obligation;

12          C.      That consumers can obtain a good or service for a minimal processing, service, or

13   administrative fee with no further obligation;

14          D.      The purpose for which a consumer’s payment information will be used;

15          E.      The timing or manner of any charge or bill (including but not limited to the date

16   of the charge and whether it will be a credit card charge or checking account debit);

17          F.      The length of any trial period before the consumer is charged or billed; or

18          G.      That a transaction has been authorized by a consumer.

19                                   II. REQUIRED DISCLOSURES

20          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

21   employees, and attorneys, and all other persons in active concert or participation with any of

22   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

23   with the advertising, marketing, promoting, or sale of any good or service with a Negative

24   Option Feature, are permanently restrained and enjoined from:

25          A.      Before a customer consents to pay for such good or service, failing to disclose,

26   clearly and conspicuously:

27                  1.      The name of the seller or provider of the good or service or the name of

28          the good or service as it appears in billing statements;
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1                    2.     A description of the good or service, including but not limited to its

2            duration;

3                    3.     The cost or price of the good or service;

4                    4.     The length of any trial period; and

5                    5.     The mechanism to stop any recurring charges.

6            B.      For any transaction involving a sale of a service to a consumer, within 10 days

7    after the date of the sale, failing to send the consumer written confirmation of the transaction,

8    either by email or first class mail, clearly and conspicuously identified as such in the email

9    subject line or on the outside of the envelope. Such written confirmation shall include clear and

10   conspicuous disclosure of all the information required by Subsection A of this Section and of the

11   procedures by which consumers can cancel or request a refund.

12                               III. EXPRESS INFORMED CONSENT

13           IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

14   employees, and attorneys, and all other persons in active concert or participation with any of

15   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

16   with the advertising, marketing, promoting, or sale of any good or service with a Negative

17   Option Feature, are permanently restrained and enjoined from using billing information to obtain

18   payment from a consumer, unless, prior to using such billing information to obtain payment,

19   Defendants obtain the express informed consent of the consumer. Express informed consent

20   shall consist of:

21           A.      For all written offers (including over the Internet or other web-based applications

22   or services): a check box, signature space or line, or another substantially similar method by

23   which consumers must affirmatively select to accept the Negative Option Feature. Immediately

24   adjacent to an affirmative selection method, Defendants shall disclose the information identified

25   in Subsection A of the Section entitled “Required Disclosures.” This disclosure shall contain no

26   additional information and shall be clear and conspicuous in relation to any other information

27   provided on the page relating to costs, risks, or obligations associated with the Negative Option

28   Feature, including any terms referring to “free,” “trial,” and “processing fee.”
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1           B.      For all oral offers: the consumer’s express, informed agreement to the Negative

2    Option Feature, as evidenced by:

3                   1.      The consumer’s authorization of payment for the good or service

4           described;

5                   2.      The consumer’s name and the date of the authorization;

6                   3.      The consumer’s understanding of what account will be charged; and

7                   4.      The consumer’s receipt of the disclosures required by this Order in

8           Subsection A of the Section entitled “Required Disclosures.”

9    Defendants shall maintain for each such transaction a voice recording of the entire transaction,

10   including the sales representations. Each recording must be retrievable by the consumer’s name,

11   telephone number, or billing information and must be provided upon request to the consumer, the

12   consumer’s bank, or any law enforcement entity.

13            IV. PROHIBITIONS CONCERNING REFUNDS & CANCELLATIONS

14          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

15   employees, and attorneys, and all other persons in active concert or participation with any of

16   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

17   with the advertising, marketing, promoting, or sale of any good or service, are permanently

18   restrained and enjoined from:

19          A.      Misrepresenting, expressly or by implication, any material term of any refund or

20   cancellation policy or practice;

21          B.      Failing to disclose, clearly and conspicuously, before a consumer consents to pay

22   for such good or service through a Negative Option Feature, all material terms, limitations, and

23   conditions of any cancellation or refund policy, including but not limited to prohibitions against

24   cancellations or refunds;

25          C.      Failing to honor a cancellation or refund request that complies with any policy to

26   make refunds or allow cancellations; and

27          D.      Failing to provide and disclose, clearly and conspicuously, a simple mechanism

28   for a consumer to immediately stop any recurring charge for such good or service. Such
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1    mechanism must not be difficult, costly, confusing, or time consuming, and it must be at least as

2    simple as the mechanism the consumer used to initiate the recurring charge. For the purposes of

3    this Subsection, a toll-free telephone call is a sufficiently simple cancellation mechanism so long

4    as:

5                   1.      Defendants disclose, clearly and conspicuously, the toll-free telephone

6           number on all websites and direct customer communications relating to the recurring

7           charge and the underlying good or service;

8                   2.      Defendants include the toll-free telephone number in billing descriptors

9           for the recurring charge;

10                  3.      Defendants maintain a call center that is open from 9:00 a.m. to 9:00 p.m.

11          (Eastern Time) Monday through Friday, 9:00 a.m. to 6:00 p.m. (Eastern Time) Saturday,

12          and 1:00 p.m. to 6:00 p.m. (Eastern Time) Sunday;

13                  4.      Defendants immediately accept a consumer’s cancellation request,

14          provided, however, that Defendants may then attempt to retain the consumer. If at any

15          time during the retention efforts the consumer expresses a desire that Defendants cease

16          their retention efforts, Defendants shall immediately cease their retention efforts; and

17                  5.      The mechanism is not otherwise difficult, costly, confusing, or time

18          consuming.

19                             V. PROHIBITION ON VIOLATING THE

20                       RESTORE ONLINE SHOPPERS’ CONFIDENCE ACT

21          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

22   employees, and attorneys, and all other persons in active concert or participation with any of

23   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

24   with the advertising, marketing, promoting, or sale of any good or service, are permanently

25   restrained and enjoined from violating the Restore Online Shoppers’ Confidence Act, 15 U.S.C.

26   §§ 8401–05, a copy of which is attached.

27   ///

28   ///
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1                                    VI. MONETARY JUDGMENT

2           IT IS FURTHER ORDERED that:

3           A.      Judgment in the amount of twenty-two million dollars ($22,000,000) is entered in

4    favor of Plaintiffs against Defendants, jointly and severally, as equitable monetary relief. All

5    money paid to Plaintiffs pursuant to this Order is compensatory and not punitive in nature. Such

6    money is not intended as nor shall it be treated or construed as a penalty or fine of any kind.

7           B.      Defendants are ordered to pay to Plaintiffs, by making payment to the

8    Commission, twenty-two million dollars ($22,000,000). Defendants stipulate that such funds

9    will be held in escrow by a third party pursuant to a written escrow agreement, which provides

10   for payment to Plaintiffs within 7 days of entry of this Order by electronic fund transfer in

11   accordance with instructions previously provided by a representative of the Commission, should

12   this Order be entered by on or before the end of February 2015.

13                          VII. ADDITIONAL MONETARY PROVISIONS

14          IT IS FURTHER ORDERED that:

15          A.      Defendants relinquish dominion and all legal and equitable right, title, and interest

16   in all assets transferred pursuant to this Order and may not seek the return of any assets.

17          B.      The facts alleged in the Complaint will be taken as true, without further proof, in

18   any subsequent civil litigation by or on behalf of any Plaintiff, including in a proceeding to

19   enforce its rights to any payment or monetary judgment pursuant to this Order, such as a

20   nondischargeability complaint in any bankruptcy case.

21          C.      The facts alleged in the Complaint establish all elements necessary to sustain an

22   action by any Plaintiff pursuant to Section 523(a)(2)(A) of the Bankruptcy Code, 11 U.S.C.

23   § 523(a)(2)(A), and this Order will have collateral estoppel effect for such purposes.

24          D.      Defendants acknowledge that their Taxpayer Identification Numbers (Social

25   Security numbers or Employer Identification Numbers), which Defendants must submit to the

26   Commission, may be used for collecting and reporting on any delinquent amount arising out of

27   this Order, in accordance with 31 U.S.C. § 7701.

28   ///
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1           E.      All money paid to Plaintiffs pursuant to this Order shall be deposited into a fund

2    administered by the Commission or its designee to be used for equitable relief, including

3    consumer redress and any attendant expenses for the administration of any redress fund.

4           F.      If a representative of the Commission, in consultation with the States of Illinois,

5    Ohio, and Texas, decides that direct redress to consumers is wholly or partially impracticable or

6    money remains after redress is completed, such funds shall be divided among Plaintiffs as

7    follows: fifty-thousand dollars ($50,000) to the State of Illinois; fifty-thousand dollars ($50,000)

8    to the State of Ohio Consumer Protection Enforcement Fund established by O.R.C 1345.51; and

9    the remainder to the Commission. The amount paid to the State of Illinois shall be deposited into

10   the Attorney General Court Ordered and Voluntary Compliance Payment Projects Fund for

11   subsequent expenditure as authorized by the Attorney General. The Commission may apply any

12   remaining money for such other equitable relief (including consumer information remedies) as it

13   determines to be reasonably related to Defendants’ practices alleged in the Complaint. Any

14   money not used for such equitable relief by the Commission shall be deposited to the United

15   States Treasury as disgorgement. Any funds paid to the State of Illinois or the State of Ohio not

16   used for equitable relief may be used by the State to the full extent authorized by the State’s

17   laws, including but not limited to as payment for the State’s costs of investigating and litigating

18   the instant case. Defendants have no right to challenge any actions any Plaintiff may take

19   pursuant to this Subsection.

20                                  VIII. CUSTOMER INFORMATION

21          IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents, servants,

22   employees, and attorneys, and all other persons in active concert or participation with any of

23   them who receive actual notice of this Order, whether acting directly or indirectly, in connection

24   with the advertising, marketing, promoting, or sale of any good or service, must provide

25   sufficient customer information to enable any Plaintiff to efficiently administer consumer

26   redress. If a representative of any Plaintiff requests in writing any information related to redress,

27   Defendants must provide it, in the form prescribed by the Plaintiff, within 14 days.

28   ///
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1                                   IX. ORDER ACKNOWLEDGMENTS

2             IT IS FURTHER ORDERED that Defendants obtain acknowledgments of receipt of this

3    Order:

4             A.      Each Defendant, within 7 days of entry of this Order, must submit to each

5    Plaintiff an acknowledgment of receipt of this Order sworn under penalty of perjury.

6             B.      For 5 years after entry of this Order, each Defendant must deliver a copy of this

7    Order to:

8                     1.      All principals, officers, directors, and LLC managers and members;

9                     2.      All employees, agents, and representatives who participate in conduct

10            related to the subject matter of the Order; and

11                    3.      Any business entity resulting from any change in structure as set forth in

12            the Section titled Compliance Reporting. Delivery must occur within 7 days of entry of

13            this Order for current personnel. For all others, delivery must occur before they assume

14            their responsibilities.

15            C.      From each individual or entity to which a Defendant delivered a copy of this

16   Order, that Defendant must obtain, within 30 days, a signed and dated acknowledgment of

17   receipt of this Order.

18                                      X. COMPLIANCE REPORTING

19            IT IS FURTHER ORDERED that Defendants make timely submissions to Plaintiffs:

20            A.      One year after entry of this Order, each Defendant must submit a compliance

21   report, sworn under penalty of perjury. Each Defendant must:

22                    1.      Identify the primary physical, postal, and email address and telephone

23            number, as designated points of contact, which representatives of any Plaintiff may use to

24            communicate with the Defendant;

25                    2.      Identify all of that Defendant’s businesses by all of their names, telephone

26            numbers, and physical, postal, email, and Internet addresses;

27

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1                    3.     Describe the activities of each business, including the goods and services

2            offered, the means of advertising, marketing, and sales, and the involvement of any other

3            Defendant;

4                    4.     Describe in detail whether and how that Defendant is in compliance with

5            each Section of this Order; and

6                    5.     Provide a copy of each Order Acknowledgment obtained pursuant to this

7            Order, unless previously submitted to all Plaintiffs.

8            B.      For 20 years after entry of this Order, each Defendant must submit a compliance

9    notice, sworn under penalty of perjury, within 14 days of any change in the following:

10                   1.     Any designated point of contact; or

11                   2.     The structure of any Defendant or any entity that Defendant has any

12           ownership interest in or controls directly or indirectly that may affect compliance

13           obligations arising under this Order, including: creation, merger, sale, or dissolution of

14           the entity or any subsidiary, parent, or affiliate that engages in any acts or practices

15           subject to this Order.

16           C.      Each Defendant must submit to Plaintiffs notice of the filing of any bankruptcy

17   petition, insolvency proceeding, or similar proceeding by or against such Defendant within 14

18   days of its filing.

19           D.      Any submission to Plaintiffs required by this Order to be sworn under penalty of

20   perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by concluding: “I

21   declare under penalty of perjury under the laws of the United States of America that the

22   foregoing is true and correct. Executed on: _____” [and supplying the date, signatory’s full

23   name, title (if applicable), and signature].

24           E.      Unless otherwise directed by a Commission representative in writing, all

25   submissions to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or

26   sent by overnight courier (not the U.S. Postal Service) to: Associate Director for Enforcement,

27   Bureau of Consumer Protection, Federal Trade Commission, 600 Pennsylvania Avenue NW,

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1    Washington, DC 20580. The subject line must begin: FTC v. One Technologies, LP, matter

2    number 1323021.

3           F.      All submissions to Plaintiff State of Illinois must be emailed to

4    pisaac@atg.state.il.us or sent by overnight courier (not the U.S. Postal Service) to: Assistant

5    Attorney General Paul Isaac, Illinois Attorney General’s Office, 500 South Second Street,

6    Springfield, IL 62706, (217) 782-4436 (P). (Or other contact as provided to Defendants by the

7    Illinois Attorney General’s Office).

8           G.      All submissions to Plaintiff State of Ohio must be emailed to

9    jeff.loeser@ohioattorneygeneral.gov or sent by overnight courier (not the U.S. Postal Service) to:

10   Assistant Attorney General Jeffrey Loeser, Consumer Protection Section, Ohio Attorney

11   General’s Office, 30 East Broad Street, 14th Floor, Columbus, Ohio 43215. (Or other contact as

12   provided to Defendants by the Ohio Attorney General’s Office).

13                                          XI. RECORDKEEPING

14          IT IS FURTHER ORDERED that Defendants must create certain records for 10 years

15   after entry of the Order, and retain each such record for 5 years. Specifically, Defendants, in

16   connection with the sale of any good or service with a Negative Option Feature, must create and

17   retain the following records:

18          A.      Accounting records showing the revenues from all goods or services sold;

19          B.      Personnel records showing, for each person providing services, whether as an

20   employee or otherwise, that person’s: name; address(es); telephone number(s); job title or

21   position; dates of service; and (if applicable) the reason for termination;

22          C.      Records of all consumer complaints and refund requests, whether received

23   directly or indirectly, such as through a third party, and any response; and

24          D.      All records necessary to demonstrate full compliance with each provision of this

25   Order, including all submissions to Plaintiffs.

26                                   XII. COMPLIANCE MONITORING

27          IT IS FURTHER ORDERED that, for the purpose of monitoring Defendants’ compliance

28   with this Order, including any failure to transfer any assets as required by this Order:
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1           A.      Within 14 days of receipt of a written request from a representative of any

2    Plaintiff, each Defendant must: submit additional compliance rep01t s or other requested

3    infonnation, which must be swom under penalty of pe1jury; appear for depositions; and produce

4    documents for inspection and copying. Any Plaintiff is also authorized to obtain discovery,
5    without fmther leave of comt, using any of the procedures prescribed by Federal Rules of Civil

6    Procedure 29, 30 (including telephonic depositions), 31 , 33, 34, 36, 45, and 69.

7           B.      For matters conceming this Order, any Plaintiff is authorized to communicate

8    directly with any Defendant. Defendants must pennit representatives of any Plaintiff to
9    interview any employee or other person affiliated with any Defendant who has agreed to such an

10   interview. The person interviewed may have counsel present.

11          C.      Plaintiffs may use all other lawful means, including posing, through its

12   representatives, as consumers, suppliers, or other individuals or entities, to Defendants or any

13   individual or entity affiliated with Defendants, without the necessity of identification or prior

14   notice. Nothing in this Order liinits the Collllnission's lawful use of compuls01y process,

15   pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

16                              XIII. RETENTION OF JURISDICTION

17          IT IS FURTHER ORDERED that this Comt retains jurisdiction of this matter for

18   pmposes of constmction, modification, and enforcement of this Order.

19          PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                                      ~--~......._

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     Dated: November 21, 2014
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        SO STIPULATED AND AGREED:
2       FOR PLAINTIFFS:

3       JONATHAN E. NUECHTERLEJN
4       General Counsel



       ~~
5
6       ~HROEDER
        KENNETH H. ABBE
7       EVAN ROSE
8       YANFANG
        Attorn~ys for Plaintiff
.9      FEDERAL TRADE COMMISSION

10

11
       .LISA MADIGAN
12      Attorney General
        State of Illinois
13

14        ~~~
        PAUL A. ISAAC
15
        Attorney for Plaintiff
16      STATE OF ILLINOIS

17
1.8    MIKEDEWJNE
19     Attorney General
       State of Ohio
20
21
        JEFFREY R. LOESER
22      Attorney for Plaintiff
23      STATE OF OHIO

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       SO STIPULATED AND AGREED:

2      FOR PLAINTIFFS:

3      JONATHAN E. NUECHTERLEIN
4      General Counsel



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 S. 3386



                   One Hundred Eleventh Congress
                              of the
                     United States of America
                                AT T H E S E C O N D S E S S I O N

                     Begun and held at the City of Washington on Tuesday,
                        the fifth day of January, two thousand and ten




                                                An Act
                  To protect consumers from certain aggressive sales tactics on the Internet.

                  Be it enacted by the Senate and House of Representatives of
              the United States of America in Congress assembled,
              SECTION 1. SHORT TITLE.
                  This Act may be cited as the ‘‘Restore Online Shoppers’ Con-
              fidence Act’’.
              SEC. 2. FINDINGS; DECLARATION OF POLICY.
                  The Congress finds the following:
                       (1) The Internet has become an important channel of com-
                  merce in the United States, accounting for billions of dollars
                  in retail sales every year. Over half of all American adults
                  have now either made an online purchase or an online travel
                  reservation.
                       (2) Consumer confidence is essential to the growth of online
                  commerce. To continue its development as a marketplace, the
                  Internet must provide consumers with clear, accurate informa-
                  tion and give sellers an opportunity to fairly compete with
                  one another for consumers’ business.
                       (3) An investigation by the Senate Committee on Com-
                  merce, Science, and Transportation found abundant evidence
                  that the aggressive sales tactics many companies use against
                  their online customers have undermined consumer confidence
                  in the Internet and thereby harmed the American economy.
                       (4) The Committee showed that, in exchange for ‘‘bounties’’
                  and other payments, hundreds of reputable online retailers
                  and websites shared their customers’ billing information,
                  including credit card and debit card numbers, with third party
                  sellers through a process known as ‘‘data pass’’. These third
                  party sellers in turn used aggressive, misleading sales tactics
                  to charge millions of American consumers for membership clubs
                  the consumers did not want.
                       (5) Third party sellers offered membership clubs to con-
                  sumers as they were in the process of completing their initial
                  transactions on hundreds of websites. These third party ‘‘post-
                  transaction’’ offers were designed to make consumers think
                  the offers were part of the initial purchase, rather than a
                  new transaction with a new seller.
                       (6) Third party sellers charged millions of consumers for
                  membership clubs without ever obtaining consumers’ billing
                  information, including their credit or debit card information,
                  directly from the consumers. Because third party sellers
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                  acquired consumers’ billing information from the initial mer-
                  chant through ‘‘data pass’’, millions of consumers were unaware
                  they had been enrolled in membership clubs.
                       (7) The use of a ‘‘data pass’’ process defied consumers’
                  expectations that they could only be charged for a good or
                  a service if they submitted their billing information, including
                  their complete credit or debit card numbers.
                       (8) Third party sellers used a free trial period to enroll
                  members, after which they periodically charged consumers until
                  consumers affirmatively canceled the memberships. This use
                  of ‘‘free-to-pay conversion’’ and ‘‘negative option’’ sales took
                  advantage of consumers’ expectations that they would have
                  an opportunity to accept or reject the membership club offer
                  at the end of the trial period.
              SEC. 3. PROHIBITIONS AGAINST CERTAIN UNFAIR AND DECEPTIVE
                         INTERNET SALES PRACTICES.
                   (a) REQUIREMENTS FOR CERTAIN INTERNET-BASED SALES.—It
              shall be unlawful for any post-transaction third party seller to
              charge or attempt to charge any consumer’s credit card, debit card,
              bank account, or other financial account for any good or service
              sold in a transaction effected on the Internet, unless—
                        (1) before obtaining the consumer’s billing information, the
                   post-transaction third party seller has clearly and conspicuously
                   disclosed to the consumer all material terms of the transaction,
                   including—
                             (A) a description of the goods or services being offered;
                             (B) the fact that the post-transaction third party seller
                        is not affiliated with the initial merchant, which may
                        include disclosure of the name of the post-transaction third
                        party in a manner that clearly differentiates the post-
                        transaction third party seller from the initial merchant;
                        and
                             (C) the cost of such goods or services; and
                        (2) the post-transaction third party seller has received the
                   express informed consent for the charge from the consumer
                   whose credit card, debit card, bank account, or other financial
                   account will be charged by—
                             (A) obtaining from the consumer—
                                  (i) the full account number of the account to be
                             charged; and
                                  (ii) the consumer’s name and address and a means
                             to contact the consumer; and
                             (B) requiring the consumer to perform an additional
                        affirmative action, such as clicking on a confirmation button
                        or checking a box that indicates the consumer’s consent
                        to be charged the amount disclosed.
                   (b) PROHIBITION ON DATA-PASS USED TO FACILITATE CERTAIN
              DECEPTIVE INTERNET SALES TRANSACTIONS.—It shall be unlawful
              for an initial merchant to disclose a credit card, debit card, bank
              account, or other financial account number, or to disclose other
              billing information that is used to charge a customer of the initial
              merchant, to any post-transaction third party seller for use in
              an Internet-based sale of any goods or services from that post-
              transaction third party seller.
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                   (c) APPLICATION WITH OTHER LAW.—Nothing in this Act shall
              be construed to supersede, modify, or otherwise affect the require-
              ments of the Electronic Funds Transfer Act (15 U.S.C. 1693 et
              seq.) or any regulation promulgated thereunder.
                   (d) DEFINITIONS.—In this section:
                        (1) INITIAL MERCHANT.—The term ‘‘initial merchant’’ means
                   a person that has obtained a consumer’s billing information
                   directly from the consumer through an Internet transaction
                   initiated by the consumer.
                        (2) POST-TRANSACTION THIRD PARTY SELLER.—The term
                   ‘‘post-transaction third party seller’’ means a person that—
                             (A) sells, or offers for sale, any good or service on
                        the Internet;
                             (B) solicits the purchase of such goods or services on
                        the Internet through an initial merchant after the con-
                        sumer has initiated a transaction with the initial merchant;
                        and
                             (C) is not—
                                   (i) the initial merchant;
                                   (ii) a subsidiary or corporate affiliate of the initial
                             merchant; or
                                   (iii) a successor of an entity described in clause
                             (i) or (ii).
              SEC. 4. NEGATIVE OPTION MARKETING ON THE INTERNET.
                   It shall be unlawful for any person to charge or attempt to
              charge any consumer for any goods or services sold in a transaction
              effected on the Internet through a negative option feature (as
              defined in the Federal Trade Commission’s Telemarketing Sales
              Rule in part 310 of title 16, Code of Federal Regulations), unless
              the person—
                       (1) provides text that clearly and conspicuously discloses
                   all material terms of the transaction before obtaining the con-
                   sumer’s billing information;
                       (2) obtains a consumer’s express informed consent before
                   charging the consumer’s credit card, debit card, bank account,
                   or other financial account for products or services through
                   such transaction; and
                       (3) provides simple mechanisms for a consumer to stop
                   recurring charges from being placed on the consumer’s credit
                   card, debit card, bank account, or other financial account.
              SEC. 5. ENFORCEMENT BY FEDERAL TRADE COMMISSION.
                   (a) IN GENERAL.—Violation of this Act or any regulation pre-
              scribed under this Act shall be treated as a violation of a rule
              under section 18 of the Federal Trade Commission Act (15 U.S.C.
              57a) regarding unfair or deceptive acts or practices. The Federal
              Trade Commission shall enforce this Act in the same manner,
              by the same means, and with the same jurisdiction, powers, and
              duties as though all applicable terms and provisions of the Federal
              Trade Commission Act (15 U.S.C. 41 et seq.) were incorporated
              into and made a part of this Act.
                   (b) PENALTIES.—Any person who violates this Act or any regula-
              tion prescribed under this Act shall be subject to the penalties
              and entitled to the privileges and immunities provided in the Fed-
              eral Trade Commission Act as though all applicable terms and
              provisions of the Federal Trade Commission Act were incorporated
              in and made part of this Act.
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                  (c) AUTHORITY PRESERVED.—Nothing in this section shall be
              construed to limit the authority of the Commission under any
              other provision of law.
              SEC. 6. ENFORCEMENT BY STATE ATTORNEYS GENERAL.
                   (a) RIGHT OF ACTION.—Except as provided in subsection (e),
              the attorney general of a State, or other authorized State officer,
              alleging a violation of this Act or any regulation issued under
              this Act that affects or may affect such State or its residents
              may bring an action on behalf of the residents of the State in
              any United States district court for the district in which the defend-
              ant is found, resides, or transacts business, or wherever venue
              is proper under section 1391 of title 28, United States Code, to
              obtain appropriate injunctive relief.
                   (b) NOTICE TO COMMISSION REQUIRED.—A State shall provide
              prior written notice to the Federal Trade Commission of any civil
              action under subsection (a) together with a copy of its complaint,
              except that if it is not feasible for the State to provide such prior
              notice, the State shall provide such notice immediately upon insti-
              tuting such action.
                   (c) INTERVENTION BY THE COMMISSION.—The Commission may
              intervene in such civil action and upon intervening—
                        (1) be heard on all matters arising in such civil action;
                   and
                        (2) file petitions for appeal of a decision in such civil action.
                   (d) CONSTRUCTION.—Nothing in this section shall be con-
              strued—
                        (1) to prevent the attorney general of a State, or other
                   authorized State officer, from exercising the powers conferred
                   on the attorney general, or other authorized State officer, by
                   the laws of such State; or
                        (2) to prohibit the attorney general of a State, or other
                   authorized State officer, from proceeding in State or Federal
                   court on the basis of an alleged violation of any civil or criminal
                   statute of that State.
                   (e) LIMITATION.—No separate suit shall be brought under this
              section if, at the time the suit is brought, the same alleged violation
              is the subject of a pending action by the Federal Trade Commission
              or the United States under this Act.




                                          Speaker of the House of Representatives.




                                      Vice President of the United States and
                                                           President of the Senate.
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                                                                                            Monday,
                                                                                            January 31, 2005




                                                                                            Part VIII

                                                                                            Federal Trade
                                                                                            Commission
                                                                                            16 CFR Parts 642 and 698
                                                                                            Prescreen Opt-Out Disclosure; Final Rule




                                                                                                                                 EXHIBIT
                                                                                                                                    2




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      FEDERAL TRADE COMMISSION                                subparagraph (D) by notifying a                        meet the statutory mandate. As stated in
                                                              notification system established under                  the proposed Rule, the determination of
      16 CFR Parts 642 and 698                                section 604(e) [of the FCRA].                          whether a notice meets the ‘‘simple and
      [RIN 3084–AA94]                                                                                                easy to understand’’ standard is based
                                                              Section 615(d)(1) of the FCRA [15 U.S.C.
                                                                                                                     on the totality of the disclosure and the
                                                              1681m(d)(1)] 1
      Prescreen Opt-Out Disclosure                                                                                   manner and format in which it is
                                                                 The Fair and Accurate Credit                        presented, not on any single factor.
      AGENCY:    Federal Trade Commission.                    Transactions Act of 2003, Public Law                   Modifications have been made to the
      ACTION:   Final rule.                                   108–159, 117 Stat. 1952 (FACT Act or                   final Rule to make it clearer that the
                                                              the Act) was signed into law on                        ‘‘simple and easy to understand’’
      SUMMARY:    The Fair and Accurate Credit                December 4, 2003. Section 213(a) of the                standard is a flexible one.
      Transactions Act of 2003 (‘‘FACT Act’’                  FACT Act amends FCRA section 615(d)                       The final Rule: (1) Sets forth the
      or ‘‘Act’’) directs the Federal Trade                   to require that the statement mandated                 purpose and scope of the Rule; (2)
      Commission (‘‘FTC’’ or ‘‘Commission’’),                 by section 615(d) ‘‘be presented in such               defines ‘‘simple and easy to
      in consultation with the Federal                        format and in such type size and                       understand’’; (3) requires a notice that
      banking agencies and the National                       manner as to be simple and easy to                     consists of an initial statement that
      Credit Union Administration, to adopt a                 understand, as established by the                      provides basic opt-out information
      rule to improve the required notice to                  Commission, by rule, in consultation                   (‘‘short notice’’), and a separate longer
      consumers regarding their right to opt                  with the Federal banking agencies and                  explanation that offers further
      out of prescreened solicitations for                    the National Credit Union                              information (‘‘long notice’’); (4) adds a
      credit or insurance. This final rule                    Administration.’’                                      definition for ‘‘principal promotional
      implements this requirement.                               On September 27, 2004, the                          document,’’ the document in which the
      EFFECTIVE DATE: This rule is effective on               Commission issued, and sought                          short notice must appear; (5) establishes
      August 1, 2005.                                         comment on, a proposed Rule                            the effective date for the Rule; and (6)
      FOR FURTHER INFORMATION CONTACT:                        implementing the requirements of                       proposes model notices that may be
      Jeanne-Marie Burke or Kellie Cosgrove                   section 213(a) of the FACT Act (‘‘the                  used for compliance.
      Riley, Attorneys, (202) 326–3224,                       proposed Rule’’).2 In response to the                     Therefore, having consulted with the
      Division of Financial Practices, Bureau                 proposed Rule, the Commission                          Office of the Comptroller of the
      of Consumer Protection, Federal Trade                   received approximately 60 comments                     Currency, Board of Governors of the
      Commission, 600 Pennsylvania Avenue,                    from a variety of trade associations,                  Federal Reserve System, Federal Deposit
      NW., Washington, DC 20580.                              creditors, insurers, consumer advocacy                 Insurance Corporation, Office of Thrift
                                                              groups, and individual consumers. After                Supervision, and National Credit Union
      SUPPLEMENTARY INFORMATION:
                                                              carefully considering the comments                     Administration, the FTC issues the
      Statement of Basis and Purpose                          received, the Commission adopts the                    following Rule.
      I. Background                                           proposed Rule with some modifications.
                                                                 The final Rule carries out the                      II. Overview of Comments Received
         Section 615(d) of the Fair Credit                    Commission’s mandate to improve the                       The Commission received
      Reporting Act (‘‘FCRA’’) requires that                  prescreen notice so that it is simple and              approximately 60 comments concerning
      any person who uses a consumer report                   easy to understand. The FACT Act                       the proposed Rule.3 The vast majority of
      in order to make an unsolicited firm                    specifies that ‘‘simple and easy to                    these comments were from industry
      offer of credit or insurance to the                     understand’’ is to be achieved by                      trade organizations 4 and the business
      consumer (‘‘prescreened offer’’ or                      establishing a format, type size, and                  community.5 Individual consumers, five
      ‘‘prescreened solicitation’’), shall                    manner for the presentation of the
      provide with each written solicitation a                notice. These three factors indicate that                3 The public comments relating to this

      clear and conspicuous statement that:                   ‘‘simple and easy to understand’’ is                   rulemaking may be viewed at http://www.ftc.gov/
                                                                                                                     os/comments/prescreenedoptout/index.htm.
      (A) Information contained in the                        meant to include both (1) the content,                 Citations to comments filed in this proceeding are
      consumer’s consumer report was used                     such as language and syntax, of the                    made to the name of the organization (if any) or the
      in connection with the transaction; (B)                 notice so that it effectively conveys the              last name of the commenter, and the comment
      the consumer received the offer of credit               intended message to readers, and (2) the               number of record.
                                                                                                                       4 These included the Consumer Data Industry
      or insurance because the consumer                       presentation and format of the notice
                                                                                                                     Association (‘‘CDIA’’) (the trade association that
      satisfied the criteria for credit                       such that it calls attention to the notice             represents the nationwide consumer reporting
      worthiness or insurability under which                  and enhances its understandability.                    agencies and a variety of other consumer reporting
      the consumer was selected for the offer;                Thus, the final Rule establishes certain               agencies), America’s Community Bankers,
      (C) if applicable, the credit or insurance              baseline requirements for these two                    American Bankers Association, American Council
                                                                                                                     of Life Insurers, American Financial Services
      may not be extended if, after the                       components to ensure that the notices                  Association, the Coalition to Implement the FACT
      consumer responds to the offer, the                                                                            Act (representing trade associations and companies
      consumer does not meet the criteria                       1 Section 604(e) of the FCRA requires that any       that furnish, use, collect, and disclose consumer
      used to select the consumer for the offer               consumer reporting agency that provides                information), Consumer Bankers Association, Credit
                                                              prescreened lists to marketers shall maintain a        Union National Association, Florida Association of
      or any applicable criteria bearing on                   notification system through which consumers may        Mortgage Brokers, Independent Community
      credit worthiness or insurability or does               choose to have their names and addresses excluded      Bankers of America, Michigan Credit Union League,
      not furnish any required collateral; (D)                from such lists. That section also requires that       Mortgage Bankers Association, National Association
      the consumer has a right to prohibit                    consumer reporting agencies that compile and           of Federal Credit Unions, National Independent
                                                              maintain files on consumers on a nationwide basis      Automobile Dealers Association, National Retail
      information contained in the                            establish a joint notification system. The             Federation, Pennsylvania Credit Union Association,
      consumer’s file with any consumer                       nationwide consumer reporting agencies have done       and Property Casualty Insurers Association of
      reporting agency from being used in                     so, and the current telephone number for the joint     America.
      connection with any credit or insurance                 notification system is 1–888–5–OPT–OUT (1–888–           5 These included financial institutions, such as
                                                              567–8688).                                             Bank of America Corporation, Countrywide Home
      transaction that is not initiated by the                  2 The notice of proposed rulemaking and              Loans, MasterCard International Incorporated,
      consumer; and (E) the consumer may                      proposed Rule were published in the Federal            MBNA America Bank, N.A., Navy Federal Credit
      exercise the right referred to in                       Register on October 1, 2004. 69 FR 58861.              Union, Union Federal Bank, and Visa U.S.A. Inc.;



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      members of Congress,6 and consumer                      smaller 12 than proposed, and whether                  FACT Act. Section 213(a) requires the
      advocacy groups 7 also submitted                        the notice should include additional                   FTC to establish the format, type size,
      comments on the proposed Rule. In                       information, such as the benefits of                   and manner in which the notices to
      addition to considering the comments                    prescreened offers,13 or prohibit any                  consumers regarding the right to opt out
      received, the Commission reviewed and                   additional information from being                      of prescreened solicitations are to be
      considered the Board of Governors of                    included in the notice.14                              presented. The Commission received no
      the Federal Reserve System’s Report to                     In general, commenters also approved                comments regarding this section and it
      the Congress on Further Restrictions on                 of the definition of ‘‘simple and easy to              is adopted as proposed.
      Unsolicited Written Offers of Credit or                 understand,’’ but some expressed                          Proposed section 642.1(b) set forth the
      Insurance (‘‘FRB Prescreen Report’’).8                  concern that the proposed Rule’s list of               scope of the proposed Rule. The Rule
        The Commission received comments                      factors to be considered in determining                applies to any person who uses a
      on nearly all of the provisions contained               whether a notice met this definition                   consumer report on any consumer in
      in the proposed Rule. Most commenters,                  might be considered a ‘‘checklist’’ rather             connection with any credit or insurance
      including consumers, businesses, trade                  than examples.15 In addition,                          transaction that is not initiated by the
      associations, and consumer groups,                      commenters generally agreed that the                   consumer, pursuant to section
      expressed general support for a Rule                    Rule should also include a definition for              604(c)(1)(B) of the FCRA. The
      requiring an improved and more                          ‘‘principal promotional document.’’16                  Commission received no comments
      understandable prescreen notice.                           Although commenters generally                       regarding this section and it is adopted
      However, commenters disagreed on                        supported the proposed Rule’s inclusion                as proposed.
      what manner and format would best                       of model notices,17 some commenters
                                                              suggested changes or additions to the                  B. Section 642.2: Definitions
      accomplish the goals of the FACT Act
      and what information should be                          language of those notices to achieve                   1. ‘‘Simple and Easy to Understand’’
      contained in the notices.                               various goals, including using more                       The proposed Rule contained one
        The majority of industry commenters                   ‘‘neutral’’ language for the short                     definition in section 642.2. ‘‘Simple and
      opposed the layered notice approach,                    notice,18 adding language regarding                    easy to understand’’ was defined to
      asserting that a layered notice exceeds                 collateral requirements,19 and adding                  mean ‘‘plain language designed to be
      the FTC’s statutory authority, would                    language regarding the benefits of                     understood by ordinary consumers.’’
      overshadow other important notices,                     prescreened offers.20                                  Proposed section 642.2 also listed eight
                                                                 All of these comments, as well as                   factors that would be considered in
      and would lead consumers to make
                                                              others, are discussed more fully below.                determining whether a statement is
      uninformed decisions about whether to
      opt out.9 Some industry members, as                     III. Section-By-Section Analysis                       ‘‘simple and easy to understand.’’21
      well as consumer advocacy groups,                                                                                 The Commission received several
                                                              A. Section 642.1: Purpose and Scope                    comments concerning this definition.
      supported the layered notice as an
      appropriate means of effecting the                        Proposed section 642.1(a) set forth the              Some commenters noted that they
      statutory directive of providing a simple               purpose of the proposed Rule, which                    supported the definition, did not
      and easy format for disclosing the                      was to implement section 213(a) of the                 suggest any changes, and encouraged
      required information.10 Commenters                                                                             the Commission to retain it in the final
      also disagreed on whether the type-size
                                                                12 See, e.g., Comment, Commerce Bancshares, Inc.     Rule.22 Other commenters suggested
                                                              #OL–100045; Comment, Mortgage Bankers                  that the Commission eliminate the eight
      requirements should be larger 11 or                     Association #OL–100036; Comment, National
                                                              Independent Automobile Dealers Association #OL–
                                                                                                                     factors from the definition. These
      insurers, such as Progressive; and credit reporting     100021; Comment, Union Federal Bank #OL–               commenters expressed various concerns
      agencies, such as Equifax Information Services LLC,     100044.                                                about the factors, including that they
      Experian Information Solutions, Inc., and                 13 See, e.g., Comment, Discover Bank #OL–
                                                                                                                     unduly complicate an otherwise
      TransUnion LLC.                                         100016; Comment, Financial Services Roundtable         uncomplicated definition and could be
        6 Congressman Spencer Bachus, Chair of the            #EREG–000004; Comment, MBNA America Bank
                                                              #OL–100031.
                                                                                                                     interpreted as a checklist of
      Subcommittee on Financial Institutions and
      Consumer Credit, of the House Financial Services          14 See, e.g., Comment, Connors #OL–100014;           requirements that must each be present
      Committee (R–AL); Congressman Paul Kanjorski            Comment, National Consumers League, et al. #OL–        in order to meet the definition.23
      (D–PA); Congressman John Sweeney (R–NY);                100011; Comment, Privacy Rights Clearinghouse             As the Commission noted in the
      Senator George Allen (R–VA); and Senator Jim            #OL–100015.                                            notice of proposed rulemaking
      Bunning (R–KY).                                           15 See, e.g., Comment, Coalition to Implement the
        7 These included the Consumer Action, National        FACT Act #OL–100042; Comment, Juniper
                                                                                                                     (‘‘NPRM’’) accompanying the proposed
      Consumers League, Consumer Federation of                Financial Corp. #000009; Comment, MasterCard           Rule, the eight factors are intended to
      America, and Privacy Rights Clearinghouse.              International Incorporated #000012.                    provide guidance to companies in
        8 See http://www.federalreserve.gov/boarddocs/          16 See, e.g., Comment, Commerce Bancshares, Inc.

      rptcongress/.                                           #OL–100045; Comment, Credit Union National               21 The eight factors to be considered in
        9 See, e.g., Comment, America’s Community             Association #000003; Comment, Mortgage Bankers         determining whether a statement is ‘‘simple and
      Bankers #OL–100013; Comment, Discover Bank              Association #OL–100036; Comment, National              easy to understand’’ were: (1) Use of clear and
      #OL–100016; Comment, Financial Services                 Association of Federal Credit Unions #OL–100020;       concise sentences, paragraphs, and sections; (2) use
      Roundtable #EREG–000004; Comment, Juniper               Comment, National Consumers League, et al. #OL–        of short explanatory sentences; (3) use of definite,
      Financial Corp., #000009; Comment, MasterCard           100011; Comment, Privacy Rights Clearinghouse          concrete, everyday words; (4) use of active voice;
      International Incorporated #000012; Comment, Visa       #OL–100015.                                            (5) avoidance of multiple negatives; (6) avoidance
                                                                17 See, e.g., Comment, Countrywide #000010;
      U.S.A. Inc. #000005; Comment, Wells Fargo &                                                                    of legal and technical business terminology; (7)
      Company #000007; Comment, Wilmer Cutler                 Comment, Visa U.S.A. Inc. #000005.                     avoidance of explanations that are imprecise and
      Pickering Hale and Dorr LLP #OL–100045.                   18 See, e.g., Comment, Juniper Financial Corp.       reasonably subject to different interpretations; and
        10 See, e.g., Comment, Boeing Employees’ Credit       #000009; Comment, MasterCard International             (8) use of language that is not misleading.
      Union #000020; Comment, Commerce Bancshares,            Incorporated #000012; Comment, Visa U.S.A. Inc.          22 See, e.g., Comment, Discover Bank #OL–

      Inc. #OL–100045; Comment, National Consumers            #000005; Comment, Wells Fargo & Company                100016; Comment, Wells Fargo & Company
      League, et al. #OL–100011; Comment, Pennsylvania        #000007.                                               #000007.
      Credit Union Association #OL–100024; Comment,             19 See, e.g., Comment, Mortgage Bankers                23 See, e.g., Comment, Coalition to Implement the
      Privacy Rights Clearinghouse #OL–100015.                Association #OL–100036.                                FACT Act #OL–100042; Comment, Equifax
        11 See, e.g., Comment, National Consumers               20 See, e.g., Comment, JPMorgan Chase Bank           Information Services LLC #OL–100023; Comment,
      League, et al. #OL–100011; Comment, Privacy             #OL–100019; Comment, Juniper Financial Corp.           Juniper Financial Corp. #000009; Comment,
      Rights Clearinghouse #OL–10015.                         #000009.                                               MasterCard International Incorporated #000012.



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      complying with the Rule, while                           Some commenters suggested specific                    to credit terms would not provide
      allowing them to maintain flexibility to                 definitions for the term, such as the                 guidance to businesses, nor would it
      determine how best to meet the                           document intended to be seen first by                 ensure that those interested in opting
      definition.                                              the consumer, the document that                       out could easily locate the notice.
         The Commission has revised the Rule                   addresses the consumer directly with                     In addition, the Commission has
      to clarify that use of clear and concise                 the offer, the cover letter or other                  considered the concerns expressed by
      sentences, paragraphs, and sections is a                 document used to introduce the offer, or              the commenters regarding the
      mandatory part of the definition, but the                the cover letter or other document that               application of the definition to
      remaining seven factors are simply                       the consumer sees first when opening                  electronic offers. The Commission is in
      examples to be considered in meeting                     the solicitation. At least one commenter              agreement with those commenters who
      the ‘‘simple and easy to understand’’                    asserted that the proper location for the             equated a pop-up promotional screen
      definition. These factors should neither                 disclosure is in the application or the               with an envelope. Therefore, the
      be considered to be mandatory, nor to                    offer of credit.26 Another commenter                  Commission will consider the principal
      constitute an exhaustive list.                           suggested that factors to be considered               promotional document in those
         In addition, the Commission has                       in determining whether a document is                  circumstances to be the page designed
      determined to specify in the final Rule                  the principal promotional document                    to be seen first by the consumer who
      that the layered notice is a required                    should include (1) whether the                        clicks on the pop-up promotional
      component of the ‘‘simple and easy to                    document is the first page of a letter to             screen.
      understand’’ definition. The                             a consumer, or (2) whether the
                                                               document contains the credit terms                    C. Section 642.3: Prescreen Opt-Out
      Commission has determined that the
                                                               being offered.27                                      Notices
      layered format makes the prescreen
      disclosures simpler and easier to                           In addition, some commenters                          The proposed Rule required a
      understand, and it is appropriate that it                expressed concern that the concept of a               ‘‘layered’’ notice—that is, a notice that
      specifically be incorporated into the                    principal promotional document would                  includes both an initial short portion
      definition.24                                            not translate well to an electronic                   and a longer portion contained later in
                                                               prescreened offer. Specifically, these                the solicitation. The short portion of the
      2. ‘‘Principal Promotional Document’’                    commenters were concerned that a pop-                 notice informed consumers about the
         Proposed section 642.3(a)(2) required                 up advertisement that appeared on the                 right to opt out of receiving prescreened
      that the short form of the layered notice                consumer’s computer screen would                      solicitations and specified a toll-free
      be placed on the first page of the                       have to contain the short notice.28 These             number for consumers to call to exercise
      principal promotional document. The                      commenters suggested that pop-up                      that right. No additional information
      Commission noted in the NPRM that the                    advertisements should be considered                   could be included in the short notice.
      question of what constitutes the                         similar to envelopes, and therefore not               The long portion of the notice provided
      ‘‘principal promotional document’’ is                    considered the principal promotional                  consumers with all of the additional
      fact specific, but that, in general, the                 document.                                             information required by section 615(d)
      Commission would consider the cover                         The Commission agrees with the                     of the FCRA. The long notice could
      letter or the document that is designed                  commenters that a definition would                    contain additional information that did
      to be seen first by the consumer to be                   help companies to comply with the Rule                not interfere with, detract from,
      the ‘‘principal promotional document.’’                  and has considered all of the suggested               contradict, or otherwise undermine the
      The proposed Rule did not define                         definitions. The final Rule defines                   purpose of the opt-out notice. The
      ‘‘principal promotional document,’’                      principal promotional document as the                 proposed Rule set forth certain baseline
      however, and the Commission requested                    document that is designed to be seen                  requirements for the type size of the
      comment on whether such a definition                     first by the consumer, such as the cover              notice, as well as the presentation of the
      was necessary.                                           letter. Requiring that the disclosure                 notice.
         The Commission received several                       appear early in the solicitation enhances                Most of the comments the
      comments requesting that the                             the noticeability of the disclosure,                  Commission received focused on
      Commission provide a definition for                      thereby aiding in making the disclosure               various aspects of this section of the
      ‘‘principal promotional document.’’ 25                   simple and easy to understand. The                    proposed Rule. Commenters addressed
                                                               final Rule does not link the definition to            several topics pertaining to this section,
        24 The Commission also notes that, in addition to      the credit terms or the application,                  including the Commission’s statutory
      meeting the ‘‘simple and easy to understand’’            because many different documents                      authority to prescribe a layered notice,
      definition set forth by the Rule, prescreen opt-out      within the solicitation may contain                   the Commission’s statutory authority to
      notices must continue to meet the ‘‘clear and            some or all of the credit terms, and
      conspicuous’’ standard required by the FCRA. One                                                               require the notice to appear in
      recent case from the Court of Appeals for the
                                                               those consumers who are interested in                 electronic solicitations, the content of
      Seventh Circuit noted that, in determining whether       opting out of receiving solicitations for             the notice, the type size of the notice,
      a prescreen notice is ‘‘clear and conspicuous,’’         future offers may not be likely to review             and the format and manner in which the
      factors to be considered are: ‘‘the location of the      the terms and conditions of the offer at
      notice within the document, the type size used                                                                 notice is presented, including within
      within the notice as well as the type size in
                                                               hand. Therefore, linking the definition               electronic solicitations. Each of these is
      comparison to the rest of the document * * *                                                                   addressed in turn below.
      whether the notice is set off in any other way—          Association #OL–100036; Comment, National
      spacing, font style, all capitals, etc.’’ Cole v. U.S.   Association of Federal Credit Unions #OL–100020;      1. Statutory Authority for the Layered
      Capital, Inc., 389 F.3d 719, 731 (7th Cir. 2004). The    Comment, National Consumers League, et al. #OL–
                                                               100011; Comment, Privacy Rights Clearinghouse
                                                                                                                     Notice
      court concluded, ‘‘In short, there must be something
      about the way the notice is presented in the             #OL–100015.                                              Several commenters questioned
      document such that the consumer’s attention will           26 Comment, Michigan Credit Union League #OL–
                                                                                                                     whether the Commission had exceeded
      be drawn to it.’’ Id. Thus, the ‘‘simple and easy to     100030.
      understand’’ standard overlaps to some extent with         27 Comment, Mortgage Bankers Association #OL–
                                                                                                                     its statutory authority by mandating a
      the ‘‘clear and conspicuous’’ standard.                  100036.                                               layered notice.29 Many of these
        25 See, e.g., Comment, Commerce Bancshares, Inc.         28 See, e.g., Comment, Financial Services

      #OL–100045; Comment, Credit Union National               Roundtable #EREG–000004; Comment, GE                    29 See, e.g., Comment, Consumer Bankers

      Association #000003; Comment, Mortgage Bankers           Consumer Finance-Americas #OL–100018.                 Association #OL–100028; Comment, HSBC North



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      commenters stated that the Commission                   requirement. These commenters                            Those consumers interested in the
      was improperly specifying a definition                  criticized the methodology of the survey                 additional information have the
      of the clear and conspicuous standard                   as unrepresentative of consumer                          opportunity to view that information in
      contained in section 615(d) of the                      reactions in a real-world setting.33 The                 another location.37
      FCRA, including imposing a                              Commission recognizes the limitations
                                                                                                                       2. Statutory Authority To Require
      prominence requirement.30 These                         of any survey testing methodology
                                                                                                                       Notice in Electronic Solicitations
      commenters argued that Congress did                     because of the artificial setting of the
      not intend this disclosure to be more                   test environment, but maintains that the                    Several commenters suggested that
      prominent than other disclosures                        study approximated real-world                            the FCRA does not apply to solicitations
      required by law, such as the so-called                  conditions to the extent feasible.34 The                 that are transmitted electronically
      ‘‘Schumer box,’’31 or that any one                      Commission believes that the survey                      because such documents are not
      element of the disclosure be more                       provides probative evidence of the                       ‘‘written,’’ as that term is used in the
      prominent than another. One                             comparative effectiveness of the three                   FCRA.38 The Commission believes that
      commenter opined that the layered                       versions of notices it tested (‘‘current,’’              ‘‘written’’ refers to information that is
      notice was actually two notices and                     ‘‘improved,’’ and ‘‘layered’’).35 The                    capable of being preserved in a tangible
      therefore was contrary to the language                  survey found that the layered notice                     form and read, as opposed to an oral
      in section 615(d) of the FCRA requiring                 better communicated the central                          statement that is intangible and
      ‘‘a clear and conspicuous statement.’’32                messages—consumers’ right to opt out                     transitory. As with information
         The Commission has considered these                  and how to exercise the right—than did                   presented on paper, consumers using
      comments and has decided to retain the                  the current version.36                                   electronic media can read the
      layered notice approach in the final                       A layered notice is particularly useful               information and preserve it for possible
      Rule. The FACT Act requires that the                    in cases such as this, where the                         later review either by printing it on
      notice be ‘‘presented in a format and in                information that must be disclosed                       paper, saving it on disk, or by some
      such type size and manner as to be                      consists of a relatively simple central                  other means. The Commission believes
      simple and easy to understand, as                       proposition accompanied by a larger                      that the purpose of section 213(a) of the
      established by the Commission.’’                        quantity of explanatory or ancillary                     FACT Act was to enhance consumers’
      (Emphasis added). Thus, the plain                       information. The layered approach                        awareness of opt-out rights, under
      language of the statute provides that                   allows for clear communication of the                    section 615(d) of the FCRA, whenever
      ‘‘simple and easy to understand’’                       central message with a clear reference to                they receive a written solicitation in any
      encompasses presentation of the notice.                 the additional required information.                     form, regardless of the means of
      The Commission has concluded that the                                                                            transmission. Therefore, the
      layered notice is an appropriate and                       33 See, e.g., Comment, Wilmer Cutler Pickering
                                                                                                                       Commission has determined that the
      effective means of achieving this goal,                 Hale and Dorr LLP #OL–100046. (For a discussion          Rule should apply to all written
                                                              of the consumer survey, see 69 FR 58861, 58864.)
      and that nothing in the FACT Act or the                    34 The study used standard consumer testing           solicitations, even if they are
      FCRA prohibits the use of a layered                     methodology and consisted of an initial exposure,        transmitted electronically.
      notice approach.                                        in which the test instrument was presented to the
                                                              consumer and then removed from view, and a               3. Content of the Notice
         Under section 615(d) of the FCRA, the
                                                              forced exposure, in which the consumer’s attention
      prescreen disclosure must be clear and                  was focused on specific information in the test
                                                                                                                         Commenters expressed two primary
      conspicuous. Section 213(a) of the                      instrument. See Manoj Hastak, Ph.D., The                 concerns with the content of the short
      FACT Act imposed the additional                         Effectiveness of ‘‘Opt-Out’’ Disclosures in Pre-         portion of the notice: (1) Whether it is
      requirement that the disclosure be                      Screened Credit Card Offers, at 3–4, located at http:/   appropriate to include a statement of the
                                                              /www.ftc.gov/reports/prescreen/
      ‘‘simple and easy to understand.’’                      040927optoutdiscprecreenrpt.pdf. In the view of the
                                                                                                                       opt-out right and the telephone number
      Therefore, the statutory scheme                         Commission’s consumer research expert consultant,        of the opt-out system in the short
      establishes a different standard for the                the initial exposure was designed to simulate            portion of the notice; and (2) whether
      prescreen disclosure than it imposes on                 ‘‘fairly natural viewing conditions.’’ Id. at 4. The     companies should be permitted to
                                                              FRB Prescreen Report indicates that, for most of
      other disclosures that must only be clear               those consumers who actually open and review
                                                                                                                       include additional information, beyond
      and conspicuous. There is no evidence                   prescreened solicitations, this approach may indeed
      in the record that the layered notice                   approximate real-world conditions. In a nationwide          37 The results reported in the FRB Prescreen

      required by this Rule will compromise                   survey of consumers, the FRB found that 56% of           Report indicate that a layered notice may be a very
                                                              consumers throw prescreened solicitations away           effective means to ensure that consumers who open
      the communication of other required                     without opening them, 34% merely ‘‘glance’’ at           prescreened solicitations will see the prescreen
      disclosures in prescreened solicitations.               them, and the remaining 10% read them closely.           disclosure. As noted, supra note 34, the FRB
         Some commenters stated that, even if                 See FRB Prescreen Report at 32. The initial              Prescreen Report found that 56% of consumers
      the Commission has authority to require                 exposure may have simulated the experience of            throw prescreened solicitations away without
                                                              consumers who glance at prescreened solicitations        opening them, 10% of consumers open the
      a layered notice, it was improper for the               but do not examine them closely, that is, the            solicitations and examine them, and the remainder
      Commission to rely upon the consumer                    experience of most consumers who actually open           (34%) open the solicitations and ‘‘glance’’ at them.
      survey that the Commission undertook                    prescreened solicitations.                               Id. Those consumers who immediately throw the
      as part of developing the proposed Rule                    35 The Commission has long recognized that            solicitation away are not likely to see the notice
      as support for the layered notice                       methodological perfection is not required before a       wherever it is located; those who examine the
                                                              consumer survey can be probative and reliable;           solicitation closely might see any disclosure, even
                                                              rather, imperfections in methodology affect the          one on the back of the page or in fine print; but
      American Holdings #000004; Comment, Juniper             weight that is given to the survey. See, e.g., In re     those consumers who ‘‘glance’’ at the solicitation
      Financial Corp. #000009; Comment, MasterCard            Stouffer Foods Corp., 118 F.T.C. 746, 799 (1994); In     may be more likely to see a prescreen disclosure
      International #000012; Comment, Visa U.S.A. Inc.        re Bristol-Meyers Co., 85 F.T.C. 688, 743–44 (1975).     located on the first page of the principal
      #000005; Comment, Wachovia Corporation #OL–                36 See 69 FR 58861, 58864. In addition, although      promotional document that is printed in a
      100017.                                                 there was not a statistical difference between the       noticeable type size and set apart from other text
        30 See, e.g., Comment, Juniper Financial Corp.
                                                              improved and layered versions in the                     on the page. Thus, a layered notice seems more
      #000009; Comment, MasterCard International              communication of the opt-out right, the layered          likely to be seen by the majority of consumers who
      #000012; Comment, Wachovia Corporation #OL–             version was more effective in the initial ‘‘natural’’    open prescreened solicitations.
      100017.                                                 exposure (as compared to the second ‘‘forced’’              38 See, e.g., Comment, American Financial
        31 See 12 CFR 226.5a.
                                                              exposure) at communicating how to exercise that          Services Association #OL–100038; Comment,
        32 Comment, Visa U.S.A. Inc. #000005.                 right.                                                   Discover Bank #OL–100016.



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      that mandated by the statute, in any part               and indicates Congress’ interest in                      exercise it. The proposed Rule
      of the layered notice.                                  highlighting the opt-out right.43                        contained no such restriction on the
         Inclusion of opt-out right and                          The FRB Prescreen Report seems to                     content of the long portion of the notice,
      telephone number in the short notice.                   confirm Congress’ concern that the                       so long as any additional content did
                                                              existing notice under FCRA section                       not interfere with, detract from,
         Several commenters suggested that it                 615(d) has not been especially effective                 contradict, or otherwise undermine the
      was improper for the Commission in the                  at communicating to consumers that                       purpose of the notice.
      proposed Rule to require presentation of                they have a right to opt out of                             Some commenters supported the
      the opt-out right and the telephone                     prescreened solicitations. The FRB                       proposed Rule’s prohibition on
      number to opt out for placement in the                  conducted a nationwide survey of                         additional information being included
      short portion of the notice, while                      consumers and found that only 20% of                     in the short notice, and encouraged the
      relegating other statutorily-required                   consumers were aware of the opt-out                      Commission to prohibit additional
      information to the long portion of the                  right, and that less than half of those                  information in the long notice as well.
      notice.39 Some of these commenters                      had learned of it through the section                    These commenters argued that allowing
      stated that the Commission did not have                 615(d) notice.44 The Report cites the                    additional information in the notices
      the authority to make certain elements                  pending ‘‘review of the presentation and                 would be contrary to the Commission’s
      of the disclosure (in particular, the                   the placement of the notice in written                   statutory mandate, confuse consumers,
      telephone number) more prominent                        prescreened solicitations’ mandated by                   and allow marketers to discourage
      than others by placing them in the short                the FACT Act (that is, the Commission’s                  consumers from opting out.45 Other
      portion of the notice. Some were                        rulemaking proceeding), as one basis for                 commenters, however, advocated
      concerned that consumers would not                      its recommendation that further                          allowing additional information, such as
      read the long portion of the notice if                  legislative changes are not necessary at                 the benefits of prescreened offers and
      they could obtain all of the information                this time.                                               the consequences of opting out, in both
      necessary to opt out from the short                        The Commission has concluded that                     the short and long notices in order to
      portion, which might lead them to make                  the statute’s purpose is best                            provide consumers with sufficient
      decisions about opting out without the                  accomplished by requiring that the short                 information to make an informed
      benefit of all pertinent information.40                 notice include the essential information                 decision about whether to opt out.46
      Other commenters expressed concern                      that consumers need if they choose to                    Some of these commenters cited to an
      that consumers may mistakenly assume                    opt out. Those consumers who are                         exchange between Representatives
      they can use the opt-out telephone                      seeking more information about                           Bachus and Kanjorski during the House
      number to reply to the offer itself,                    prescreened offers and their options are                 of Representatives’ consideration of the
      leading to frustration and confusion.41                 invited by the short notice to obtain                    bill, in which the Congressmen stated
                                                              further information from the long                        that consumers should be aware ‘‘not
         As stated above, Congress has                        notice.                                                  only of the right to opt out of receiving
      directed the Commission to prescribe                       Finally, the Commission is not                        prescreened solicitations, but also of the
      the presentation of the notice, including               persuaded that consumers will be                         benefits and consequences of opting
      its manner and format. In exercising that               confused about the purpose of the                        out.’’47 Representatives Bachus and
      authority, the Commission has                           telephone number, given that the short                   Kanjorski submitted a comment to the
      determined to include the opt-out right                 notice will explicitly state that the                    Commission expressing the importance
      and telephone number in the short                       number is to be used for opting out of                   of consumer awareness of the benefits
      notice in the final Rule.42 Nothing in the              future prescreened offers.                               and consequences of opting out.
      statute prohibits the Commission from                      Additional information in the notices.                   The Commission recognizes that
      exercising its authority in this manner,                   The proposed Rule prohibited senders                  prescreened offers may confer many
      and, in fact, the only legislative history              of prescreened solicitations from                        benefits on consumers. As discussed in
      specifically discussing the content of                  including information in the short                       several of the comments, such offers
      the required notice supports this result                portion of the notice other than that                    may be an easy and efficient means for
                                                              specified by the Rule—that is,                           consumers to learn of competing credit
         39 See, e.g., Comment, Coalition to Implement the    consumers’ right to opt out and how to                   or insurance offers and to identify those
      FACT Act #OL–100040; Comment, Direct Marketing                                                                   that best suit their needs. The
      Association #OL–100035; Comment, TransUnion                43 For example, FACTA section 213(a), amending
      LLC #000022; Comment, Wachovia Corporation
                                                                                                                       Commission also acknowledges, as
                                                              FCRA section 615(d)(2), is entitled, ‘‘Enhanced
      #OL–100017.                                             Disclosure of the Means Available to Opt Out of
                                                                                                                       stated in certain of the comments, that
         40 See, e.g., Comment, American Bankers
                                                              Prescreened Lists.’’ Although the title of a statutory   the growth in prescreened offers has
      Association #OL–100040; Comment, Capital One            section cannot limit that section, it may assist in      coincided with a general trend towards
      Financial Corporation #OL–100033.                       explaining what was intended by that section. See        lower initial interest rates and certain
         41 See, e.g., Comment, American Financial            also, e.g., 149 Cong. Rec. S13851–52 (daily ed. Nov.
      Services Association #OL–100038; Comment,               4, 2003) (statement of Sen. Sarbanes) (noting that
                                                                                                                       other more favorable terms, and that a
      Capital One Financial Corporation #OL–100033.           the amendments to the FCRA ‘‘will require a              substantial percentage of credit card
         42 Although the FCRA specifically mentions both      summary of consumers’’ rights to opt out of              enrollments result from prescreened
      the address and telephone number for the                prescreened offers.’’); 149 Cong. Rec. S13855 (daily     offers. Moreover, the Commission
      notification system, the Commission has                 ed. Nov. 4, 2003) (statement of Sen. Johnson)
                                                              (noting that the amendments to the FCRA ‘‘take[]
                                                                                                                       recognizes that if prescreened offers
      determined that it is appropriate to require only the
      telephone number in the short notice because: (1)       important new steps to empower consumers to
                                                                                                                         45 See, e.g., Comment, Connors #OL–100014;
      the Commission understands that space is at a           reduce unwanted credit solicitations.’’); 149 Cong.
      premium in prescreened solicitations, particularly      Rec. S15806–07 (daily ed. Nov. 24, 2003) (statement      Comment, National Consumers League, et al. #OL–
      on the first page of the principal promotional          of Sen. Sarbanes) (noting that the amendments to         100011; Comment, Privacy Rights Clearinghouse
      document, and therefore does not want to require        the FCRA will ‘‘help ensure that consumers are           #OL100015.
      more information than necessary in the short            aware of how to opt out of the prescreening process        46 See, e.g., Comment, CDIA #OL–100026;

      notice; and (2) the communication of the central        * * *. The FTC * * * will be required to write           Comment, Direct Marketing Association #OL–
      message is likely to be more effective with less        rules on the size and prominence of the disclosure       100035; Comment, Wilmer Cutler Pickering Hale
      verbiage in the short notice. The telephone number      of the opt-out telephone number that is included         and Dorr LLP #OL–100046.
      requires less space and less verbiage than the          with offers of credit to consumers.’’)                     47 Congressional Record, November 21, 2003,

      address.                                                   44 FRB Prescreen Report at 32.                        page H12219. See also infra note 51.



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      became less viable, marketers may                       the benefits and consequences of opting                to render the notice simple and easy to
      switch to direct mail solicitations,                    out.51                                                 understand. It is important that the
      which may be more costly and carry less                                                                        notices be large enough to be noticed
                                                              4. Type Size of the Notice
      favorable terms.48 At the same time, the                                                                       and readable by ordinary consumers. At
      Commission notes the concerns raised                       The proposed Rule required the short                the same time, the Commission
      by certain commenters about the alleged                 portion of the notice to be in a type size             understands that space is at a premium
      costs of prescreening, such as the                      that is larger than the principal text on              in prescreened solicitations. Requiring
      privacy implications for those                          the same page, but in no event smaller                 the short portion of the notice to be in
      consumers who do not wish to have                       than 12-point type, and the long portion               a type size that is larger than the
      their personal financial information                    of the notice to be in a type size that is             principal text on the same page,
      shared or used to make unsolicited                      no smaller than the type size of the                   combined with a minimum 12-point
      credit and insurance offers.49                          principal text on the same page, but in                type-size requirement, is sufficient to
         Regardless of the costs and benefits of              no event smaller than 8-point type.                    ensure that it is noticeable and readable
      prescreening, the FCRA provides that                       Some commenters asserted that the                   without imposing unnecessary expense
      consumers may opt out of prescreened                    type size prescribed for the short notice              on marketers.
      offers, and simply directs the                          was adequate, but that the type size for
                                                                                                                        The long notice, which contains
      Commission to determine how best to                     the long notice was too small.52 Others
                                                                                                                     additional information, presents a
      inform consumers of this right and how                  found the type size required for the long
                                                                                                                     somewhat different calculus. Consumers
      to exercise it. Moreover, the FCRA does                 notice to be appropriate, but opined that
                                                                                                                     who see the short notice and are
      not require that marketers notify                       the type size for the short notice was too
                                                                                                                     interested in learning further
      consumers of the consequences of                        large.53 Still others proposed that the
                                                                                                                     information are directed by the short
      opting out, nor does it direct the                      Commission adopt the approach used in
                                                              the commentary to the Truth in Lending                 notice to the long notice. Accordingly,
      Commission to require such a                                                                                   the Commission believes that the long
      disclosure. The final Rule, therefore,                  Act’s implementing Regulation Z, which
                                                              deems disclosures in 12-point type to be               notice should be in a type size that is
      requires only the statutorily-mandated                                                                         sufficiently large to be readable, but that
      messages, but permits additional                        readily noticeable, but permits smaller
                                                              type size to be used.54 A few                          there is less need for the long notice to
      information where appropriate.                                                                                 be readily noticeable. Balancing these
         The Commission has concluded that                    commenters suggested that the
                                                              Commission not impose a type-size                      interests, the Commission concludes
      permitting additional information in the                                                                       that the long notice should be no
      short notice could significantly                        requirement at all,55 or that the
                                                              requirement only be relative to                        smaller than 8-point type and no
      diminish the communication of the                                                                              smaller than the principal text on the
      statutorily-mandated message.50 The                     surrounding text rather than specifying
                                                              an absolute size.56                                    same page.
      final Rule, like the proposed Rule, does
                                                                 The Commission has considered these                    Some commenters also expressed
      allow additional information, including
                                                              comments, but has determined not to                    concerns about complying with the
      information about the benefits of
                                                              change the type-size requirements for                  type-size requirements in electronic
      prescreening, in the long notice, if that
                                                              written prescreened solicitations. The                 solicitations. Several commenters
      information does not interfere with,
                                                              FACT Act directs the Commission to                     pointed out that because the settings of
      detract from, contradict, or undermine
                                                              prescribe a rule that establishes, among               the computer on which a solicitation is
      the purpose of the prescreen notices.
                                                              other things, a type size that is sufficient           viewed can alter a solicitation’s format,
      The Commission believes this approach
                                                                                                                     meeting a specific minimum point
      allows marketers to provide consumers
                                                                51 The colloquy between Representatives Bachus       requirement would be burdensome.57
      with information that may be useful to
      them in making their decisions, while at
                                                              and Kanjorski cited by some commenters refers to       These commenters suggested that the
                                                              this public awareness campaign as a vehicle for        Commission instead impose a standard
      the same time not interfering with the                  informing consumers of the benefits and
      statutory mandate to make the notices                   consequences of opting out. See 149 Cong. Rec.         of relative prominence for electronic
      simple and easy to understand. The                      H12,218–19 (daily ed. Nov. 21, 2003) (‘‘Mr.            solicitations, which would require, for
      Commission also notes that marketers
                                                              KANJORSKI. Mr. Speaker, does the gentleman share       example, that the short notice be larger
                                                              with me the understanding that the FTC’s public        than the principal text.58 The
      are free to include information about                   awareness campaign is to be designed to increase
      prescreening elsewhere in their                         public awareness, not only of the right to opt out     Commission agrees that, for electronic
      solicitations. Finally, section 213(d) of               of receiving prescreened solicitations, but also of    solicitations, a standard of relative
      the FACT Act requires the Commission
                                                              the benefits and consequences of opting out? Mr.       prominence is an appropriate means by
                                                              BACHUS. Mr. Speaker, yes, I share that                 which to accommodate the vast range of
      to undertake a public awareness                         understanding.’’).
      campaign to alert consumers to the                        52 See, e.g., Comment, National Consumers            electronic devices that may be used to
      availability of the opt-out right. The                  League, et al. #OL–100011. See also Comment,           view the offer. Thus, the final Rule
      Commission intends to use this
                                                              Privacy Rights Clearinghouse #OL–100015                provides that, for electronic
                                                              (commenting that the long notice type size             solicitations, marketers must take
      campaign to educate consumers about                     requirement was too small).
                                                                53 See, e.g., Comment, Boeing Employees’ Credit
                                                                                                                     reasonable steps to ensure that the short
         48 See also FRB Prescreen Report at 28–36            Union #000020; Comment, Michigan Credit Union          notice is in a type size that is larger than
      (discussing the benefits of receiving prescreened       League #OL–100030; Comment, Mortgage Bankers           the principal text on the same page. The
      offers).                                                Association #OL–100036; Comment, National              long notice must be in a type size no
         49 See also FRB Prescreen Report at 37–46            Independent Automobile Dealers Association #OL–        smaller than the principal text on the
      (discussing the costs of receiving prescreened          100021; Comment, Union Federal Bank #OL–
                                                              100044.                                                same page.
      offers).
         50 See, e.g., Funkhouser, An Empirical Study of        54 See, e.g., Comment, Credit Union National

      Consumers’ Sensitivity to the Wording of                Association #000003; Comment, Navy Federal               57 See, e.g., Comment, Credit Union National

      Affirmative Disclosure Messages, 3 J. Pub. Pol. &       Credit Union #000006.                                  Association #000003; Comment, Countrywide
                                                                55 See, e.g., Comment, Coalition to Implement the    #000010; Comment, Progressive #OL–100010.
      Mktg. at 31, 33 (finding that ‘‘information must be
      presented simply and straightforwardly,’’ and           FACT Act #OL–100042; Comment, Consumer                   58 See, e.g., Comment, Countrywide #000010;

      ‘‘affirmative disclosures should say exactly what       Bankers Association #OL–100028; Comment,               Comment, National Independent Automobile
      they are intended to mean.’’) (Emphasis in the          TransUnion LLC #000022.                                Dealers Association #OL–100021; Comment,
      original).                                                56 See, e.g., Comment, Countrywide #000010.          Progressive #OL–100010.



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      5. Form of the Notice                                   format in that circumstance.61 Others                  final Rule requires that, for electronic
                                                              requested that the Commission clarify                  solicitations, the short notice be
         The proposed Rule set forth certain
                                                              that the short and long portions of the                included on the same page and in close
      baseline requirements for the form of
                                                              notice could both appear on the first                  proximity to the principal marketing
      both the long and the short portions of
                                                              page of the principal promotional                      message. This standard ensures that
      the notice. The proposed Rule required
                                                              document.62 Others stated that, because                consumers viewing the solicitation will
      the short notice to be on the front side
                                                              prescreened offers of insurance usually                be reasonably likely to see the short
      of the first page of the principal
                                                              consist of a single page or a fold-out self            notice.
      promotional document in the                                                                                       Distinct type style requirement.
                                                              mailer, the final Rule should not apply
      solicitation, or, if provided                           to prescreened offers of insurance.63                     Some commenters requested that the
      electronically, on the first screen;                       Section 615(d) of the FCRA clearly                  Commission modify the proposed Rule
      located on the page and in a format so                  covers prescreened offers of insurance,                to clarify that the type style of the notice
      that it is distinct from other text; and in             and the Commission declines to                         must contrast only with the principal
      a type style that is distinct from other                establish an exemption for such offers                 type style used on the same page, rather
      type styles used on the same page. The                  from the final Rule. The Commission                    than with all type styles on the page.68
      proposed Rule required the long notice                  also declines to provide an exception                  The Commission agrees that this
      to begin with a heading identifying it as               from the layered notice requirement for                clarification should be made.
      the ‘‘OPT-OUT NOTICE’’; be in a type                    one-page solicitations. Even in a one-                 Companies should not be precluded, for
      style that is distinct from other type                  page solicitation, the layered format                  example, from presenting the notices in
      styles used on the same page; and be set                contributes to making the notice simple                bolded type style simply because a
      apart from other text on the page. The                  and easy to understand. The                            small portion of the text on the page is
      Commission received several comments                    Commission agrees that both the short                  in bold.69 Therefore, the final Rule
      concerning these requirements                           and long portions of the notice may                    specifies that both the short and long
      generally, as well as specific comments                 appear on the first page of the principal              portions of the notice must be in a type
      regarding the required location, type                   promotional document. As in the                        style that is distinct from the type style
      style, and heading requirements. These                  proposed Rule, the final Rule allows                   of the principal text on the same page.
      are addressed in turn below.                            businesses to place the long notice in                    Long notice heading.
         General comments.                                    any location within the solicitation so                   The proposed Rule required that the
         Some commenters asserted that the                    long as that location is referenced in the             long portion of the notice include the
      requirements regarding form did not                     short notice.                                          heading ‘‘OPT-OUT NOTICE.’’ Some
      provide companies with enough                              Location of notices in electronic                   commenters suggested that this heading
      flexibility to determine the best method                solicitations.                                         should reflect the totality of information
      for making the notices clear and                           Because the settings of the device on               in the long notice, rather than focusing
      conspicuous, as well as simple and easy                 which an electronic solicitation is                    on the opt-out information in the
      to understand.59 Conversely, other                      viewed can alter a solicitation’s format,              notice.70 These commenters suggested a
      commenters were concerned that the                      some commenters objected to the                        variety of new headings, such as
      requirements were not specific enough                   requirement that the short-form notice                 ‘‘PRESCREEN DISCLOSURES.’’
      to ensure that the notices would meet                   appear on the first screen of an                          The Commission has considered these
      the statutory standards.60 These                        electronic solicitation.64 Some                        comments and agrees that the long
      commenters suggested, for example, that                 commenters proposed that the short                     notice heading should be modified to
      the Rule require businesses to use                      portion of the notice simply be required               reflect the totality of the information
      bolded type style, rather than allowing                 to appear on the first page of an                      contained in that portion of the notice.
      them the flexibility to determine how to                electronic solicitation,65 or ‘‘reasonably             Therefore, the final Rule requires that
      comply with the distinct type style                     proximate to, or included in, the main                 the long notice begin with a heading
      requirement.                                            marketing message,’’ 66 in order to                    identifying it as the ‘‘PRESCREEN &
         The Commission has considered these                  accommodate variations among viewing                   OPT-OUT NOTICE.’’
      comments and declines to alter the                      devices. By contrast, other commenters                 D. Section 682.4: Effective Date
      baseline requirements in the final Rule.                supported requiring the short notice to
                                                                                                                       The Commission initially proposed to
      The requirements are not overly                         appear on the first screen of the offer.67
                                                                 The Commission has determined that,                 make the Prescreen Opt-Out Disclosure
      restrictive and allow companies                                                                                Rule effective 60 days after publication
      flexibility to determine how best to use                for the reasons stated in the comments,
                                                              it is not practicable to require that the              of the final Rule. Many industry
      the basic formatting tools set forth in the                                                                    commenters requested a longer effective
      Rule to make a statement noticeable and                 short portion of the notice always
                                                              appear on the first page or first screen               date in order to allow covered entities
      understandable. At the same time, the                                                                          to implement changes to their
      requirements provide sufficient                         of electronic solicitations. Thus, the
                                                                                                                     prescreened solicitations. These
      specificity to ensure that the notices are                                                                     commenters explained that prescreened
                                                                61 See, e.g., Comment, Coalition to Implement the
      simple and easy to understand.                                                                                 solicitations are generally prepared
                                                              FACT Act #OL–100042.
         Location of notices in one-page                        62 See, e.g., Comment, National Independent          several months in advance, and
      solicitations.                                          Automobile Dealers Association #OL–100021.
         Several commenters noted that certain                  63 See, e.g., Comment, American Council of Life        68 See, e.g., Comment, MasterCard International

      prescreened solicitations may consist of                Insurers #OL–100027.                                   Incorporated #0000012.
                                                                64 See, e.g., Comment, Credit Union National
      only a single page, and recommended                                                                              69 For example, 12 CFR part 226, appendix G,
                                                              Association #000003.                                   requires that the headings in certain Truth-in-
      that the final Rule not require a layered                 65 See, e.g., Comment, Credit Union National
                                                                                                                     Lending disclosures be in bolded type style. This
                                                              Association #000003.                                   would not preclude companies from also placing
        59 See, e.g., Comment, Property Casualty Insurers       66 See, e.g., Comment, Wachovia Corporation          the prescreen disclosure in bolded type style.
      Association of America #000008.                         #OL–100017.                                              70 See, e.g., Comment, Consumer Bankers
        60 See, e.g., Comment, National Consumers               67 See, e.g., Comment, Financial Services            Association #OL–100028; Comment, Juniper
      League, et al. #OL–100011; Comment, Privacy             Roundtable #EREG–000004; Comment, MasterCard           Financial Corp. #000009; Comment, MasterCard
      Rights Clearinghouse #OL–100015.                        International Incorporated #0000012.                   International Incorporated #100012.



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      therefore they need more time to                        commenters, this language implies that                   each of these messages can be useful to
      comply with the final Rule in order to                  prescreened offers are undesirable and                   consumers, and notes that it tested the
      exhaust existing inventories of                         encourages consumers to opt-out.73                       communication of each of these
      solicitations and to prepare and                        These commenters requested that the                      messages as part of its consumer
      disseminate new compliant                               Commission revise the model short                        survey.76
      solicitations.71 These commenters                       notice to use less negative language.                       The Commission has considered these
      suggested time periods ranging from 90                     The Commission has determined to                      comments, but has determined not to
      days to 1 year after publication of the                 revise the short notice language to                      include information beyond that
      final Rule. After considering the                       remove any possible negative                             required by the statute in the model
      comments, the Commission has                            characterization of prescreened                          notice. The model notice contains plain
      extended the effective date to August 1,                solicitations. The first sentence of the                 language statements of the statutorily-
      2005. The Commission believes that this                 short notice in the final Rule states,                   required information. Rather than single
      time period will provide businesses                     ‘‘You can choose to stop receiving                       out other particular messages for
      with sufficient time to implement the                   ‘prescreened’ offers of [credit or                       inclusion in the model, and thereby
      new requirements, while ensuring that                   insurance] from this and other                           imply that certain information is
      the benefits to consumers of the                        companies by calling toll-free [toll-free                required or that other information is
      improved opt-out notice occur as soon                   number].’’ The Commission believes                       prohibited, the final Rule allows
      as reasonably practicable.                              that this language does not imply a                      companies flexibility to determine what,
                                                              recommendation of any course of                          if any, additional information should be
      E. Appendix A to Part 698: Model                                                                                 included (so long as the additional
                                                              action, but rather simply informs
      Prescreen Opt-Out Notices                                                                                        information does not interfere with,
                                                              consumers of their statutory right.
         In the proposed Rule, the Commission                    In addition, for the same reasons that                detract from, contradict, or undermine
      set forth model notices, including both                 commenters suggested that the long                       the purpose of the opt-out notices).77
      a short and long portion, in both English               notice heading should be modified, the                   3. Collateral Requirement
      and Spanish. These notices included                     Commission has determined that the
      model language and also illustrated                                                                                 The proposed Rule’s model long
                                                              model short notice’s reference to the
      proper placement and display of the                                                                              notice contained a plain-language
                                                              long notice should be modified to reflect
      language.                                                                                                        summary of the information required by
                                                              to totality of the information in the long
         Several commenters suggested                                                                                  section 615(d) of the FCRA to be
                                                              notice. Therefore, the second sentence
      changes to the language in the model                                                                             included in prescreened offers. At least
                                                              of the model short notice in the final
      notices, including specifying more                                                                               one commenter noted that, among other
                                                              Rule states, ‘‘See PRESCREEN & OPT-
      ‘‘neutral’’ language for the short notice,                                                                       things, it must be disclosed when a
                                                              OUT NOTICE on other side [or other                       prescreened offer is contingent upon the
      adding information to the long notice,                  location] for more information about                     consumer providing adequate collateral.
      providing model language for collateral                 prescreened offers.’’                                    This commenter stated that the model
      requirements, and clarifying that the
                                                              2. Additional Information in Long                        notice did not specifically include this
      telephone number is for the consumer
                                                              Notices                                                  information, and requested that the
      reporting agencies, not the prescreen
                                                                                                                       Commission revise the model notices to
      marketer. The Commission agrees that                       Several commenters suggested that
                                                                                                                       include it.78
      some changes to the proposed model                      the model long notice should contain                        The Commission has considered this
      notices are appropriate, and is making                  additional information, including                        argument and agrees that the model long
      the modifications described below.                      information about the benefits and                       notice should contain additional
      Otherwise, the proposed notices are                     drawbacks of prescreening,74 that opting                 language regarding the collateral
      retained.                                               out will not stop all offers of credit and               requirement for use by creditors and
         These model notices adopted in the                   insurance, or that consumers may be                      insurers in appropriate circumstances.
      final Rule may be used for purposes of                  asked to provide their Social Security                   Therefore, the final Rule modifies the
      complying with the Rule.72                              numbers when exercising the opt-out                      second sentence of the model long
                                                              right.75 The Commission believes that                    notice to state, ‘‘This offer is not
      1. Model Language in the Short Notice
                                                                                                                       guaranteed if you do not meet our
        The proposed Rule’s model short                          73 See, e.g., Comment, Direct Marketing
                                                                                                                       criteria [including providing acceptable
      notice stated, ‘‘To stop receiving                      Association #OL–100035; Comment, Discover Bank
                                                              #OL–100016; Comment, Juniper Financial Corp.             property as collateral].’’
      ‘prescreened’ offers of [credit or                      #000009; Comment, MasterCard International
      insurance] from this and other                          Incorporated #000012; Comment, Visa U.S.A. Inc.          4. Telephone Number
      companies, call toll-free, [toll free                   #000005; Comment, Wells Fargo & Company                     Some commenters recommended that
      number]. See OPT-OUT NOTICE on                          #000007.
                                                                 74 See supra text accompanying notes 48 and 49
                                                                                                                       the Commission make clear in the
      other side [or other location] for
                                                              discussing the benefits and drawbacks of
      details.’’ According to several                         prescreening that were raised by the commenters.         the need to provide a Social Security number in the
                                                                 75 See, e.g., Comment, Coalition to Implement the     notice might alleviate consumers’ concerns about
        71 See, e.g., Comment, American Council of Life
                                                              FACT Act #OL–100042; Comment, Consumer                   revealing this sensitive information.
                                                                                                                          76 The survey found that the tested language used
      Insurers #OL–100027; Comment, Boeing                    Bankers Association #OL–100028; Comment,
      Employees’ Federal Credit Union #000020;                Wachovia Corporation #OL–100017. The potential           to convey these ancillary messages did not
      Comment, Wachovia Corporation #OL–100017;               benefits of prescreening were described above in         communicate well to consumers; at the same time,
      Comment, Wells Fargo & Company #000007.                 Section III.C.3. In addition, as discussed in the        it does not appear that the tested language, at least
        72 Some commenters suggested that the final Rule      NPRM, not all credit card or insurance offers            under the conditions of the study, detracted from
      require marketers to use notices that substantially     consumers receive are prescreened offers. For            the primary message that consumers could choose
      conform with the model notices. See, e.g.,              example, some such offers are mass-mailed to             to opt out. See 69 FR 58861, 58864.
                                                                                                                          77 The Commission also notes that appropriate
      Comment, National Consumers League, et al. #OL–         consumers and do not derive from prescreened
      100011. However, the Commission believes that           lists. Therefore, opting out of precreened offers will   additional information might be a website address
      there are sufficient requirements in the Rule to        not end all mail solicitations. Finally, as explained    where consumers can obtain additional information
      make the notices effective, and therefore it is not     in the NPRM, the opt-out system operated by the          about prescreening and the opt-out right.
      necessary to require that marketers’ notices            nationwide consumer reporting agencies requires a           78 See, e.g., Comment, Mortgage Bankers

      substantially conform with the model notices.           Social Security number for verification; including       Association #OL–100036.



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      model notice that consumers would be                    estimated total annual cost would be                      feasible to design a solicitation
      calling the consumer reporting agencies                 between $110,000 and $167,000.80                          according to its original estimates.
      that operate the toll-free number for                   Numerous commenters stated that the                       Nevertheless, in order to permit
      opting out, and not the creditor or                     NPRM underestimated the costs of                          companies to implement such changes
      insurer, when exercising their opt-out                  revising solicitations by failing to                      in a more cost-effective manner, the
      right.79                                                calculate the additional costs to be                      Commission has extended the time to
         The Commission has considered these                  borne by larger companies that issue                      comply with the rule to August 1, 2005.
      comments and agrees that language                       multiple solicitations.81
      should be added to the model long                          At the outset, the Commission notes                    V. Final Regulatory Flexibility Analysis
      notice to clarify that the telephone                    that any new disclosure format, as                           The Regulatory Flexibility Act
      number is that of the consumer                          required by the FACT Act’s mandate to                     (‘‘RFA’’), 5 U.S.C. 601–612, requires that
      reporting agencies, not the creditor or                 improve the existing opt-out disclosure,                  the Commission provide an Initial
      insurer. Therefore, the final Rule                      requires affected firms to revise their                   Regulatory Flexibility Analysis
      modifies the third sentence of the model                prescreened solicitations. Moreover, the                  (‘‘IRFA’’) with a proposed Rule and a
      long notice to state, ‘‘If you do not want              Commission does not believe that the                      Final Regulatory Flexibility Analysis
      to receive prescreened offers of [credit                layered notice format of the final Rule                   (‘‘FRFA’’), with the final Rule, unless
      or insurance] from this and other                       appreciably increases the burdens on                      the Commission certifies that the Rule
      companies, call the consumer reporting                  affected entities. Nevertheless, the                      will not have a significant economic
      agencies [or name of consumer reporting                 Commission recognizes that companies                      impact on a substantial number of small
      agency] toll free, [toll free number]; or               that offer multiple solicitations will                    business entities.
      write: [consumer reporting agency name                  incur added costs to revise these
                                                              notices. Thus, the Commission now                            The Commission hereby certifies that
      and address].’’
                                                              estimates that the total annual burden to                 the final Rule will not have a significant
      IV. Paperwork Reduction Act                             the industry will be between 43,600 and                   economic impact on a substantial
        In accordance with the Paperwork                      45,600 hours. This figure reflects the                    number of small business entities. The
      Reduction Act, as amended, 44 U.S.C.                    Commission’s estimate that                                FCRA previously mandated the
      3501, et seq., the Commission submitted                 approximately 100 entities will need                      prescreen disclosure. The FACT Act
      the proposed Rule to the Office of                      additional time to revise multiple                        requires the Commission to adopt a rule
      Management and Budget (‘‘OMB’’) for                     notices as follows: for each of these 100                 to make the required disclosure simple
      review. The OMB approved the Rule’s                     entities, an additional four hours each                   and easy to understand. The proposed
      information collection requirements                     for an estimated 99 solicitations not                     Rule applies to any entity that makes
      through November 30, 2007, and                          accounted for in the NPRM. Based on                       prescreened offers of credit or
      assigned OMB control number 3084–                       the time needed to bring these                            insurance. The Commission has been
      0132. In response to comments received,                 additional solicitations into compliance,                 unable to determine the number of
      the Commission has revised its estimate                 the Commission now estimates that the                     small entities that purchase prescreened
      of the burden for companies that issue                  total cost to the industry will be                        lists from consumer reporting agencies.
      many different prescreened solicitations                between $1,157,894 and $1,213,329.                        However, the Commission believes that
      and therefore will be required to revise                This figure reflects the 39,600 additional                only a small number of small entities
      multiple solicitations in order to comply               hours of skilled technical labor (at                      make prescreened offers. The
      with the Rule. On December 8, 2004, the                 $26.44 per hour) that the Commission                      Commission did not receive any
      OMB approved the new burden                             estimates will be required to revise the                  comments to the IRFA that would allow
      estimate.                                               multiple solicitations.82                                 it to determine the precise number of
        As set forth in the NPRM, the Rule                       Although some commenters also                          small entities that will be affected.
      imposes certain disclosure requirements                 estimated that more time would be                         Although there may be some small
      on makers of prescreened credit                         needed to format and develop a                            entities among the entities making
      solicitations, as required by the FACT                  disclosure than the eight hours                           prescreened offers, the economic impact
      Act. Specifically, such solicitations                   estimated by the NPRM,83 or that the                      of the final Rule is not likely to be
      must include a statement containing a                   labor costs to revise each notice would                   significant on a particular entity, nor is
      short-form and a long-form notice,                      be higher than estimated,84 the                           the final Rule likely to have a significant
      which provides consumers with                           Commission has concluded that it is                       economic impact on a substantial
      information concerning prescreened                                                                                number of small entities. The minimal
      solicitations and how to opt out of
                                                                80 This estimate was based on Bureau of Labor
                                                                                                                        impact on creditors and insurers would
                                                              Statistics data (as of July, 2002), as follows: 2 hours   likely consist of revising disclosures
      receiving such solicitations in the                     of managerial/professional time at $31.55 per hour;
      future. In addition, the Rule contains a                plus 6 hours of skilled technical labor at $26.44 per     that they already give in order to make
      model disclosure that companies may                     hour; multiplied by 500 and 750 companies, for a          the disclosures simple and easy to
                                                              total of $110,870 and $166,305, respectively.             understand.
      use to comply with the Rule’s                             81 See, e.g., Comment, Bank of America
      requirements.                                           Corporation #OL–100032; Comment, JPMorgan                    The Commission requested comment
        The NPRM estimated the time to                        Chase Bank #OL–100019; Comment, MasterCard                on the IRFA and the proposed Rule’s
      revise and re-format an existing                        International Incorporated #000012; Comment,              impact on small businesses. The
                                                              Wachovia Corporation #OL–100017; Comment,
      solicitation to be about 8 hours per firm.              Wells Fargo & Company #000007; Comment,                   Commission received a few comments
      At the same time, the NPRM estimated                    Wilmer Cutler Pickering Hale and Dorr LLP #OL–            in response. These comments, which are
      that between 500 and 750 entities would                 100046.                                                   discussed in more detail below,
                                                                82 As in the NPRM, the hourly rate is based on
      be affected, so that the total annual                                                                             requested more time to comply with the
                                                              Bureau of Labor Statistics data, as of July, 2002.
      burden to the industry would be                           83 See, e.g., Comment, Countrywide #000010;
                                                                                                                        Rule 85 and suggested that the layered
      between 4000 and 6000 hours and the                     Comment, JPMorgan Chase Bank #OL–100019;
                                                              Wachovia Corporation #OL–100017.                            85 See, e.g., Comment, Credit Union National
        79 See,e.g., Comment, Bank of America                   84 See, e.g., Comment, American Bankers                 Association #000003; Comment, National
      Corporation #OL–100032; Comment, Mortgage               Association #OL–100040; Comment, Capitol One              Independent Automobile Dealers Association #OL–
      Bankers Association #OL–100036.                         Financial Corporation #OL–100033.                         100021.



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      notice requirement may be difficult for                 difficult for some small entities.88 Some                   However, not all businesses that
      some small businesses.86                                of these comments noted that small                        extend credit or insurance are required
        The Commission continues to believe                   entities often have one-page                              to comply with the Rule. Rather, only
      that a precise estimate of the number of                solicitations, and that the layered notice                such entities that make prescreened
      small entities that fall under the Rule is              would likely require them to increase                     solicitations will be subject to the Rule’s
      not currently feasible. However, based                  the length of their marketing materials,                  requirements. Although the number of
      on the comments received and the                        at great expense. As an alternative, these                small businesses that offer credit or
      Commission’s own experience and                         commenters suggested that a one-part                      insurance is large, the Commission
      knowledge of industry practices, the                    notice, rather than the layered notice,                   believes that only a small number of
      Commission also continues to believe                    should be permitted. The Commission                       those businesses engage in prescreened
      that the cost and burden to small                       has considered these comments, but                        solicitations. The Commission believes
      business entities of complying with the                 does not believe that the layered notice                  that many small businesses find it more
      Rule is minimal and that the final Rule                 requirement is overly burdensome for                      cost effective to engage in other forms of
      will not have a significant impact on a                 small businesses. The Commission has                      solicitation, including point-of-sale
                                                              clarified in the statement of basis and                   solicitations and/or solicitations of
      substantial number of small entities.
                                                              purpose that accompanies the final Rule                   existing customers.
      Accordingly, this document serves as
      notice to the Small Business                            that both parts of the layered notice may                 D. Projected Reporting, Recordkeeping,
      Administration of the agency’s                          appear in a single page solicitation,                     and Other Compliance Requirements
      certification of no effect. Nonetheless,                obviating the need for an additional
                                                              page or document. Even on a single page                     Under the final Rule, any entity
      the Commission has decided to publish                                                                             making a prescreened offer of credit or
      a Final Regulatory Flexibility Analysis                 solicitation, the layered format
                                                              contributes to a notice that is simple                    insurance will be required to provide
      with this final Rule. Therefore, the                                                                              recipients of the offer with a disclosure
      Commission has prepared the following                   and easy to understand. The Rule also
                                                              allows companies flexibility as to the                    regarding their right to opt out of such
      analysis:                                                                                                         offers. (There are no filing or
                                                              precise formatting and language of the
      A. Need for and Objectives of the Rule                  notices. The Commission considers this                    recordkeeping requirements in the
                                                              flexibility sufficient to allow all entities,             Rule.) These disclosures are to be in a
         Section 213 of the FACT Act directs                  including small entities, to determine an                 form that is simple and easy to
      the FTC to adopt a rule to improve the                  appropriate means of complying with                       understand. As noted in the Paperwork
      required notice to consumers regarding                                                                            Reduction Act analysis above, the
                                                              the Rule within the framework of their
      their right to opt out of prescreened                                                                             estimated time to revise the notice and
                                                              own solicitations.
      solicitations for credit or insurance. In                                                                         re-format solicitations is approximately
      this action, the FTC promulgates a final                C. Small Entities To Which the Rule Will                  8 hours (one business day), and the total
      Rule that would implement this                          Apply                                                     cost for all entities to comply with this
      requirement of the FACT Act. The Rule                                                                             Rule is between $1,157,894 and
      is authorized by and based upon section                    As described above, the Rule applies                   $1,213,329.
      213 of the FACT Act.                                    to any entity, including small entities,
                                                              that makes prescreened offers of credit                   E. Steps Taken To Minimize Significant
      B. Significant Issues Received by Public                or insurance. The Commission has been                     Economic Impact of the Rule on Small
      Comment                                                 unable to ascertain a precise estimate of                 Entities
                                                              the number of small entities that are                       The Commission considered whether
         The Commission received a few                        creditors or insurers, and received no                    any significant alternatives, consistent
      comments in response to its IRFA. Some                  specific comments to the IRFA that                        with the purposes of the FACT Act,
      commenters, in particular, trade                        allow it to determine the precise                         could further minimize the Rule’s
      associations representing small                         number of small entities that will be                     impact on small entities. The FTC asked
      businesses, were primarily concerned                    affected. Entities potentially covered by                 for comment on this issue. Some
      about the time allowed for compliance                   the Rule include any entity that extends                  commenters suggested that the layered
      with the Rule. These commenters                         credit or insurance, including insurance                  notice requirement may be difficult for
      asserted that small businesses, which                   companies, retailers, department stores,                  small businesses, and that a single
      have more limited resources than larger                 and banking institutions, if they are                     notice would be more appropriate.90
      marketers, needed more than the                         engaging in prescreened offers of credit.                 However, as discussed above, the
      proposed 60 days to comply with the                     For these kinds of entities, the Small                    Commission has determined that the
      Rule. The commenters suggested an                       Business Administration defines small                     layered format is the best way to ensure
      effective date ranging from 120 days to                 business to include, in general, a                        that the disclosures are simple and easy
      6 months from the date the final Rule is                business whose annual receipts do not                     to understand and does not find that the
      issued.87 The final Rule changes the                    exceed $6 million in total receipts for                   layered notice approach poses a
      effective date to August 1, 2005.                       insurance companies and retailers, and                    particular burden to small entities. The
      Therefore, small businesses, as well as                 $23 million in total receipts for                         Rule allows small entities flexibility in
      other entities, should have sufficient                  department stores. For banking                            determining how best to present the
      time to comply.                                         institutions, the Small Business                          layered notice within the framework of
         Other commenters suggested that the                  Administration defines small business                     their solicitations, and therefore does
      layered notice requirement may be                       to include entities whose total assets do                 not impose a substantial burden.
                                                              not exceed $150 million.89                                  The Commission also requested
        86 See, e.g., Comment, ChoicePoint Precision                                                                    comment on the need to adopt a delayed
      Marketing, Inc. #OL–100025; Comment, Wilmer                88 See, e.g., Comment, ChoicePoint Precision

      Cutler Pickering Hale and Dorr LLP #OL–100046.          Marketing, Inc. #OL–100025; Comment, Wilmer               be found at http://www.sba.gov/size/
        87 See, e.g., Comment, Credit Union National          Cutler Pickering Hale and Dorr LLP #OL–100046.            indextableofsize.html.
      Association #000003; Comment, National                     89 These numbers represent size standards for            90 See, e.g., Comment, ChoicePoint Precision

      Independent Automobile Dealers Association #OL–         most entities in the industries mentioned above. A        Marketing, Inc. #OL–100025; Comment, Wilmer
      100021.                                                 list of the SBA’s size standards for all industries can   Cutler Pickering Hale and Dorr LLP #OL–100046.



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      effective date for small entities in order                    (a) Simple and easy to understand                    shall be taken to ensure that the type
      to provide them with additional time to                     means:                                                 size is larger than the type size of the
      come into compliance. The Commission                          (1) A layered format as described in                 principal text on the same page;
      received some comments on this                              § 642.3 of this part;                                     (ii) On the front side of the first page
      issue;91 the Commission has decided to                        (2) Plain language designed to be                    of the principal promotional document
      extend the effective date for all entities                  understood by ordinary consumers; and                  in the solicitation, or, if provided
      subject to the Rule to August 1, 2005.                        (3) Use of clear and concise sentences,              electronically, on the same page and in
      This additional time will allow small                       paragraphs, and sections.                              close proximity to the principal
      entities to assess their compliance                           (i) Examples. For purposes of this                   marketing message;
      obligations and make cost-sensitive                         part, examples of factors to be                           (iii) Located on the page and in a
      decisions concerning how best to                            considered in determining whether a                    format so that the statement is distinct
      comply with the Rule.                                       statement is in plain language and uses                from other text, such as inside a border;
                                                                  clear and concise sentences, paragraphs,               and
      VI. Final Rule                                              and sections include:                                     (iv) In a type style that is distinct from
      List of Subjects                                              (A) Use of short explanatory                         the principal type style used on the
                                                                  sentences;                                             same page, such as bolded, italicized,
      16 CFR Part 642                                               (B) Use of definite, concrete, everyday              underlined, and/or in a color that
        Consumer reporting agencies,                              words;                                                 contrasts with the color of the principal
      Consumer reports, Credit, Fair Credit                         (C) Use of active voice;                             text on the page, if the solicitation is in
      Reporting Act, Trade practices.                               (D) Avoidance of multiple negatives;                 more than one color.
                                                                    (E) Avoidance of legal and technical                    (b) Long notice. The long notice shall
      16 CFR Part 698                                             business terminology;                                  be a clear and conspicuous, and simple
        Consumer reporting agencies,                                (F) Avoidance of explanations that are               and easy to understand statement as
      Consumer reports, Credit, Fair Credit                       imprecise and reasonably subject to                    follows:
      Reporting Act, Trade practices.                             different interpretations; and
                                                                                                                            (1) Content. The long notice shall
                                                                    (G) Use of language that is not
      ■ The Federal Trade Commission                                                                                     state the information required by section
                                                                  misleading.
      amends chapter I, title 16, Code of                                                                                615(d) of the Fair Credit Reporting Act
                                                                    (ii) [Reserved]
      Federal Regulations, as follows:                                                                                   (15 U.S.C. 1681m(d)). The long notice
                                                                    (b) Principal promotional document
      ■ 1. Add new part 642 to read as follows:                                                                          shall not include any other information
                                                                  means the document designed to be
                                                                                                                         that interferes with, detracts from,
      PART 642—PRESCREEN OPT-OUT                                  seen first by the consumer, such as the
                                                                                                                         contradicts, or otherwise undermines
      NOTICE                                                      cover letter.
                                                                                                                         the purpose of the notice.
      Sec.                                                        § 642.3    Prescreen opt-out notice.                      (2) Form. The long notice shall:
      642.1         Purpose and scope.                               Any person who uses a consumer                         (i) Appear in the solicitation;
      642.2         Definitions.                                  report on any consumer in connection                      (ii) Be in a type size that is no smaller
      642.3         Prescreen opt-out notice.                     with any credit or insurance transaction               than the type size of the principal text
      642.4         Effective date.                               that is not initiated by the consumer,                 on the same page, and, for solicitations
        Authority: Pub. L. 108–159, sec. 213(a); 15               and that is provided to that person                    provided other than by electronic
      U.S.C. 1681m(d).                                            under section 604(c)(1)(B) of the FCRA                 means, the type size shall in no event
                                                                  (15 U.S.C. 1681b(c)(1)(B)), shall, with                be smaller than 8-point type;
      § 642.1        Purpose and scope.                                                                                     (iii) Begin with a heading in capital
                                                                  each written solicitation made to the
         (a) Purpose. This part implements                        consumer about the transaction, provide                letters and underlined, and identifying
      section 213(a) of the Fair and Accurate                     the consumer with the following                        the long notice as the ‘‘PRESCREEN &
      Credit Transactions Act of 2003, which                      statement, consisting of a short portion               OPT-OUT NOTICE’’;
      requires the Federal Trade Commission                       and a long portion, which shall be in the                 (iv) Be in a type style that is distinct
      to establish the format, type size, and                     same language as the offer of credit or                from the principal type style used on
      manner of the notices to consumers,                         insurance:                                             the same page, such as bolded,
      required by section 615(d) of the Fair                         (a) Short notice. The short notice shall            italicized, underlined, and/or in a color
      Credit Reporting Act (‘‘FCRA’’),                            be a clear and conspicuous, and simple                 that contrasts with the color of the
      regarding the right to prohibit (‘‘opt out’’                and easy to understand statement as                    principal text on the page, if the
      of) the use of information in a consumer                    follows:                                               solicitation is in more than one color;
      report to send them solicitations of                           (1) Content. The short notice shall                 and
      credit or insurance.                                        state that the consumer has the right to                  (v) Be set apart from other text on the
         (b) Scope. This part applies to any                      opt out of receiving prescreened                       page, such as by including a blank line
      person who uses a consumer report on                        solicitations, and shall provide the toll-             above and below the statement, and by
      any consumer in connection with any                         free number the consumer can call to                   indenting both the left and right margins
      credit or insurance transaction that is                     exercise that right. The short notice also             from other text on the page.
      not initiated by the consumer, and that                     shall direct the consumer to the
      is provided to that person under section                                                                           § 642.4    Effective date.
                                                                  existence and location of the long
      604(c)(1)(B) of the FCRA (15 U.S.C.                         notice, and shall state the heading for                  This part is effective on August 1,
      1681b(c)(1)(B)).                                            the long notice. The short notice shall                2005.
      § 642.2        Definitions.
                                                                  not contain any other information.
                                                                     (2) Form. The short notice shall be:                PART 698—[AMENDED]
          As used in this part:                                      (i) In a type size that is larger than the          ■ 2. Amend § 698.1 by revising
          91 See,
                                                                  type size of the principal text on the                 paragraph (b) to read as follows:
               e.g., Comment, Credit Union National
      Association #000003; Comment, National
                                                                  same page, but in no event smaller than
      Independent Automobile Dealers Association #OL–             12-point type, or if provided by                       § 698.1    Authority and purpose.
      100021.                                                     electronic means, then reasonable steps                *      *        *   *        *


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         (b) Purpose. The purpose of this part                Transactions Act of 2003, and Section                  Appendix A to Part 698—Model
      is to comply with sections 607(d),                      211 of the Fair and Accurate Credit                    Prescreen Opt-Out Notices
      609(c), 609(d), 612(a), and 615(d) of the               Transactions Act of 2003.                                 In order to comply with part 642 of this
      Fair Credit Reporting Act, as amended                   ■ 3. Add Appendix A to Part 698 as                     title, the following model notices may be
      by the Fair and Accurate Credit                         follows:                                               used:
                                                                                                                     BILLING CODE 6750–01–P




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        (a) English language model notice. (1)
      Short notice.




                                                                                                                                     ER31JA05.028</GPH><FNP>




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        (2) Long notice.




                                                                                                                                            ER31JA05.029</GPH><FNP>




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        (b) Spanish language model notice.
      (1) Short notice.




                                                                                                                                     ER31JA05.030</GPH><FNP>




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        (2) Long notice.




        By direction of the Commission.
      Donald S. Clark,
      Secretary.
      [FR Doc. 05–1678 Filed 1–28–05; 8:45 am]
      BILLING CODE 6750–01–C
                                                                                                                                            ER31JA05.031</GPH>




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                                                                                     EXHIBIT
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                         MYSCORE AFFILIATE AGREEMENT

This Affiliate Agreement ("Agreement"), dated ____________________________,
20______ by and between MyScore LLC, a California limited liability company, and
______________________________________________________________,
a _____________________________________________________________,
contains the complete terms and conditions regarding the application to participate
as an affiliate of MyScore and the establishment of links from your website to our
website(s).
1. Definitions. The following definitions are used in this Agreement:
   a. "We", "Our", "Us", - MyScore LLC.
   b. "You", "Your" and "Affiliate(s)" - the business, individual or entity applying for
      participation in the MyScore Affiliate Program, or that displays Our products,
      services and/or promotions on its website and/or through offline representation
      through the affiliate tracking code in exchange for receiving remuneration from
      MyScore for sales resulting from such display.
   c. "Affiliate Site" - the Affiliate's Internet site which displays MyScore Products
      and Services and/or promotions.
   d. "MyScore Products and Services" - Credit Monitoring Memberships that are
      available for purchase through MyScore's website(s).
   e. "Commission Fees" or "Commissions" - Under the Affiliate Program, subject to
      the terms hereof, you will be paid a Commission Fee for each Qualified Purchase
      by a Referred Customer that you refer to MyScore under and in accordance
      with this Agreement.
   f.   "Qualified Purchase" - a new successful customer signup of MyScore Products and
        Services by MyScore to a Referred Customer which meets the criteria set forth
        in Section 6 hereof.
   g. "Referred Customer" - each new and unique customer referred from Affiliate
      through a Link (defined in Section 3 below) provided by or approved by Us, which
      meets the criteria set forth in Section 6 hereof.
   h. "Registration Form" - any and all order forms, Registration Forms, or other
      signup or acceptance form (whether online, paper, fax, or otherwise) submitted
      by You or, as applicable, the Referred Customer to make a Qualified Purchase.
2. Promotion of Our Affiliate Relationship.
   a. We may make available to You a variety of graphic and textual links (each of
      these links sometimes being referred to herein as "Links" or, individually, as a
      "Link"), which are subject to the terms and conditions hereof. The Links will
      serve to identify Your site as part of the Affiliate Program and will establish a
      Link from Your site or e-mail to Ours. The Links may connect to any area of Our
      site (although commissions will only be issued on Qualified Purchases). In
      utilizing the Links, You agree that You will cooperate fully with Us in order to
      establish and maintain such Links.

                                                                           EXHIBIT
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   b. You also agree that You will display on Your site only those graphic or textual
      images (indicating a Link) provided by Us or text messages expressly approved
      in advanced in writing by MyScore. All Affiliate Sites shall display such graphic
      and/or textual images prominently in relevant sections of their site.
      Furthermore, you agree not to use cookie stuffing techniques that set the
      affiliate tracking cookie without the Referred Customer's knowledge.
      (example: iframe). Any information with respect to Us that is going to be
      displayed on Your site must be provided by Us and expressly approved by Us in
      writing in advance of any display.
   c. EXCEPT AS PERMITTED ABOVE OR IN SECTION 14 BELOW, YOU SHALL NOT AND
      ARE NOT AUTHORIZED TO (i) USE THE MYSCORE TRADEMARK, NAME OR ANY OF
      OUR OTHER INTELLECTUAL PROPERTY (OR ANY VARIATIONS OR MISSPELLINGS
      THEREOF OR OTHER TERM OR TERMS CONFUSINGLY SIMILAR TO ANY OF THE
      FOREGOING) (ALL OF THE FOREGOING, INCLUDING WITHOUT LIMITATION, THE
      "LINKS" AND THE "LICENSED MATERIALS" (DEFINED BELOW), ARE REFERRED TO
      HEREIN AS "OUR IP"), WITHOUT OUR EXPRESS PRIOR WRITTEN PERMISSION; (ii)
      USE OUR IP IN A DOMAIN OR WEBSITE NAME, IN ANY BIDS FOR KEYWORDS OR
      GOOGLE ADWORDS (OR SIMILAR PROGRAMS AT OTHER SEARCH ENGINES), IN
      ANY SEARCH ENGINE ADVERTISING (PAID OR OTHERWISE), IN ANY METATAGS,
      GOOGLE ADWORDS (OR SIMILAR PROGRAMS AT OTHER SEARCH ENGINES), KEY
      WORDS, ADVERTISING, SEARCH TERMS, CODE, OR OTHERWISE; (iii) CAUSE OR
      CREATE OR ACT IN ANY WAY THAT CAUSES OR CREATES OR COULD CAUSE OR
      CREATE ANY "INITIAL INTEREST CONFUSION" OVER THE USE OF OUR IP ON THE
      INTERNET OR IN ANY SEARCH ENGINE ADVERTISING. YOUR USE OF OUR IP IN
      ANY MANNER, OTHER THAN AS EXPRESSLY PERMITTED HEREUNDER (IN
      ADDITION TO BEING A BREACH OF THIS AGREEMENT) SHALL CONTITUTE
      UNLAWFUL INFRINGEMENT OF OUR TRADEMARKS, COPYRIGHTS OR OTHER
      INTELLECTUAL PROPERTY RIGHTS, AND MAY SUBJECT YOU TO CLAIMS FOR
      DAMAGES (INCLUDING WITHOUT LIMITATION, TREBLE DAMAGES FOR KNOWING
      OR WILFUL INFRINGEMENT), AND THE OBLIGATION TO PAY OUR LEGAL FEES
      AND COSTS IN CONNECTION WITH ANY ACTION OR PROCEEDING IN WHICH WE
      SEEK TO ENFORCE OUR RIGHTS UNDER THIS AGREEMENT OR WITH REGARD TO
      ANY OF OUR INTELLECTUAL PROPERTY RIGHTS.
   d. All Links may be modified and/or expanded from time to time throughout the
      term of this Agreement pursuant to the mutual agreement of the parties
      hereto. You are not allowed to post any refunds, credits or discounts, or other
      content concerning MyScore, unless We have given You prior written permission
      in each instance. Affiliates may only use coupons and discounts that are provided
      exclusively through the Affiliate Program using banners and links. Each Link
      connecting users of Your site to the pertinent area of Our site will in no way alter
      the look, feel, or functionality of Our site. Any violations of the terms surrounding
      links, coupons, refunds, credits or discounts shall constitute a material breach of
      this Agreement, and may result in Your termination from the program or
      withholding of Commissions.




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3. FTC Endorsement Compliance.
   a. It is the intent of MyScore to treat our customers fairly and to comply fully
      with all Federal Trade Commission regulations related to advertising. As such, we
      require our affiliates to comply with these regulations. This includes, but is not
      limited to, Federal Trade Commission 16 CFR Part 255: Guides Concerning the Use of
      Endorsements and Testimonials in Advertising, which requires, among other
      criteria, that material connections between advertisers and endorsers be
      disclosed. This means that directories, review/rating sites, blogs and other
      websites, email or collateral that purport to provide an endorsement or
      assessment of an advertiser (in this case MyScore) must prominently disclose
      the fact financial or in-kind compensation is provided from the advertiser. You
      are advised to seek and obtain your own legal advice on how these rules apply
      to your website or other promotional activities for which you receive
      compensation.
   b. MyScore reserves the right to withhold commission fees and cancel the affiliate
      relationship with you should we determine, at our discretion, that you are not in
      compliance with the previously mentioned guide or other FTC
      regulations/guides we deem relevant.
4. Order Processing. We will process orders placed by Referred Customer who follow
   the Links from your website to MyScore's website(s). We reserve the right, in our
   sole discretion, to reject orders that do not comply with certain requirements that
   we may establish from time to time. All aspects of order processing and fulfillment,
   including MyScore service, cancellation, processing, refunds and payment
   processing will be our responsibility. We will track the Qualified Purchases generated
   by your website. To permit accurate tracking, reporting, and Commission accrual,
   you must ensure that the Links between your website and our website are properly
   formatted.
5. Commission Determination. Under the Affiliate Program, you will be paid a
   Commission Fee for each Qualified Purchase by a Referred Customer that you
   refer to MyScore under and in accordance with the terms of this Agreement.
   Each Referred Customer and each Qualified Purchase must meet the following criteria
   (the "Criteria"):
   a. Each Referred Customer must be a new and unique visitor to MyScore and must
      register by completing and submitting the Registration Form using a valid and
      unique account and billing information and result in a new successful
      membership.
   b. Commission may not be paid for a Referred Customer that has transferred from
      any of our partners or subsidiaries.
   c. Each Referred Customer must make a Qualified Purchase, and provide a valid
      payment for the purchased MyScore Products or Services. To generate a
      Commission Fee for you, each Referred Customer must be an active, qualified
      customer of MyScore and must be up-to-date in all payments at the time the
      Commission Fees are processed and not have been subject to a refund, credit,
      cancellation, suspension or chargeback.



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   d. Each Referred Customer must sign up in a manner, which in our sole judgment,
      definitively establishes that the Referred Customer was referred directly from
      you to MyScore under this Agreement.
   e. Each Referred Customer must remain in compliance with our Terms of Service, Acceptable
      Use Policy and other policies that are active at the time the Commission Fees are
      processed.
   f.   Commission Fees may not be paid for the Qualified Purchase if the Referred Customer has
        been offered or received coupons, refunds, credits or discounts from the Affiliate or if the
        Referred Customer has joined a business-opportunity program (as determined by
        MyScore in its sole discretion) that is managed or participated in by the Affiliate, unless
        MyScore has provided its prior written permission.
   g. If a Referred Customer has received a popup with a discounted offer, while leaving our
      site during their purchase, we will NOT pay commissions on purchase.
   h. MyScore reserves the right to withhold initial Commissions Fees for Affiliates who are
      new to the Affiliate program, or who have commissions that are potentially fraudulent as
      determined by MyScore in its sole discretion, to determine the legitimacy and cancellation
      rates of Referred Customers.
   i.   MyScore reserves the right to suspend payment of Commission Fees at any time and
        indefinitely, if it suspects fraud or other improper activity or a potential breach of any of
        the terms in this Agreement by the Affiliate or a Referred Customer(s). MyScore reserves
        the right to deduct from Affiliate's current and future Commission Fees any and all
        Commission Fees corresponding to any fraudulent, questionable, and cancelled MyScore
        purchases. Where no subsequent Commission Fee is due and owing, MyScore will send
        Affiliate a bill for the balance of such refunded purchase upon termination of the program or
        termination of the Referred Customer.
   j.   MyScore, in its sole discretion, reserves the right to withhold indefinitely any Commission
        Fee, and/or to reverse, deny or reject any Commission Fee, for:
        i.     Any account/sale which has not been in an approved status in good standing as an
               account of MyScore for a period of at least thirty (30) days.
        ii.    All commissions generated for accounts that may be fraudulent, including but not
               limited to the use of software that generates real and fictitious information.
        iii.   If we deem orders to be fraudulent or see a pattern of potentially fraudulent
               activity, including, without limitation, where there are multiple accounts
               from the same customer, or referral of accounts which do not comply with this
               Agreement. We review account information (including site content) to assess
               referrals.
        iv. Altering Our Links in any way.
        v.     Referred Customers that have been offered or received coupons, refunds, credits or
               discounts from the Affiliate or for Referred Customers who have joined a business
               opportunity program that is managed or participated in by the Affiliate, unless
               MyScore has provided written permission.
        vi. Customers engaging in "Domain Speculation," which is determined by the
            identification of two (2) web hosting accounts with the same Referred

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              Customer's name, email address, or other identifying characteristic as
              determined by MyScore and/or the identification of two (2) or more web
              hosting accounts that have no content on their websites or have similar
              content, templates or formatting, as determined by MyScore.
        vii. Affiliates whom we believe may be artificially submitting Referred Customers,
             engaging in the advertisement of business-opportunity sites (as determined by
             MyScore in its sole discretion), using marketing practices that we deem to be
             unethical or likely to attract fraudulent signups and/or signups with a very
             low likelihood of renewal.
        viii. Any Qualified Transactions exceeding any caps or limits MyScore has placed
              on the Affiliate. MyScore may email Affiliate telling them they are
              capped/limited to a certain number of leads per day, week, year, or in total.
   k. MyScore reserves the right to immediately cancel or withhold for later review
      any Commission Fee based on the foregoing or that otherwise fails to meet the
      Criteria. It is the responsibility of the Affiliate to monitor the payment, denial
      and withholding of Commission Fees; MyScore is not obligated to actively
      notify Affiliates of the status of Commission Fees. If an Affiliate has a question
      about a Commission Fee that has been cancelled or withheld, that Af filiate
      has 30 days from the day the payment was due to contact MyScore to discuss
      or reclaim the Commission Fee. Any changes to decisions about cancelled or
      withheld Commission Fees are strictly at MyScore's discretion.
   l.   Commissions for any Referred Customer who is associated with any MyScore
        reseller, referral or other program may be removed from your payment. In other
        words, You may not receive double commissions or compensation.
   m. In the event that the Referred Customers that are referred to MyScore by a
      specific Affiliate are determined to have an excessive cancellation rate (as
      determined by MyScore in its sole discretion), MyScore reserves the right to
      withhold or decline pending and future Commission Fees for the Affiliate.
   n. Any of the following actions constitutes immediate grounds for MyScore to
      terminate this Agreement and will result in forfeiture of any Commission Fees
      due to you:
        i.    Any attempt by an Affiliate to manipulate, falsify or inflate Referred Customers,
              Qualified Purchases or Commission Fees.
        ii.   Violation of any of the terms of this Agreement.
6. Commission Fees and Payments.
   a. Subject to the terms of this Agreement, we will pay a Commission Fee equal to
      the specified percentage or dollar amount set forth in the Commission Report on
      a Qualified Purchase by a Referred Customer which occurs during the month or
      other period for which such Commission Fee is being calculated.
   b. The Commission Fee may be changed any time for any reason by MyScore by
      email notice. The Commission Fee will be communicated to Affiliate by email and
      may be a different Commission Fee per site, tracking link, traffic source or other
      factors that will also be communicated by email. If Affiliate does not agree with the


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        Commission Fees or any changes to Commission Fees then they must immediately stop
        sending Referred Customers.
   c. Commission Fees will be paid on a net 30 day basis after the end of the month in which
      a Qualified Purchase was properly completed. MyScore will not reimburse nor
      compensate You for any commission or other consideration other than for Qualified
      Purchases by a Referred Customer made in accordance with the terms hereof.
   d. There is a $50 minimum threshold for payment of Commission Fees. If You do not meet
      this minimum threshold, the commission payment for the month in question will be
      added to the commission payments due in future months until the minimum threshold
      is reached. In the event that this Agreement terminates, any accumulated but unpaid
      commission payment will be paid regardless of amount.
   e. Check payments will only be reissued within 120 days of original issue date in the case of a
      lost check or stop-payment request. After 120 days, the payment will be voided. Check
      cancellation fees may be applied.
   f.   PayPal payments will only be reissued within 120 days of original issue date in the case
        of incorrect PayPal address or refusal from PayPal to accept payment.
   g. You are responsible for informing MyScore about changes to postal and e-mail addresses, as
      well as any changes to your name, email address, contact information, tax identification
      number, or other personal information that will impact MyScore's ability to issue a valid
      Commission payment. Failure to provide the correct addresses may result in the
      forfeiture of any Commissions due to you. Commission Fees that are returned for invalid
      or insufficient address information or for other reasons may be forfeited as well.
7. Payment Forms/Types.
   a. Commission Fees shall be paid based on the current information in Your Affiliate profile. We
      must be notified of any change in address or bank account information. Failure to do so may
      result in delay or loss of your Commission Fee.
   b. You are responsible for informing MyScore of Your desired payment form/type:
        i.    A check, if You are located in the United States.
        ii.   An electronic funds transfer or wire transfer to Your bank. If this form
              of payment is chosen, you must be able to supply the following:
              (1) Account number
              (2) Type of account (checking or savings)
              (3) Federal Reserve Bank routing number.
              (4) If Your bank is not located in the United States, a SWIFT number.
        iii. When available, PayPal payment. Please refer to PayPal's policy to ensure
             You are eligible to receive payment if You are not located in the United
             States.
   b. MyScore is not responsible for any third-party fees charged by PayPal, bank or
      other financial institute used to receive Affiliate Commission Fees.




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   c. You can update or change desired payment form at any time by updating
      your Affiliate profile by emailing us. Changes to desired payment form
      may take up to two payout cycles to take effect.
   d. MyScore, in its sole discretion, reserves the right to modify the terms of this
      Commission payment method or schedule at any time. Such changes shall
      take effect when posted.
   e. Disputes. Affiliate specifically agrees to file any tracking or commission disputes
      as well as any other disputes and discrepancies within 45 days after the end of
      the month in which the sale or event that is disputed occurred. Disputes filed
      after 45 days of the date on which the Qualified Purchase occurred may not be
      accepted by MyScore; if the dispute is not accepted, Affiliate forfeits forever any
      rights to a potential claim.
8. Tax Information and Address Changes.
   a. It is Your responsibility to provide MyScore with the tax and payment
      information required to issue a Commission Fee to You. If MyScore does not
      receive the necessary tax or payment information within 90 days of a
      Commission Fee being earned, MyScore will consider that Commission Fee to
      be forfeited by the Affiliate, and no payment will be issued.
   b. Each Affiliate is required to submit a W8/W9 tax form before MyScore will issue
      any Commission Fees.
   c. You are responsible for the payment of all taxes related to the commissions
      you earn under this Agreement. In compliance with tax laws, MyScore will
      issue a Form 1099 to Affiliates whose earnings meet or exceed the applicable
      amount warranting the Form 1099.
   d. Any address changes must be made in the Affiliate profile by emailing us at
      least fifteen (15) business days prior to the end of the calendar quarter in order
      for Commissions for that quarter to be sent to the revised address.
9. Reports of Qualified Purchases. Monthly reports will be issued to Affiliate or Affiliate
   will be provided a login to an affiliate tracking system of MyScore's choice. The
   potential Qualified Purchases shown in this report have not been reviewed to
   confirm they meet all criteria for Qualified Purchases. As such, Commission Fees may
   not be issued on all Referred Customers that appear in the report or affiliate
   tracking system.
10. Obligations Regarding Your Site.
   a. You will be solely responsible for the development, operation, and maintenance
      of Your site and for all materials that appear on Your site. Such responsibilities
      include, but are not limited to, the technical operation of Your site and all
      related equipment; creating and posting product reviews, descriptions, and
      references on Your site and linking those descriptions to Our website; the accuracy
      and propriety of materials posted on Your site (including, but not limited to, all
      materials related to MyScore Products and Services); ensuring that materials
      posted on Your site do not violate or infringe upon the rights of any third party
      and are not libelous or otherwise illegal. We disclaim all liability and
      responsibility for such matters.

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   b. We have the right in Our sole discretion to monitor signups through Your site
      at any time and from time to time to determine if You are in compliance with the
      terms of this Agreement. If You are not in compliance We may terminate this
      Agreement immediately.
11. MyScore Responsibilities. We will be responsible for providing all information
    necessary to allow You to make appropriate Links from Your site to Our site.
    MyScore will solely be responsible for order processing for orders/Qualified
    Purchases placed by a Referred Customer following a Link from Your site, for
    tracking the volume and amount of Qualified Purchases generated by Your site,
    and for providing information to Affiliates regarding Qualified Purchases
    statistics. MyScore will be solely responsible for all order processing, including but
    not limited to payment processing, cancellations, refunds and related MyScore
    service. Any determination made by MyScore regarding the foregoing shall be
    binding absent manifest error.
12. Policies and Pricing. Referred Customers who buy MyScore Products and Services
    through the Affiliate network will be deemed to be Our Customers. Accordingly,
    all of Our rules, policies, and operating procedures concerning MyScore orders,
    MyScore service, and MyScore Products and Services sales will apply to those
    Customers. We may change Our policies and operating procedures at any time. For
    example, We will determine the prices to be charged for MyScore Products and
    Services sold under the Affiliate Network in accordance with Our own pricing
    policies. Prices and availability of MyScore Products and Services may vary from
    time to time, from affiliate to affiliate, and from region to region. Because price
    changes may affect products that You have listed on Your site, You may or may not
    be able to include price information in Your product descriptions. We will use
    commercially reasonable efforts to present accurate information, but We cannot
    guarantee the availability or price of any particular product or service. Please note
    that by signing up to be an Affiliate, You agree to both this Agreement and Our
    Terms of Service.
13. Emails and Publicity. You shall not create, publish, transmit or distribute, under any
    circumstances, any bulk electronic mail messages (also known as "SPAM") without
    prior written consent from MyScore for each and every day when any bulk mailing
    will occur. MyScore, in its sole discretion, reserves the right to reject each and
    every e-mail mailing. Additionally, You may only send e-mails containing a
    MyScore affiliate link and or a message regarding MyScore or MyScore's Affiliate
    Program to person(s) who have been previously contacted and whom consented to
    the fact that the You will be sending an e-mail containing MyScore information or
    information about the MyScore affiliate program. Failure by You to abide by this
    section, CAN-SPAM Act of 2003 or our Anti-Spam Policy, in any manner, will be
    deemed a material breach of this Agreement by You and foreclose any and all rights
    you may have to any commissions. If your account has excessive clicks in a very
    short period of time as determined by MyScore in its sole discretion, the Affiliate
    relationship may be terminated.
14. Licenses and Use of the MyScore.com Logos and Trademarks.
   a. Subject to the limitations set forth in Section 3 above and otherwise in this
      Agreement, we grant you a non-exclusive, non-transferable, revocable license to

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      (i) access our site through the links solely in accordance with the terms of this
      agreement and (ii) solely in connection with such links, to use the MyScore.com
      trademark and logo and similar identifying material relating to us (but only in the
      form(s) that they are provided by us) (collectively, the "Licensed Materials"), for
      the sole purpose of selling MyScore Products and Services on your site and as
      approved in advance by us. You may not alter, modify, or change the Licensed
      Materials in any way. You are only entitled to use the Licensed Materials to the
      extent that You are a member in good standing of the MyScore Affiliate Program.
   b. You shall not make any specific use of any Licensed Materials for purposes other
      than selling MyScore Products and Services, without first submitting a sample
      to Us and obtaining the express prior written consent of Your MyScore account
      executive, which consent shall not be unreasonably withheld. You agree not to
      use the Licensed Materials in any manner that is disparaging or that otherwise
      portrays MyScore, any hosted member of MyScore or any MyScore employee or
      representative in a negative light. We reserve all of Our rights in the Licensed
      Materials and of Our other proprietary rights. We may revoke Your license at
      any time, by giving You written notice. If not revoked, this license shall
      terminate upon expiration or termination of this Agreement.
   c. You grant to Us a non-exclusive license to utilize Your names, titles, and logos,
      as the same may be amended from time to time (the "Affiliate Trademarks"),
      to advertise, market, promote, and publicize in any manner Our rights
      hereunder; provided, however, that We shall not be required to so advertise,
      market, promote, or publicize the Affiliate Trademarks. This license shall
      terminate upon the expiration or termination of this Agreement.
15. Term of the Agreement.
   a. The term of this Agreement will begin upon Our acceptance of Your Affiliate
      Program application and will end when terminated by either party. Either You or
      We may terminate this Agreement at any time, with or without cause. You are
      only eligible to earn Commission Fees on Qualified Purchases occurring during
      the term, and Commission Fees earned through the date of termination will
      remain payable only if the orders for the related MyScore Products and Services
      are not cancelled and comply with all Terms laid out in this Agreement. We may
      withhold Your final payment of Commission Fees for a reasonable time to
      ensure that all Qualified Purchases are valid and payment from Referred
      Customers are legitimate as determined by MyScore in its sole discretion.
   b. Any Affiliate who violates either this Agreement or MyScore's Terms and
      Conditions will immediately forfeit any right to any and all accrued
      Commissions Fees and will be removed from the MyScore Affiliate
      Program.
   c. MyScore reserves the right to remove an Affiliate from the Affiliate
      Program, and to terminate or suspend this Agreement, at any time for any
      reason, in MyScore's sole discretion.
   d. Without limitation, Affiliate's participation in the Program, and this
      Agreement, shall be deemed automatically terminated immediately and all



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       commissions forfeited upon Affiliate's violation of any of the terms of this
       Agreement or of any applicable law or regulation having the force of law.
16. Modification. We may modify any of the terms and conditions contained in this
    Agreement at any time in Our sole discretion. Such modifications shall take effect
    when posted on Our site. MyScore, in its sole discretion, reserves the right to notify
    You by e-mail and further reserves the right to withhold notification of any changes
    made to this Agreement. Modifications may include, but are not limited to,
    changes in the scope of available Commissions, Commission amounts/percentages,
    payment procedures, Commission Fee payment schedules, and Affiliate Program
    rules. If any modification is unacceptable to You, Your only recourse is to
    terminate this agreement. Your continued participation in the Affiliate Program
    following Our posting of a change notice or new agreement on Our site will
    constitute binding acceptance of the change.
17. Disclaimers. We make no express or implied warranties or representations with
    respect to the Affiliate Program or any MyScore Products and Services sold through
    the Affiliate Program (including, without limitation, WARRANTIES OF FITNESS,
    MERCHANTABILITY, NON-INFRINGEMENT, OR ANY IMPLIED WARRANTIES ARISING
    OUT OF COURSE OF PERFORMANCE, DEALING, OR TRADE USAGE). In addition, We
    make no representation that the operation of Our site will be uninterrupted or
    error free, and We will not be liable for the consequences of any interruptions or
    errors, including the tracking of information about Referred Customers during the
    period of interruption.
18. Relationship of Parties. You and MyScore are independent contractors, and nothing
    in this Agreement will create any partnership, joint venture, agency, franchise,
    sales representative, or employment relationship between the parties. You will
    have no authority to make or accept any offers or representations on Our behalf.
    You will not make any statement, whether on Your site or otherwise, that reasonably
    would contradict anything in this Section.
19. Representations and Warranties. You hereby represent and warrant to us as follows:
   a. This Agreement has been duly and validly executed and delivered by You and
      constitutes Your legal, valid, and binding obligation, enforceable against You in
      accordance with its terms.
   b. The execution, delivery, and performance by You of this Agreement and the
      consummation by You of the transactions contemplated hereby will not, with or
      without the giving of notice, the lapse of time, or both, conflict with or violate (i)
      any provision of law, rule, or regulation to which You are subject, (ii) any order,
      judgment, or decree applicable to You or binding upon Your assets or properties,
      (iii) any provision of Your by-laws or certificate of incorporation, or (iv) any
      agreement or other instrument applicable to You or binding upon Your assets or
      properties.
   c. You are the sole and exclusive owner of the Affiliate Trademarks and have the
      right and power to grant to Us the license to use Your trademarks in the manner
      contemplated herein, and such grant does not and will not (i) breach, conflict
      with, or constitute a default under any agreement or other instrument
      applicable to You or binding upon Your assets or properties, or (ii) infringe upon

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        any trademark, trade name, service mark, copyright, or other proprietary right of
        any other person or entity.
   d. No consent, approval, or authorization of, or exemption by, or filing with,
      any governmental authority or any third party is required to be obtained or made
      by You in connection with the execution, delivery, and performance of this
      Agreement or the taking by You of any other action contemplated hereby.
   e. There is no pending or, to the best of Your knowledge, threatened claim,
      action, or proceeding against You, or any Affiliate of Yours, with respect to the
      execution, delivery, or consummation of this Agreement, or with respect to
      Your trademarks, and, to the best of Your knowledge, there is no basis for any
      such claim, action, or proceeding.
   f.   During the term of the Agreement, You will not include in Your site content that
        is, in Our opinion, unlawful, harmful, threatening, defamatory, obscene,
        harassing, racially, ethically, or otherwise objectionable or are in violation of
        Our Terms of Service or Acceptable Use Policy.
   g. You are at least eighteen (18) years of age.
   h. Each Referred Customer and each Qualified Purchase referred or submitted by
      You to Us, is valid, genuine, unique and not fraudulent and meets each of the
      Criteria for generating a Commission Fee as provided in this Agreement.
20. Limitation of Liability. WE WILL NOT BE LIABLE FOR INDIRECT, SPECIAL, INCIDENTAL,
    OR CONSEQUENTIAL DAMAGES, OR ANY LOSS OF REVENUE, PROFITS, OR DATA,
    ARISING IN CONNECTION WITH THIS AGREEMENT OR THE AFFILIATE PROGRAM,
    EVEN IF WE HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.
    FURTHER, OUR AGGREGATE LIABILITY ARISING WITH RESPECT TO THIS AGREEMENT
    AND THE AFFILIATE PROGRAM WILL NOT EXCEED THE TOTAL COMMISSIONS PAID
    OR PAYABLE TO YOU UNDER THIS AGREEMENT DURING THE 3-MONTH PERIOD
    IMMEDIATELY PRECEDING THE EVENT GIVING RISE TO SUCH LIABILITY.
21. Indemnification. You hereby agree to indemnify and hold harmless Us and Our
    subsidiaries and affiliates, and their directors, officers, employees, agents,
    shareholders, partners, members, and other owners, against any and all claims,
    actions, demands, liabilities, losses, damages, judgments, settlements, costs,
    and expenses (including reasonable attorneys' fees) (any or all of the foregoing
    hereinafter referred to as "Losses") insofar as such Losses (or actions in respect
    thereof) arise out of or are based on (i) any claim that Our use of the Affiliate
    Trademarks infringes on any trademark, trade name, service mark, copyright,
    license, intellectual property, or other proprietary right of any third party, (ii) any
    misrepresentation of a representation or warranty or breach of a covenant and
    agreement made by You herein, or (iii) any claim related to Your site, including,
    without limitation, its development, operation, maintenance and content therein not
    attributable to Us.
22. Confidentiality. Each of the parties here to agrees that all information including,
    without limitation, the terms of this Agreement, business and financial
    information, MyScore and vendor lists, and pricing and sales information, shall
    remain strictly confidential and shall not be utilized for any purpose outside the


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   terms of this Agreement except and solely to the extent that any such
   information is (a) already lawfully known to or independently developed by the
   receiving party, (b) disclosed in published materials, (c) generally known to the
   public, or (d) lawfully obtained from any third party any obligation of
   confidentiality to the discloser hereunder. Notwithstanding the foregoing, each
   party is hereby authorized to deliver the copy of any such information (a) to any
   person pursuant to a valid subpoena or order issued by any court or administrative
   agency of competent jurisdiction, (b) to its accountants, attorneys, or other agents
   on a confidential basis, and (c) otherwise as required by applicable law, rule,
   regulation, or legal process including, without limitation, the Securities Exchange
   Act of 1933, as amended, and the rules and regulations promulgated thereunder,
   and the Securities Exchange Act of 1934, as amended, and the rules and
   regulations promulgated thereunder.
23. Independent Investigation. Your application submission acknowledges that you have
    read this agreement and agree to be bound by all its terms and conditions. You
    understand that we may at any time (directly or indirectly) solicit MyScore
    relationships on terms that may differ from those contained in this agreement. We
    may also solicit MyScore relationships with entities that operate websites that
    are similar to or compete with your website. You have independently evaluated the
    desirability of participating in the MyScore Affiliate Program and are not relying on
    any representation, guarantee, or statement other than as set forth in this
    agreement.
24. Governing Law. The laws of the United States and the State of California will
    govern this Agreement, without reference to rules governing choice of laws. Any
    action relating to this Agreement must be brought in the federal or state courts
    located in Orange County, California and You irrevocably consent to the
    jurisdiction of such courts. You may not assign this Agreement, by operation of
    law or otherwise, without Our prior written consent. Subject to that restriction,
    this Agreement will be binding on, inure to the benefit of, and be enforceable
    against the parties and their respective successors and assigns. Our failure to
    enforce Your strict performance of any provision of this Agreement will not
    constitute a waiver of Our right to subsequently enforce such a provision or any
    other provision of this Agreement.
                                        --0--




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I INDICATE MY APPROVAL OF THIS AGREEMENT AND DESIRE TO BECOME AN AFFILIATE
UNDER THESE TERMS AND CONDITIONS BY COMPLETING AND SUBMITTING THE
AFFILIATE PROGRAM SIGNUP FORM, BY SUBMITTING PROPOSED REFERRED
CUSTOMERS OR QUALIFIED PURCHASES TO US UNDER OUR AFFILIATE PROGRAM
AND/OR BY COLLECTING AND COMMISSION FEES FROM US.


IN WITNESS WHEREOF, the parties hereby execute this Agreement as of the date first
written above.


MY SCORE LLC




By:                                       By:


Printed name:                             Printed name:


Its:                                      Its:


Email:                                    Email:




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Roger Ferguson
Marketing and Advertising Professional


Experience
Owner at FatCat Ent
February 2013 - Present (4 years 2 months)
  Manage a full time staff of media buyers and email marketing services

Affilate Manager at Revable
January 2012 - January 2013 (1 year 1 month)
  Manage affiliates to make sure campaigns are optimized 100%


Skills & Expertise
Online Advertising
Lead Generation
Direct Marketing
Media Strategy
Affiliate Marketing
Media Buying
Advertising
Media Planning
Digital Marketing
Web Marketing
Online Marketing
Social Media Marketing
Web Analytics
Online Lead Generation
Email Marketing
Google Adwords
PPC
SEO
Mobile Marketing
SEM

Education
dojo




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Roger Ferguson
Marketing and Advertising Professional




Contact Roger on LinkedIn




                                                                                           Page2
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                                CBC Total Revenue




                                        3
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                               Total Pierce Revenue




                                        4
                                                                                      CBC/BRO000368
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                          CBC Revenue from January 2015




                                        5
                                                                                      CBC/BRO000369
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                    CBC Revenue from Pierce from January 2015




                                        6
                                                                                      CBC/BRO000370
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                        Revenue from Pierce December 2015




                                        7
                                                                                      CBC/BRO000371
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                      Revenue from Non-Pierce December 2015




                                        8
                                                                                      CBC/BRO000372
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                                        9
                                                                                      CBC/BRO000373
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                 CBC Revenue from Pierce from July 6, 2016 - Present




                                         10
                                                                                      CBC/BRO000374
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            Number of Non-Pierce Customers From January 2015 – Present




                                        11
                                                                                      CBC/BRO000375
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               Number of Pierce Customers from January 2015 – Present




                                        12
                                                                                      CBC/BRO000376
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           Number of Non-Pierce Customers from December 2015 to Present




                                        13
                                                                                      CBC/BRO000377
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              Number of Pierce Customers from December 2015 – Present




                                        14
                                                                                      CBC/BRO000378
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                          Amount and Number of Refunds




                                        15
                                                                                      CBC/BRO000379
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                           Amount of Refunds from Pierce




                                        16
                                                                                      CBC/BRO000380
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                  Refunds from Pierce from December 2015 - Present




                                        17
                                                                                      CBC/BRO000381
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                          Refunds from Dec. 2015 – Present




                                        18
                                                                                      CBC/BRO000382
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                        Amount and Number of Chargebacks




                                        19
                                                                                      CBC/BRO000383
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                          Amount of Chargebacks – Pierce




                                        20
                                                                                      CBC/BRO000384
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                          Number of Chargebacks - Pierce




                                        21
                                                                                      CBC/BRO000385
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           Number of Non-Pierce Chargebacks from January 2015 – Present




                                        22
                                                                                      CBC/BRO000386
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                Number of Pierce Chargebacks January 2015 – Present




                                        23
                                                                                      CBC/BRO000387
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             Number of Non-Pierce Chargebacks December 2015 – Present




                                        24
                                                                                      CBC/BRO000388
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                Number of Chargebacks from Dec 2015-present – Pierce




                                        25
                                                                                      CBC/BRO000389
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           Amount of Non-Pierce Chargebacks from January 2015 – Present




                                        26
                                                                                      CBC/BRO000390
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              Amount of Pierce Chargebacks from January 2015 – Present




                                        27
                                                                                      CBC/BRO000391
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           Amount of Non-Pierce Chargebacks from December 2015 – Present




                                        28
                                                                                      CBC/BRO000392
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                Amount of Chargebacks from Dec 2015-present - Pierce




                                        29
                                                                                      CBC/BRO000393
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                       Database Call Notes re Scam and Fraud




                                        30
                                                                                      CBC/BRO000394
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                              Database Notes re Retain




                                        31
                                                                                      CBC/BRO000395
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                              Number of Mobile Users




                                        32
                                                                                      CBC/BRO000396
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                                Notes re No Refund




                                        33
                                                                                      CBC/BRO000397
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             Number of Active CBC Customers at Time of Filing of Lawsuit




                                                                                      CBC/BRO000405
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                         Total Number of Members of CBC




                                                                                      CBC/BRO000406
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                            Total Number of Users Billed




                                                                                      CBC/BRO000407
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                  Total Number of Customers Who Received Refund




                                                                                      CBC/BRO000408
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                                                                                      CBC/BRO002205
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                                                                                      CBC/BRO002206
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                                                                                      CBC/BRO 2207
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                                                                                                     Payment Processing Statement
                                                                                                 Merchant Name: EFREESCORE
                                                                                                 Address: 340 S LEMON AV, UNIT #8881, WALNUT, CA 91789
                                                                                                 Merchant ID: 00002715XXXX3026           Month: July 2015
                                                                                                                                                 02715001001000


320 Cumberland Ave | Portland ME, 04101 | Technical and Customer Support: 1-888-888-4009 | Chargebacks: 1-800-999-8674

                                                                                          CHARGEBACKS
         YOUR ACCOUNT                             Date     Chargeback   Reference                                                                     Settled
         at a glance . . . .                      Posted      Date       Number     Tickets   Amount     Adjustments    Non-Settlement   Discount     Amount
                                                  07/01        07/01     18201715         1      29.94         0.00            0.00           0.00       29.94
  Transaction Summary                             07/01        07/01     18202134         1      29.94         0.00            0.00           0.00       29.94
                                                  07/02        07/02     18101848         1      29.94         0.00            0.00           0.00       29.94
 Sales
     .........................................
                                      $0.00
                                                  07/02        07/02     18201811         1      29.94         0.00            0.00           0.00       29.94
 Transactions
     .........................................
                                            0     07/02        07/02     18201836         1      29.94         0.00            0.00           0.00       29.94
                                                  07/02        07/02     18203609         1      29.94         0.00            0.00           0.00       29.94
 Credits
    .........................................
                                     $0.00        07/06        07/06     18600403         1      29.94         0.00            0.00           0.00       29.94
                                                  07/06        07/06     18601260         1      29.94         0.00            0.00           0.00       29.94
 Credits
    .........................................
         Issued                            0
                                                  07/06        07/06     18601522         1      29.94         0.00            0.00           0.00       29.94
                                                  07/07        07/07     11000203         1      29.94         0.00            0.00           0.00       29.94
 Total                              $0.00
    .........................................
                                                  07/08        07/08     18900702         1      29.94         0.00            0.00           0.00       29.94
  Card Summary Totals                             07/08        07/08     18901440         1      29.94         0.00            0.00           0.00       29.94
 MasterCard
    .........................................
                                     $0.00        07/08        07/08     18901598         1      29.94         0.00            0.00           0.00       29.94
                                                  07/09        07/09     15400042         1      29.94         0.00            0.00           0.00       29.94
 Visa.........................................
                                      $0.00       07/09        07/09     15400142         1      29.94         0.00            0.00           0.00       29.94
                                                  07/09        07/09     19001792         1      29.94         0.00            0.00           0.00       29.94
 Discover
     .........................................
                                      $0.00
                                                  07/09        07/09     19002055         1      29.94         0.00            0.00           0.00       29.94
 Amex
    .........................................
                                     $0.00
                                                  07/09        07/09     19003609         1      29.94         0.00            0.00           0.00       29.94
                                                  07/10        07/10     19103454         1      29.94         0.00            0.00           0.00       29.94
 Others
    .........................................
                                     $0.00        07/13        07/13     15500099         1      29.94         0.00            0.00           0.00       29.94
             Other Fees                           07/13        07/13     19300706         1      29.94         0.00            0.00           0.00       29.94
                                                  07/13        07/13     19302407         1      29.94         0.00            0.00           0.00       29.94
 Total.........................................
                                    $850.00       07/14        07/14     19100856         1      29.94         0.00            0.00           0.00       29.94
    American Express                              07/14        07/14     19000920         1      29.94         0.00            0.00           0.00       29.94
   Settlement/Discount                            07/14        07/14     19000947         1      29.94         0.00            0.00           0.00       29.94
                                                  07/22        07/22     20200554         1      29.94         0.00            0.00           0.00       29.94
 Total.........................................
                                            $0
                                                  07/23        07/23     20302106         1      29.94         0.00            0.00           0.00       29.94
     American Express                             07/23        07/23     20303017         1      29.94         0.00            0.00           0.00       29.94
      Pass Through                                07/24        07/24     11402898         1      29.94         0.00            0.00           0.00       29.94
 Total.........................................
                                            $0
                                                  07/24        07/24     20401645         1       1.00         0.00            0.00           0.00        1.00
                                                  07/24        07/24     20401646         1      29.94         0.00            0.00           0.00       29.94
     American Express                             07/29        07/29     21000561         1      29.94         0.00            0.00           0.00       29.94
       Other Fees                                 07/29        07/29     21000717         1      29.94         0.00            0.00           0.00       29.94
 Total.........................................
                                            $0    07/29        07/29     20900538         1      29.94         0.00            0.00           0.00       29.94
                                                  TOTAL                                  34    989.02         0.00            0.00           0.00      989.02

  GIFT CARD ACTIVITY
 available for viewing on                                                                     OTHER FEES
  or about the 8th of the
          month                                   Card           Charge     Description                                Number         Rate            Fees
                                                                   3007    ONLINE DATA ENTRY                               34         0.0000            0.00
                                                                   6930    INCOMING CHARGEBACKS                            34        25.0000          850.00
                                                  TOTAL                                                                                              850.00




                                                                                                                           EXHIBIT
                                                                                                                             16
                                                                                                     Payment Processing Statement
                                                                                                 Merchant Name: EFREESCORE
                                                                                                 Address: 340 S LEMON AV, UNIT #8881, WALNUT, CA 91789
                                                                                                                                                     Page 1 of 2
                                                                                                 Merchant ID: 00002715XXXX3026           Month: July 2015
                                                                                                                                                 02715001001000
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                                                                              Payment Processing Statement
                                                                          Merchant Name: EFREESCORE
                                                                          Address: 340 S LEMON AV, UNIT #8881, WALNUT, CA 91789
                                                                          Merchant ID: 00002715XXXX3026         Month: July 2015
                                                                                                                         02715001001000


320 Cumberland Ave | Portland ME, 04101 | Technical and Customer Support: 1-888-888-4009 | Chargebacks: 1-800-999-8674


                                     YOUR ACCOUNT HAS BEEN DEBITED................................................................
                                                                                                                    $850.00




                                                                                                                          Page 2 of 2
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Reputation         Update




    Mike Brown             to   Jeff                                                                                                                                                      5/19/16


    FYI    After    the    feedback       from your    CFO we    been    making     great       progress improving our            online   reputation       We now       have   an   44   ratinS

    with the       BBB


    htto   Ilwww     bbb.oro/losancielessiliconvallev/business-reviews/credit-reoortino                               aoencies/credit-bureau            center-ltd-in-walnut-ca-41         3377



    Just   wanted         to    share   that   we take your feedback      seriously       and    using   it   to   improve   as    company


    Thanks

    Mike




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Chargeback Update-
            Case:Similarities
                   1:17-cv-00194   Document #: 206-1 Filed: 03/24/18 Page 165 of 188 PageID #:5054


         Subject: Chargeback Update- Similarities
         From: Diego Munoz <diegomunoz001@gmail.com>
         Date: 3/16/16, 8:55 PM
         To: David Rojas <darb714@gmail.com>, Mike Brown <M.Brown@myscore360.com>

         Hello Mike, David.

         Here are some updates on the chargebacks receiving. Im sure the trial ending email,m will
         help lower the amount of Chargacks form members that never called.

         2406840 - to old to pull call. Client was billed the day he cancelled. We are now
          issuing a refund in these cases.
         2341572- never received a call
         2401245- never received a call
         2368169- had issue with refunds in these days. agent handled call ok, offered a
          refund
         2322341- never received a call
         2324688- agent should have offered a refund since caller was not happy about charges.
             did not. will speak to agent
         2379851- never received a call
         2363012- never received a call
         2180881- never received a call
         2277982- agent handled call ok. Client did not request a refund
         2392662- never received a call
         2332278- never received a call
         2406467- never received a call
         2411860- never received a call to cancel.Call to old to pull. called with general
          questions when member started trial. Never called back to cancel
         2402999- agent did all retentions. no refund was requested
         2271476- helpdesk-no refund requested
         2326616- call to old to pull - called with bank and was issued 2 refunds back in
         December
         2435763- Client was issued a courtesy refund and retained. then chargeback came in
         2400354- Never received a call
         1856410- never received a call
         2404618- client was issued courtesy refunds and was aware of them, but still issued       a
         chargeback
         2129727- never received a call
         2397454- never received a call
         2303115- Never received cancellation call. only called to get scores. needed to reprocess
         it.




                                                                                            EXHIBIT
                                                                                              19




1 of 1                                                                                         3/12/18, 9:12 PM
Chargeback- Similarities- Call reviews
             Case: 1:17-cv-00194                     Document #: 206-1 Filed: 03/24/18 Page 166 of 188 PageID #:5055

         Subject: Chargeback- Similarities- Call reviews
         From: Diego Munoz <diegomunoz001@gmail.com>
         Date: 3/7/16, 7:56 PM
         To: David Rojas <darb714@gmail.com>, Mike Brown <M.Brown@myscore360.com>

         Hello Mike,

         I went back over the last 20 select Chargebacks to see what they have in common and I notice most of these , we never received a call for. Another similarity on some
         of these is that they are bad account without SSN/DOB. one of these the agent offered 2 refunds only issued 1.

         My guess is that the chargebacks that we did not receive a call about, will go down since we are now sending an email when the trial starts and also noticed they are
         now getting emails when the trial is going to expire. This should help with those type of chargebacks.

         I will continue checking similarities in the chargebacks daily and will be sure to let you know of any patterns.




         USER ID    What happened on Call                                                                  What could have been done differently
                 Received 3 calls where agent greteed and seemed to be hung up on . Agent called
         2428543                                                                                           Not sure what could have been done differently
                 back, no answer

         2390222 Never received a call from this CB


         2314557 Never received a call from this CB

                                                                                                           Could have offered a refund since she said she wasnt aware. But client
         2411930 Client said she was not expecting to be billed, but did NOT ask for a refund.
                                                                                                           said she just wanted to cancel. No refund was requested.

         2333037 Never received a call from this CB


         2376163 Call past 30 days-unable to pull. -Client called 1-2 hours after being billed             could have offered a refund, since she was recently billed.


         2258858 Agent failed to do the second refund as she said she would                                Should have issued both refunds. Only issued 1


         2415453 Bad account-No DOB or SSN- Never received a call from this CB                             Could not maybe charge accounts with no DOB, SSN


         2311905 Never received a call from this CB


         2397027 Never received a call from this CB


         2285778 Never received a call from this CB


         2414666 Never received a call from this CB


         2393252 Never received a call from this CB


         2398740 NO DOB/SSN-Never received a call from this CB                                             perhaps, not charge accounts with no DOB, SSN

                                                                                                           Could have maybe offered more refunds, but instructions tell us to
         2392503 Helpdesk cancellation- issued 2 courtesy refunds
                                                                                                           issue up to 2

         2426494 Never received a call from this CB


         2408346 Never received a call from this CB


         2394069 Never received a call from this CB


                                                                                                                                              EXHIBIT
                                                                                                                                                20




1 of 1                                                                                                                                                                   3/22/18, 4:54 PM
Requested chargeback info
             Case: 1:17-cv-00194   Document #: 206-1 Filed: 03/24/18 Page 167 of 188 PageID #:5056


         Subject: Requested chargeback info
         From: Diego M <diego@myscore360.com>
         Date: 6/21/16, 4:54 PM
         To: drojas@myscore360.com, Mike Brown <M.Brown@myscore360.com>

         Hello Mike,

         Here is the Chargeback count you requested. I created a column labeled "Results", where i
         put what happened in the call. There were many with active accounts and soon to be billed.
         i went ahead and cancelled all the ones that were not cancelled .

         Out of the 80 CBs, 32 called in .

          Attachments:


           Chargeback Count 6.21.2016.xlsx                                                 17.2 KB




                                                                                   EXHIBIT
                                                                                     21




1 of 1                                                                                         3/22/18, 4:56 PM
                                                                              Page 1 of 4
  Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 168 of 188 PageID #:5057



 From:             Jens Sorensen <jens@myscore360.com>
 Sent:             Tuesday, April 14, 2015 5:29 PM
 To:               Mike Brown <mike@myscore360.com>
 Cc:               Tom Fragala <tom@mytruston.com>
 Subject:          Re: main home page of creditumbrella


 Lol - I saw that answer coming :)

 Thanks.

 Jens Sorensen
 Project Manager
 MyScore LLC



 From: Mike Brown <mike@myscore360.com>
 Sent: April 14, 2015 10:26:31 AM PDT
 To: Jens Sorensen <jens@myscore360.com>
 Cc: Tom Fragala <tom@mytruston.com>
 Subject: Re: main home page of creditumbrella

 Both

 On Tuesday, April 14, 2015, Jens Sorensen <jens@myscore360.com> wrote:
  Mike,

   Is that part of the FCRA or a bureau requirement?
   Jens Sorensen
   Project Manager
   MyScore LLC



   From: Jens Sorensen <jens@myscore360.com>
   Sent: April 14, 2015 10:21:36 AM PDT
   To: Mike Brown <mike@myscore360.com>, Tom Fragala <tom@mytruston.com>
   Subject: Re: main home page of creditumbrella

   Ok. I will let him know.

   I^d guess that Art may sometimes give his employees instructions using the wrong site name.

   When Art first tried signing up a test account on creditupdates.com he encountered an issue because
   he already had an account on creditreportnation.com.

   The names are pretty similar and generic enough.                                     EXHIBIT
                                                                                          22



file:///I:/CASES/MyScore%20LLC/Discovery/Subpoena%20-%20Fragala/Response%20-... 10/14/2017
                                                                              Page 2 of 4
  Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 169 of 188 PageID #:5058




  Jens Sorensen
  Project Manager
  MyScore LLC



  From: Mike Brown <mike@myscore360.com>
  Sent: April 14, 2015 10:16:48 AM PDT
  To: Tom Fragala <tom@mytruston.com>
  Cc: Jens Sorensen <jens@myscore360.com>
  Subject: Re: main home page of creditumbrella

  Looks like they hosting the CRN html on their end and linking it to CU. Thats ok just make sure the
  offer text is congruent. Also I see they mention "free credit report" which is a no no. Have them
  replace with "free credit scores"

  On Tue, Apr 14, 2015 at 10:13 AM, Tom Fragala <tom@mytruston.com> wrote:
   i'm sure mike will know what's going on :-)

    On Tue, Apr 14, 2015 at 10:13 AM, Jens Sorensen <jens@myscore360.com> wrote:
     The image appears to be from CreditReportNation.com. However the link used is to
     creditupdates and does include the correct site version for us to credit them for sany sign ups.
     Jens Sorensen
     Project Manager
     MyScore LLC



      From: Tom Fragala <tom@mytruston.com>
      Sent: April 14, 2015 10:06:12 AM PDT
      To: Mike Brown <mike@myscore360.com>
      Cc: Jens Sorensen <jens@myscore360.com>
      Subject: Re: main home page of creditumbrella

      ah, you noticed that too. i'll let you guys follow up and ask why. they aren't going to get credit
      for those signups at the home page if they don't and they really should -- if they're happy, we'll
      all be happy.

      On Tue, Apr 14, 2015 at 10:04 AM, Mike Brown <mike@myscore360.com> wrote:
       They not using the CU theme?

        On Tue, Apr 14, 2015 at 9:55 AM, Tom Fragala <tom@mytruston.com> wrote:
         you probably have seen this already...they added a new menu item right at the top home
         page level, called "credit reports"...




file:///I:/CASES/MyScore%20LLC/Discovery/Subpoena%20-%20Fragala/Response%20-... 10/14/2017
                                                                              Page 3 of 4
  Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 170 of 188 PageID #:5059


                   Inline image 1




              --
              _______________________________________________
              Tom Fragala | TRUSTON | www.mytruston.com
              340 S Lemon Ave #2688 Walnut CA 91789
              tel 800.960.5512 x710 | fax 800.960.4199




         --
         _______________________________________________
         Tom Fragala | TRUSTON | www.mytruston.com
         340 S Lemon Ave #2688 Walnut CA 91789
         tel 800.960.5512 x710 | fax 800.960.4199




    --
    _______________________________________________
    Tom Fragala | TRUSTON | www.mytruston.com
    340 S Lemon Ave #2688 Walnut CA 91789




file:///I:/CASES/MyScore%20LLC/Discovery/Subpoena%20-%20Fragala/Response%20-... 10/14/2017
                                                                              Page 4 of 4
  Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 171 of 188 PageID #:5060


    tel 800.960.5512 x710   |   fax 800.960.4199




file:///I:/CASES/MyScore%20LLC/Discovery/Subpoena%20-%20Fragala/Response%20-... 10/14/2017
          Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 172 of 188 PageID #:5061



                                          Talk   about Anti  Fraud Systems    022812
Delivered-To               rob.lawrence@toomuchmedia.com
Received   by             10.27.7.145     with   SMTP  id 139csp2119924wlh
               Tue        24 Feb 2015     112933 -0800                   PST
X-Received               by 10.50.85.18      with  SMTP  id d18mr17572470igz.3.1424802500688
               Tue        24 Feb 2015     102820 -0800                   PST
X-Mozi lla-Keys

Return-Path               vlad.zamelukhin@toomuchmedia.com
x-ori gi nal        -TO      rob@toomuchmedi                com
Delivered-To   rob.lawrence@toomuchmedia.com
Received   from vlad-zamelukhins-mac-pro.local                                      unknown
               by roxy.isprime.com Postfix with ESMTPA id                                     D02c57c4BA2
               for rob@toomuchmedia.com   Tue 28 Feb 2012                                     111004        -0500   EST
Message-ID               4F4CFC5C l000407@toomuchmedia.com
Date         Tue     28    Feb    2012       111004         -0500
From vlad zamelukhin   vlad.zamelukhin@toomuchmedia.com
User-Agent Thunderbird    2.0.0.19  Macintosh/20081209
MIME-Version 1.0
To        rob@toomuchmedi              com
Subject          Re Promo                       code
content-Type   text/plain                        charsetISo-8859-1                  formatflowed
content-Transfer-Encoding                         7bit




                original        Message
Subject                      Re   Promo code                                                                            EXHIBIT
Date           Tue        14 Feb 2012    002521 -0800
From           Mike       Brown      brown@zoomcreditscore.com                                                              23
To             Vlad       zamelukhin    vlad.zamelukhin@toomuchmedia.com
References         4F1F2DE2    6030900@toomuchmedi                                   com
c61SAAF1D-9783-49E5-A196-A25SO3EAE4E1@zoomcredi                                      tscore corn
4F218c2A 50804@toomuchmedi         corn
B1E9DFcc-A9AO-4720-A3cc-D9DFOcc82F25@zoorncredi                                      tscore   .com
4F317090            1020706@toornuchrnedi                  corn




Do you guys have any                    integration with anti fraud   services                       like    scrubkit     Or any
other service   whats                   the best way to prevent  fraud  using                      your     platform

Thanks
Mike

On     Feb          2012     at    1042         AM     Vlad      zarnelukhin       wrote

     Hi    Mike

   Just wanted to                get    in   touch        with    you   to   see    how   everything      is   going    Please   let   me
know  if you have                any    questions

     Thanks        and      look       forward       to    your    response

     Best     regards
     --


     Vlad     zamelukhin

     Too     Much    Media


     http     //toornuchrnedi            corn



     732-385-1536           XT    1123
                                                                        Page
      Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 173 of 188 PageID #:5062



                                                  Talk     about       Anti    Fraud       systems      022812

  ICQ            452583619

  AIM            TMMV1ad


  skype             TMMV1ad




  Mike          Brown    wrote
      Hey       vlad

           will     get around  to signing   online and working on                                   some    of   the    integration      more
probably           on Monday   Thanks  again  for all your help

      Mike

      On     Jan    26 2012            at    923 AM             vlad    zamelukhin         wrote


       Hey       Mike

       Just        checking       in    with               to    see    if you       needed           more    info      from             or   our
                                                   you                                         any                             myself
developers

       Thanks          again     and         look        forward       to    your     reply

       Best        regards
       --


       vlad        zamelukhin

       Too       Much    Media


       http        //toomuchmedi                 com

       732-385-1536              XT    1123


       ICQ          452583619

       AIM          TMMV1ad


       skype            TMMV1ad




       Mike        Brown   wrote

           Thanks

           On    Jan    24 2012             at    217 PM          vlad      zamelukhin        wrote


            Mike

            was     able    to    get       you    the          month       free    code    approved

            Go     to https//secure.offerit.com/account.html                                    and    create           new    account    The
2nd    page        will ask you for     code enter QJB9XIF2

             Please      let     me    know       if you        have    any    questions

            Thanks       and     look       forward        to working          with    you
                                                                             Page
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                                        Talk     about   Anti   Fraud   Systems   022812

         Best    regards
         --


         vlad    zamelukhin


         Too    Much     Media


         http    //toomuchmedi             com

         732-385-1536         XT    1123


         ICQ       452583619

         AIM       TMMV1ad


         Skype          TMMv1ad




vlad    zamelukhin


Too    Much    Media


http    //toomuchmedi             com

732-385-1536        XT    1123


ICQ      452583619

AIM      TMMV1ad


Skype         TMMV1ad




                                                            Page
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                           Dealing with Affiliate                           Fraud      Fragalia00000SO3
From         Mike Brown cmi ke@myscore360.com
Sent         Friday March 25 2016 1110 PM
To         Die9o          cdiego@myscore36O              corn
Cc         David     Rojas    darb714@gmail.com                    Mike     Brown   M.Brown@myscore36O.com                  Tom
Fra9al        ctom@myscore36o               corn
Subject             Re     client     charged       76    times-Fraud-        important

Diego        Please        cancel     all    and    refund

Tom   reach out to Sv                 235 complete           credit   plus over   this fraud  Partners
blocked   from signing                up with same           card   more than  twice  now so this happened
before   this change

On    Friday         March    25      2016        Diego         diego@rnyscore360.com             wrote

     Hello    Mike

     This  account  holder claims we are charging                             her   and   there    is   no   reason   for
     it   since its not    business  card
     Full  Name Ariel Mccullough
     Credit   card 4342-56 xx-xxxx-7000
     https //admin           .myscore36o           com/admin/search/credit_card/434256-7000
     visa
     exp    3/2019
     Address    162        Howard     Ave
     Denver      CO        80236
     US


     Agent
     This cust has over 76 accounts   linked  to her card   she claims she                                      is    not
     business and has no idea why   she keeps  getting billed from us


     Billing        Info


     https    //adrnin       .myscore36o           com/admi      n/account/update_billing_i             nfo/2354176

     Full    Name Ariel Mccullough
     Credit     Card 4342-56 xx-xxxx-7000
     chttps//adrnin          .myscore36o           corn/admi     n/search/credit_card/434256-7000
     visa
     exp 3/2019
     Address 162           Howard     Ave
     Denver   Co           80236
     US
     Phone
     This is        the    card     that    has    several       accounts     linked




                                                                                                                       EXHIBIT
                                                                                                                            24




                                                                    Page
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Re    Suspicious    activity




             Subject              Re      Suspicious            activity

             From           Brent       Brague        brent@boostnetworks.com
             Date 8/27/13                   1038AM
             To      Mike Brown                cmikemyscore360.com


             Lets have              call    later    today       to      review everything               Then       will   go to the pubs       and      correct         any issues       and

             sources         of   Fraud


             Brent      Brague


             Office     801-252-5017
             Skype           MojoBrent
             Email           brent@boostnetworks.com
             http//www.linkedin.com/in/brentbrague




             Sign up         link         http//boost.affiliate-reporting.com




             From           Mike        Brown        mikecThmvscore360.com
             Date Monday August 26 2013 1050 PM
             To Brent Brague brenuthboostnetworks.com
             Subject              Re      Suspicious             activity


             Same       fraudster          just    ordered          on        279423




             On Mon Aug 26 2013                           at   533       PM      Mike    Brown mikecmvscore36O.com                              wrote

                   Sorry       mean        only     sales      on     or after       8/22     The        before    that     date for 277790 are                legit




                   On Mon Aug 26 2013 at 514                                   PM    Mike     Brown mikemyscore360.com                              wrote

                     Can we reach out to 280015                                and   277790       to find out       how they        are   doing sales             Lets    stop    all   their sales

                      and    this    is    my     notice       now       to   charge    them back


                       just got         two fraud         alerts      real time fraud             chargeback         alert     from   this   affiliate     and         after further     inspection

                       can        say   with    very      high      confidence          these are         all   stolen     credit   cards



                     After        seeing the fraud              alerts         then see        some      sales    thru     known     proxies    and      all    credit     card   AVS
                      mis-match            plus     the    caps       Both       these      affiliates    appear     to     be the same        exact type and              maybe even           the

                      same        person trying to hide under                        subids



                      Thanks
                      Mike                                                                                                                                      EXHIBIT
                                                                                                                                                                        25

               B460E796-BE77-443F-B23E-82365D1                                 6579A                                                                              _________________________

                                                                                                                                                                              EXHIBIT


                                                                                                                                                                                  32

 of                                                                                                                                                                                             12/1/17   857   PM
               Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 177 of 188 PageID #:5066
Re    Suspicious     activity




                                               BOOSTNET WORKS

                   Attachments




                   B460E796-BE77-443F-B23E-82365D1   6579A png                            4.8   KB




 of                                                                                             12/1/17   857 PM
               Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 178 of 188 PageID #:5067
New   integration    going    live




            Subject           New      integration            going         live

            From           Mike      Brown    mikemyscore36O.com
            Date 4/7/16                    221 AM
            To      Diego         Munoz cdiegomyscore36O.com                                              David Rojas      darb714gmail.com

            We              to announce
                    are excited          we have    new integration   going live next week with     select

            few  major  banks   Now when   customer   calls their bank  to question or dispute    charge the
            supporting banks can see the users account detail     in CST to confirm  the customers   charge
            is valid and not friendly fraud This works both ways and allows       banks to easily
            and correctly              identify         actual       true    fraud


            Please         note we         will   be sharing           with        the   bank       all    the   account    details going

            forward          including           CST notes so               please       make       sure     our notes are        professional     Agents      should
            be aware           their the          notes       can be reviewed                 by other companies and we want to make                        sure    our

            company            always always                 looks     positive          Following correct              process    and   procedures      and

            always helping                 the    customers


            As always we never want                           to prevent           customers              from   calling their banks      so deescalating
            and resolving              the       call   is     priority even             if   the   customer        may     not beable    to get   the   result they

            want


            We      will    frequently            be adjusting          the        refund procedures               and     chargeback     processing
            procedures               the   next few           months         as we optimize these new integrations so appreciate the

            teams          ability    to quickly             adapt     to    new polices Keep up the great work you guys are doing
            great job



            Thanks
            Mike




                                                                                                                                              EXHIBIT
                                                                                                                                                26




                                                                                                                                                               12/11/17   1248   PM
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Income Statement


                                             MyScore LLC
                                 1 January 2014 to 31 December 2014
                                                                                 31 Dec 14

Revenue
 Consulting Services                                                                18,992
 Returns & Adjustments                                                              (2,210)
 Revenue                                                                          1,696,136
 Total Revenue                                                                   1,712,917

Less Cost of Sales
 Advertising - UA                                                                   52,076
 Affiliate Commissions                                                             180,905
 Customer Service - Operations                                                      10,685
 Customer Service - Staff                                                           68,918
 Data Cost                                                                         450,585
 Merchant Fee                                                                       46,789
 UA Cost - Consultants                                                                  250
 Web Technology & Hosting                                                           71,863
 Total Cost of Sales                                                              882,072

Gross Profit                                                                      830,846

Operating Expenses
 Accounting                                                                         41,821
 Advertising-General                                                                  3,761
 Bank Service Charges                                                                 3,742
 Consulting                                                                             432
 Conventions & Meetings                                                                 549
 Employee Communications                                                                 80
 Entertainment                                                                        1,736
 Expendable Computer Equipment                                                          606
 Expendable Office Equipment                                                            608
 Expendable Software                                                                  2,615
 Insurance - Property                                                                   952
 Legal                                                                              20,986
 Marketing Expense                                                                 331,795
 Meals                                                                                  317
 Miscellaneous Expense                                                                  157
 Office Expenses                                                                        413
 Office Rent                                                                        27,283
 Outside Services                                                                  134,800
 Owner Car Expense                                                                    8,286
 Owner Health Insurance                                                               5,467
 Postage & Delivery                                                                   2,113




                                                        EXHIBIT
Income Statement | MyScore LLC | 9 February 2017          27                     Page 1 of 2
   Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 180 of 188 PageID #:5069


Income Statement

                                                                                 31 Dec 14
 Printing & Stationery                                                                  64
 Provision for Doubtful Accounts                                                    10,197
 Sales Commissions                                                                  15,527
 Taxes                                                                                1,961
 Telephone                                                                            2,611
 Travel                                                                               3,583
 Web Development                                                                    77,986
 Total Operating Expenses                                                         700,447

Net Income / (Loss) before Tax                                                    130,399

Net Income                                                                        130,399

Total Comprehensive Income                                                        130,399




Income Statement | MyScore LLC | 9 February 2017                                 Page 2 of 2
   Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 181 of 188 PageID #:5070


Income Statement


                                               MyScore LLC
                                   1 January 2015 to 31 December 2015
                                                                                 31 Dec 15

Revenue
 Consulting Services                                                                16,888
 Returns & Adjustments                                                              (4,500)
 Revenue                                                                          2,632,290
 Total Revenue                                                                   2,644,678

Less Cost of Sales
 Advertising - UA                                                                   10,527
 Affiliate Commissions                                                             775,949
 Customer Service - Operations                                                      11,936
 Customer Service - Staff                                                           80,016
 Data Cost                                                                         785,301
 Merchant Fee                                                                       22,270
 Web Technology & Hosting                                                          119,099
 Total Cost of Sales                                                             1,805,098

Gross Profit                                                                      839,580

Operating Expenses
 Accounting                                                                         21,210
 Advertising-General                                                                  4,065
 Automobile Expenses                                                                  1,487
 Bank Service Charges                                                                 7,953
 Consulting                                                                         42,544
 Entertainment                                                                        5,799
 Expendable Computer Equipment                                                          994
 Expendable Software                                                                  1,570
 Insurance - Property                                                                   939
 Legal                                                                              33,796
 Marketing Expense                                                                 104,209
 Miscellaneous Expense                                                                1,262
 Office Expenses                                                                        426
 Office Rent                                                                        71,679
 Outside Services                                                                   71,490
 Owner Car Expense                                                                      427
 Owner Health Insurance                                                                (20)
 Postage & Delivery                                                                   3,660
 Provision for Doubtful Accounts                                                    41,583
 Sales Commissions                                                                  28,324
 Sales Expense                                                                        4,965
 Telephone                                                                            4,241




Income Statement | MyScore LLC | 9 February 2017                                 Page 1 of 2
   Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 182 of 188 PageID #:5071


Income Statement

                                                                                 31 Dec 15
 Travel                                                                              7,893
 Utilities                                                                            1,543
 Web Development                                                                    82,183
 Total Operating Expenses                                                         544,221

Net Income / (Loss) before Tax                                                    295,359

Net Income                                                                        295,359

Total Comprehensive Income                                                        295,359




Income Statement | MyScore LLC | 9 February 2017                                 Page 2 of 2
   Case: 1:17-cv-00194 Document #: 206-1 Filed: 03/24/18 Page 183 of 188 PageID #:5072


Income Statement


                                               MyScore LLC
                                   1 January 2013 to 31 December 2013
                                                                                 31 Dec 13

Revenue
 Revenue                                                                           568,994
 Total Revenue                                                                    568,994

Less Cost of Sales
 Advertising - UA                                                                   12,733
 Customer Service - Operations                                                      16,316
 Customer Service - Staff                                                           39,711
 Data Cost                                                                         182,358
 Merchant Fee                                                                       22,418
 Web Technology & Hosting                                                           23,467
 Total Cost of Sales                                                              297,002

Gross Profit                                                                      271,993

Operating Expenses
 Accounting                                                                         16,896
 Advertising-General                                                                25,367
 Bank Service Charges                                                                 1,230
 Dues & Subscriptions                                                                   481
 Entertainment                                                                           78
 Equipment Rentals                                                                       97
 Expendable Computer Equipment                                                        1,316
 Expendable Software                                                                  2,153
 Insurance - Casualty                                                                   585
 Insurance - Property                                                                   875
 Legal                                                                                  275
 Meals                                                                                  186
 Miscellaneous Expense                                                                  329
 Office Expenses                                                                      2,161
 Office Rent                                                                        13,189
 Outside Services                                                                       295
 Postage & Delivery                                                                     740
 Provision for Doubtful Accounts                                                    34,149
 Sales Commissions                                                                    6,492
 Telephone                                                                              901
 Travel                                                                                 512
 Web Development                                                                    83,830
 Total Operating Expenses                                                         192,139

Net Income / (Loss) before Tax                                                      79,854

Net Income                                                                          79,854




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Income Statement

                                                                                 31 Dec 13

Total Comprehensive Income                                                          79,854




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Income Statement


                                              MyScore LLC
                                  1 January 2012 to 31 December 2012
                                                                                 31 Dec 12

Revenue
 Revenue                                                                           172,202
 Total Revenue                                                                    172,202

Less Cost of Sales
 Advertising - UA                                                                     2,526
 Customer Service - Operations                                                        3,699
 Customer Service - Staff                                                             9,741
 Data Cost                                                                          55,346
 Merchant Fee                                                                       12,375
 UA Cost - Consultants                                                                8,540
 Web Technology & Hosting                                                           12,789
 Total Cost of Sales                                                              105,015

Gross Profit                                                                        67,187

Operating Expenses
 Accounting                                                                           2,608
 Advertising-General                                                                  2,412
 Bank Service Charges                                                                    13
 Dues & Subscriptions                                                                   298
 Entertainment                                                                           13
 Insurance - Property                                                                 1,631
 Office Expenses                                                                        212
 Office Rent                                                                          6,690
 Outside Services                                                                       670
 Postage & Delivery                                                                     467
 Sales Commissions                                                                      450
 Telephone                                                                              563
 Web Development                                                                    15,581
 Total Operating Expenses                                                           31,608

Operating Income / (Loss)                                                           35,579

Other Income and Expense
 Ask my accountant                                                                     (22)
 Provision for State Income Tax                                                       (800)
 Total Other Income and Expense                                                       (822)

Net Income / (Loss) before Tax                                                      34,757

Net Income                                                                          34,757

Total Comprehensive Income                                                          34,757




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Income Statement


                                             MyScore LLC
                                 1 January 2011 to 31 December 2011
                                                                                 31 Dec 11

Revenue
 Revenue                                                                              1,770
 Total Revenue                                                                       1,770

Gross Profit                                                                         1,770

Operating Expenses
 Insurance - Property                                                                   164
 Legal                                                                                1,120
 Postage & Delivery                                                                      10
 Total Operating Expenses                                                            1,294

Net Income / (Loss) before Tax                                                         476

Net Income                                                                             476

Total Comprehensive Income                                                             476




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Income Statement


                                             MyScore LLC
                                 1 January 2016 to 31 December 2016
                                                                                 31 Dec 16

Revenue
 Consulting Services                                                                  6,310
 Revenue                                                                          4,930,353
 Total Revenue                                                                   4,936,663

Less Cost of Sales
 Advertising - UA                                                                  189,259
 Affiliate Commissions                                                            1,245,479
 Customer Service - Operations                                                      23,659
 Customer Service - Staff                                                             5,140
 Data Cost                                                                        1,290,921
 Merchant Fee                                                                           171
 UA Cost - Consultants                                                                1,450
 Web Technology & Hosting                                                          198,067
 Total Cost of Sales                                                             2,954,144

Gross Profit                                                                     1,982,518

Operating Expenses
 Accounting                                                                         (2,526)
 Advertising-General                                                                  2,513
 Automobile Expenses                                                                    679
 Bank Service Charges                                                                 8,651
 Consulting                                                                           5,661
 Entertainment                                                                          208
 Expendable Computer Equipment                                                           99
 Expendable Software                                                                  1,297
 Legal                                                                              61,227
 Marketing Expense                                                                 529,960
 Meals                                                                                  335
 Miscellaneous Expense                                                                  574
 Office Expenses                                                                      2,543
 Office Rent                                                                          6,355
 Outside Services                                                                  126,032
 Postage & Delivery                                                                   3,551
 Sales Commissions                                                                    3,091
 Sales Expense                                                                        1,650
 Telephone                                                                            4,539
 Travel                                                                               8,964
 Utilities                                                                              225
 Web Development                                                                   167,775




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Income Statement

                                                                                 31 Dec 16
 Total Operating Expenses                                                         933,404

Operating Income / (Loss)                                                        1,049,115

Other Income and Expense
 Interest Expense                                                                      (61)
 Total Other Income and Expense                                                        (61)

Net Income / (Loss) before Tax                                                   1,049,053

Net Income                                                                       1,049,053

Total Comprehensive Income                                                       1,049,053




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